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                               PETITION UNDER 28 U.S.C. § 2254 FOR WRIT OF
                           HABEAS CORPUS BY A PERSON IN ST ATE CUSTODY

               United States District Court                  Distrkt: [astern District of Pennsylvania
                                                                                                             -----------~
    '\iame (under whirh you were convicted):                 Docket or Case No.:
                                                                                           20                      1389
             orrkc
1--~-'-'-




    PIa cscr"          e     nt:Jt::~ ( e                    Prisoner No.:


     Petitioner flndude t~ name u11der which you              Respondent ()';an><' of\\oartkn   :.upennrendtnl, Jallor. or authoriud p•r•on havi11g



                                                              _]1;;;~ Sm 1¥:
                                                                                          and
                                                        V.
                                                              The District Attorney of the County of:_                _...P
                                                                                                                        __h"-'-1..i}_.____
                                                                                           and

                                                              The Attorney General of the State of:              --~P'--'A-~-----

                                                             PETITJO~




              ___ cc_r _-PM _ _ ____
            (a)        Name and location of court that entered the judgment of conviction you are challenging.
                                                                                                             _ __
                                                                           C P-5/- CR -{)(X;9L/t£J-2oi I
             (b)       Criminaldocketorcasenumber(ifyouknov.)             _c_e_-_5/-_CR.                     ·_C)Q?        9!t.6/-:20//
2.           (a)       Date of judgment of conviction (1fyou know): _ _       Cf. If/   If3
             (b)       Date of sentencing:


3.            Length of    ~entence --   ;;{       Cons eCi) h v'"<- l;te                       *-'r'Y\:\
4             Jn this case, were you convicted on more than one count or of more than one crune.,                     ~ONo
5             Iden ti fy all crimes of which you were convicted and 5entenced m this case.            ::< c.+ I s; l- d~~ e-P
              --mu<d.«> -~ J- (1Jbbe~-tLvFA                                                              t    flCC-,                   f_'VJIO
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PAE AO 241                                                                                                         Paw 5
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6         (a)
                               '\;ot Gmlty                    '.J ( 1)   No lo contendere (no contest)
                               Guilty                         [] (4)     ln!>anity plea


          (b)         If you entered a guilty plea to one count or charge and a not guilty plea to another count or charge,
                      what did you plead gmlty to and wl;at did you plead not guilty to?




                                                                                                          -----   -----
          (c)                     to trial, what kind of trial did you have? (Check one)
                               Jury                            D         Judge only


7         Did you testify at a pretrial hearing, trial, or a post-trial hearing?
                      D        Ye~                             ~ ~o

8.        Did you appeal ~he Judgment of conv1ction 9
                      ~        Yes                             D         No


9.            If you did appeal, answer the ~wing·                         fl   ·t-·


          (a)         Nameofcourt:        ___     upeovr_~_                               __             ----=--
              (bl
              (cl
                      Docket
                      Result._
                               07;;-;::_ \
                                                (if yo"   kn•~ i.
                                                      2._qf, ? _E'_O If
                                             _ci __a--rfic~\        __
                                                                                                         ZO J3. _
                                                                                                          __ _ __
              (d)     Dateofresult(ifyouknow) _ 12/23} )Lj ____
              (e)     Citation to the case (if you know):_. _ _ __
              (f)     Grounds raised:
                          we1 1-0~-~ ~s~ffic~n~ _-_
                                      3                                                        z-r       ~u,(f_


                                                                                                  ------              -
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             (g}      Did you <,eek further review by a higher state court?                                      D       t-.o

                      If yes, answer the follow~·A
                      (I) Name   of court   _r_               _Sup~
                      (2 l Docket or case   nu~ber   (if you know) __ . _        _
                      (3) Result.    __   [L\n f       thee\             . __ __
                      (4) Date of result (1fyou know).__         b /;i. S- /15_
                      (5) Citation Lo the ca<,e (1fyou know).

                      (6) Grounds raised:
                                                                                                                J
                              _.     we~·+- _i--svff£_~ OJ.                                        -JJ--- -
                                                                                                           e-111 --

             (h)      Did you file a petition for certiorari in the Cnitcd States Supreme Court?    n      Yes
                      If yes, answer the following·
                      (I) Docket or case number      (if you know). __
                      (2) Result: _____ _
                      (3) Date of result (if you know)"_
                      (4) C1tat1on to the case (if you know):_


10.          Other than the direct appeals listed above, have you previously filed any other petitio~ applications, or
             motions conceming this judgment of conviction in any state court?                 ~     Yes         D       No


11.           If your answer to Question I 0 was "Yes," give the following information.
             (a)      o>Nameorcourt:          _   £ C_F_ ___                   __
                      (2) Docket or case number (1fyou know)·  $ Q rn ~ 0 s -Q bc..v:e...
                                                    _.Jd }J0 / /6 _
                      (3) Date offiling (1fyou know)·
                      ( 4) Nature of the proceeding: 1'_Cg_ 'fr ___ ------
                      ( 5) Grounds raised




                                                                         ------           -
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                                                        ' ere evidence wa5 given on your pt>t;t1on. application, or motion?

                                              ,~-R"
                                               .n                          No
                       (7) Result.
                                         ~--~~ 1--r_ .
                                            _J_O Jq IJL
                       (8)Datcofresult(1fyouknow)


             (b)       If you filed any second pet1tton, appltcatmn, or motion, give the same information
                       ( I ) Name of court:
                       (2) Docket or case number (1fyou know)' _

                       (3) Date offilmg (if you know)"

                       ( 4) Nature of the proceeding:

                       {5) Grounds rai~ed·




                       (6) Did   you receive a hearing where evidence was given on your pct1tmn, application, or motion?
                                          D     Yes                   []   No

                       (7} Result:_

                       (8) Date ofresult (if you know). _ _ _
                                                                            tvA--
                 (c)   If you filed any third petition, apphcat1on, or motion, give the same mformat100"
                       (I) Name of court:
                       (2) Dock.et or case number (1fyou know).

                       (3) Date of filmg (if you know): _

                       ( 4) ~ature of the proceeding:

                       (5) Grounds raised:
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                    (6) Did you recei\·e a hearmg where evidence was given on your petition, applicatmn, or motion'?
                                                                  :J    "Jo
                    (7) Re~ult

                    (8) Date of result (if you know)


          (d)        Did you appeal to the highest o;tate court havingjunsd1ct1on over the action taken on your petition,
                    application, or motion:


                    (I)        First pet1t1on.           ~                           [.J   "Jo
                     (2)       Second petition·          LJ    Yes                   D     ~o ~{\-
                    (3)        Third petition.           D     Ye~                   D     ~o




          (e)        lfyou did not appeal to the highest state court havmgjurisdiction, explain why you did not:




12        For this petition, state every ground on which you claim that you are being held in violation of the
          Constitution, laws, or treaties of the United States Attach additional pages 1f you have more than four
          grounds. State the facts supporting each ground.


          CAL'TIO~:      To proceed in the federal court, vou must ordinarily first exhaust (use up) your available state-
          court remedies on each ground on which you~uest action by the federal court Al'>o, 1f you fail to set
          forth all the grounds m this p~t1on, vou mJ!Y_be barred fr9m pres~ting additional grounds at a later date


              GROt.:l\D ONE:
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                   (b) If you did not exhaust your state remed1e:> on Ground One. explain \Nhy




                   {c) Direct Appeal of Ground One:
                           (I) If you appealed from the Judgment of conviction                 "d you rai<.e this issue?
                                                  0     Yes
                            (.:.>}If you did not raise this h;sue in your direct appeal, explain why?_              TAQ
                             - -   - - - - - -- - - -            -


                   (d) Post-Conviction Proceedings:

                                                                  ha post-conv1ct10n motion or petition for habeas corpus in a
                            state tnal court?
                                                                                    0    J\o

                            (2) If your answer to Question (d)( 1) is "Yes," state.

                            Type of motion or petition:. __          Pc P.._{r __ _
                            Name and locf\on of the court wh~rf the/1otion or petition was filed:
                            __ ---~er
                            Dock.ct or case number (1fyou know):
                                                                Pfl<Y                    ___ .. - _
                                                                         t, SClfl'.'\-t'?_           C.e          ..J1..-
                            Date of the court's decision. .          }d 1-J b //._t""'>._____
                            Result (attach a copy of the court's opmion or order, 1f ava1lable):              _




                            (3) Did   )'OU   receive a hearing on your motion or pet1t1on?                           ~            -   D   No
                            (4) Did you appeal from the denial of your motion or petition?                           ~      Yes       0   "lo
                            (5) If your answer to ~on (d)(4) is "Yes," did you raise this issue in the appeal?
                                                  6     Yes                         Ll   No
                            (6) If your answer to Question (d}(4) is "Yes," state:
                            Name and locat1on of the court where the appeal was filed                  Su9enrx-fl_
                            Docket or case number (1fyou know):           t -   3 3_ 7 s:
                                                                                "      - - -E-f)_n_
                                                                                                \ ;r-L07(5
                                                                                                    ______ - -
                            Date of the court's decision:
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    0                                                                                                                     Pal((' 10
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                        Result (attach a copy of throurt's opin1311 or order. 1f ava1 lab le)·

                           .               afr 1 \'1~

                        (7) If your answer to Question (d)( 4) or Question ( d )( ~) is "1\lo," explai11 why you did not raise
                        this issue·




              (e)       Other Remedies: Describe any other procedures (such as        habea~     corpuc,, adrnm1strat1ve ren1ed1es.
                        etc J that you have used to exhaust your state remedies. on Cround One

                                                         ------- ----                      -




              (a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):




              (b) lfyou did not exhaust your state remedies on Ground Two, explam why.----·

                                                     ------------- --·-----------




              (c)   Direct Appeal of Ground Two:
                        (I) If you appealed from the Judgment of conviclto

                                           [J    Yes
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(Re" 01•10l




                      (2) If )OU did not raise th1<. l'>'>Ue 111 your direct appeal, explain why?




              (d) Post-Conviction Proceedings:
                                                                  st-conv1ct1on motion or petltlon for habeas corpus in a

                      state tnal court'?
                                                                       n            No

                      (2) If your ans\"er to Question (dJ(l l is "Yes," state:

                      Type of motion or petition    _£_CJ!. iA __
                      Name and cacn of the c~urthh~rf the motion or pelltion was filed
                      _ _ _£_                       e_ ---                  .- .                    -
                      Docket or case number (if you know)· ... _ _              _
                      Date of the court's decision: .        L0 {l q L3' _  I
                      Result (attach a copy of the court's opinion or order, tfavailable): _




                      (3) Did you receive a hearmg on your motmn or petition?                                        B        No
                      (4) Did you appeal from the denial of your motion or petition?                                 D        No
                      (5) If your answer to ~t1on (d)(4) 1s .. Yes," did you raise this issue in the appeal"

                                           ff Yes                       0           '\lo

                      (6) If your answer to Question (dX4) 1s "Yes," state:
                      Name and locatJon of the court where the appeal was tiled            Svpeaoc-cr
                      Docket or case number (if you know)        6 3 7 s E ofi                          ~--=-o-"--B_ _
                      Date of the court's dec1s1on.

                      ~esult (attach~ c O f f i ~:n ~order, if a~ailable~ _




                      (7) If your ans"\.ver to Question (d)(4) or Question (d)(S) 1s "So," explain why you did not raise

                      tl11s issue
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             (e)      Other Remedies: Describe any other procedures (such as habeas corpus, admm1strat1ve remedies,
                      etc) that   )'OU   have used to exhau&t your state remedies on Ground Two




             GROUND 1 HRt.E:             $ f'f_ a..+±a_(-~ c:( _                      TAC

             (a) Supportmg facts (Do not argue or cite law. Just state the specific facts that support your claim )·




              (b) If you did not exhaust your state remedies     011   Ground Three, explain why:_




              (c) Direct Appeal of Ground Three:
                       (I) If you appealed from the judgment of conviction, d" you raise this issue'?
                                            D        Yes
                       (2) If you did not rai.~e this issue in your direct appeal, explain why?




              (d) Post-Conviction Proceedings:
                       (I) Did you raise this 1s-;ue through a post-conviction motion or petition for habeas corpus ma
                       state trial court?        /
                                            {I(" Yes                       D    l\o
                       (2) lfyour an&wer to Question       (d~   is "Yes,'' state·

                       Type of motion or petition _ _\           C}<j _____
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                      Name and location of the p~the motion or petition wa<. filed
                      _ CcP.                                 _                 __ _ _ , -_,_-ff~~-
                      Docket or case number (if you know)          _---5X:2 fY\. £          ~               ___ _
                      Date of the court's dec1s10n.
                      Result (attach a c~~urt's opinion or order, 1f available)

                               o..fJl            ----- -               -
                      (3) Did you receive a hearing on )Our motion or pet1t1on 9                      ~ y;-          --7o
                      (4) Did you appeal from the denial of your motion or pet:tion"                  V"ves              0         No
                      (5) If)'our answer to 07on (d)(4} is ··Yes." did you rai!>e this issue m the appeal''
                                            f)./'Yes                       0    l\;o
                      (6) If your answer to Question (d)(4) 1s "Yes," state.
                      Name and location of the court where the appeal was filed __           ~pe~ Cf:_ __ _

                      Docketorcasenum~:(ify:u~~ow) 33JS £/)/J-?(?J~-----
                      Date of the court's decision·


                       Result (attach a copy of the court's opmmn or order, if available)· __




                      (7) Jfyour answer to Question (d)(4) or Quest10n (d)(5) is "No," explain wh} you did not raise

                      this issue:




              (e)      Other Remedies: Describe an:y other procedures (such as habeas corpus, administrative remedies,
                       etc.) that you have used to     exhau~t   your state remedies on Ground Three




              GROUND FOUR:                 TAC_                                                  ----------
                                                                                           ----- ----
              (a) Supporting facts   (~o   not argue or cite la:_ \Ju~t state the specific facts that support your claim ):

               _Qovnse1 -fuiW- 'TI)                                        -ob1alr\ t              vse_irnr~yyr;/2
                       eurl
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                                                                         -- - - · - - - - - - -


             (b) If you did not exhau'>t your <>tate remed1e.'\ on Ground Four, explain why. _




             (c)   Direct Appeal of Ground Four:
                        ( 1) ff you appealed from the Judgment of      conv1ct10~ you raise this 1o;,~ue?
                                             D   Yos                       if.~o                    -r' .I\               \
                        (2) If you did not raise this i!>'>Ue m your d1rect appeal, explain why?    _d::.J"T C, Q_ CttfY"-



                (d) Post-Conviction Proceedings:
                                                         ough a post-co11v1ct10n motion or petition for habeas corpus in a
                        state trial court?
                                                                           0    No
                        (2) If your answer to Question (d)(I l is ··Yer,," state:

                        Type of motion or pet1t1on     __fc~ f\ __ -------------------
                        Name and !ocat10n of the court, v.herp1e motion or petition was filed:.


                        ~"eke'°' ~m~"(if )~~-                           ~il\
                                                                         • - - -          - - - ~
                                                                                    ·e docJZo+  r-
                        Date of the court's dec1s1on
                        Result (attach a copy of the   court·~   opinion or order, if available):




                        (3) Did you receive a heanng on your motion or petition?                    D~
                        ( 4) Did you appeal from the dern al of your motJOn or petition?            ~Yes              D          No
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                               (5) If your answer to         tion (d)(4) is .. Yes," did you raise this issue m the appe<i!?
                                                                                 []    No
                               (6) If your answer to Question (d)(4) is .. Yes," state·
                               Name and location of the court where the appeal was filed:            S0penoc G-
                               Dockctorcasenum~~r(1fyou-know): __33                   7..Y         if::D/i        _2{)/<(" _
                               Date of the court's decision.

                               Result (attat-~~;.;ct·t's opimon or order, if available)

                               - --DJ_                                           -----
                               (7) If your   answer to Question (d)(4) or Question (d)(5) is "No," explain why you did not raise
                               this issue




 See                                         ---------------------- ----- ----


Jv+hckd                (e)     Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies,




~ ,+, Df'f-11
                               etc.} that you have used to exhaust your state remedies on Ground Four: ·---




~lc11ms
mtseJ
fC f-ft 13             Please answer these additional questions about the petition you
                       (a)      Have all grounds for relief that you have raised m        IS   petition been presented to the highest state
                                court having Jurisd1ct1on?                                              D    ~o

                                If your answer is "No," state which grounds have not been so presented and give your            reason(~)   for
                                not presenting them.           ------- - - - - - -                          --------

                                       ----------                               ------------                        -   --     --- ---
                                                                            -    ----·-----
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                (bl         Is there any ground m this petition that has not been presented m some state or federal court? If
                            so. which ground or grounds have not been presented. and state your reawns for not presenting
                            them·




14.             Have you previously filed any type of pet1t1on, application, or mouon ma feder~ regarding the
                conviction that you challenge in this petition'>           Ll   Ye<.         ~o

                lf"Yes," state the name and location of the court, the docket or case number, the type of proceeding, the
                issues raised, the date of the court's dec1s10n, and the result for each pet1t1on, apphcat1on. or motion filed.
                Attach a copy of any court opinion or order, 1f available



                                                        .   ----- - - ----- - - - - - - - - - - - - - - - - -



                                                ---·-------------------------
                ----------                  -   -


 IS                 Do you have any petition or appeal now pending (filed and not decided yet) in)l'15 court, either state or
                    federal. for the judgment you are challenging'>        C    Yes          ~No

                    lf"Yes," state the name and location of the court. the docket or case number, the type of proceeding, and
                the issues raised.                  - - - - - - - - - ----------- ------



                                                                                       -   --- -- - - - ----------

 16             Give the name and address. 1fyou know, of each attorney who represented you m the following stages of
                    the Judgment you are challenging:
                    (a)      At prel1mmary hearing:


                    (b)      At arraignment and plea. _______ - - - - · - ______ - - - - - - - - - - -
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             (C)      At trial.


             (d)      At sentencmg·

                                                               -- - - - - - · - - - - - - - - -
             (e)      On appeal·


             (f)      In any pm.t-conv1ct1on proceeding


             (g)      On appeal from an~ru,l!Z again~t you in a rrconvictio~~ .

                                                      €'>   B             i'Jf\R __ / -


17            Do you have any future sentence to serve after you complete the sentence for    th~gment    that you are
              challenging?                                            D    Yes          ~o                     .


              (a)      If so, give the name and location of the court that imposed the other sentence you will serve in the
                      future:




              (b)     Give the date the other sentence was imposed - - - - - - - - - - - - - - - - - - -


              (c)     Give the length of the other sentence:


              (d)      Have you filed, or do you plan to file, any petition that challenges the ju
                       served     111   the future?                   D    Yes


 18           TIMELINESS OF PETITION: If your judgment of conviction became final over one year ago, you mu<;t
              explain why the one-year statute of hm1tat1ons as contained in 28 lJ.S C § 2244{d) does not bar your




                                                                           m1/1US .per;oJs
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        * The Ant1terronsm and Effective Death Penalty Act of 1996 ("AEDPA") as contained m 28 L'          ~   C §
2244{d) provides m part that·

          (I)      I\ one-year period oflim1tation shall apply to an application for a writ of habeas corpus by a
                   person m cu<;tody pursuant to the judgment of a State Court The limitation period shall run from
                   the later,t of -

                   (A)      the date on which the judgment became final by the conclusion of d1Tect review or the
                            expiration of the time for s.eeking such review~

                   {B)      the date on which the impediment to filing an apphcauon created by State action in
                            vrolation of the Const1tut1on or laws of the Lnrted States 1s removed, if the applicant was
                            prevented from filing by such state action;

                   (C)      the date on which the constitutional right asserted was initially recognized by the Supreme
                            Court, if the right has been newly recognized by the Supreme Court and made
                            retroactively applicable to cases on collateral review; or

                   (D)      the date on which the factual predicate of the claim or claims pre'iented could have been
                            discovered through the exercise of due diligence.

          (2)      The time during which a properly filed application for State post-convictron or other collateral
                   review with respect to the pertinent judgment or claim 1s pending shall not be counted toward any
                   penod of limitation under this subsection.




                                                             ------··
or any other relief to which pet1t1oner may be entitled.
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PAE AO 241                                                                                                            !'"<le   I')
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I declare (or certif}, venfy, or state) under penalty of perjury that the foregoing 1~ true an7correi1 aijd that th15
Petition for Writ of Habeas Corpus was placed in the pmon mailing sy&tem on               3 / {)J        _'2£>____
                                                                                            (month, date. year)

Lxecuted (signed) on                                               ·-_(date)




                                                                ~-bJi~~-
                                                                i::v I 'J/l ttnJ-r.z ~
If the   per~on   signing is not the pet1t1oner, state the relat1onsh1p to petitioner and explain why petitioner 1s not signing
this petition. _
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I.       Pet1:1oner was dc.H'd t:is rign::s ::::de' tLe Sixtl1
        Arier:dmen:   of   :he U.S.   Con~;:.::u:io:--.   d:-~d   Art:cle 1,
        s0c. 9 o: th.P ?c:-:::sylvan::.a Co:is<:1t~:t.1or: wf:en
        tr:a: counse: ir.eff Pctive:y ddviscd PP.tit:or:er
        not to test:ty u:-: t:1s owr. behal:.

II.     l-1.fter (i:scovercd ev1der~ce that the Co:r~1'.onwea:th's
        ~cy ,,Jitr:ess, Odrryl R1qney,     lied when he
         i::cl::pated :he Pe:1:10:-:er i.r: t.:1e cr1rne.

III      Peliti.or.er was dc;11ed   ~::s Sixth Amendment and Art:c:e
         l,       9 ::·ights whc:-: tr:a: co~msel i::effect:.vely
              sec:.
         f<l1led to see.HP and t:se U-:ose phone records a:. :r:dl.

IV.     Petitior.cr was denied his r:ghts ~ndcr the Sixth
        Arr:end."'Tlent oft.he U.S. Constitl:tion and
        Article :, sec.9 of the Penr.sylvan~a Constitut:on
        when counsel i:10ff0r:t1vely fa:led to obtain c.ind
        ~:se ava::able ir.:peachment evideilce.


V.       Petitioner was denied his rights under the S1x:h
        Amend~ent  of :he U.S. Const1tu~ion and Article ~,
        sec.9 of the Pennsylvania Cons:itution when counsel
        ir.effect1vely fai.lcd to object to the trial court
        using hearsay evidence obtair.ed as part of tre Motion
        ~o Suppress for the :ruth of the matter asserted a:
        :rial; to the extent ~hat th~s Co~rt :inds that the
        claim was preserved at trial for appeal, Petitioner's
        appellate counsel was ineffective for failing to
        present and argue i: in the direct appeal.

VI.     Petitioner was dcn:ed his rights under the Fourth
        and Sixtr. Anendments c: the U.S. Constitution and
        Article 1, sec.9 of the Pennsylvania Cor.st1t~t!or. when
        counsel ~neffcc::ve:y failed to preserve, raise and
        arg~e a claim on d:rect appeal that the trial court
        erred in denying the Mot.ion to Suppress.

VII. Pct1t1oner's const:t~t1onal right to due process
     And a fair trial were violated in that there was
     lnsuffic1ent evidence to convic~ ~he Petitioner of all
         charges.
                 Case 2:20-cv-01389-MSG Document 1 Filed 03/11/20 Page 18 of 97



T(·r1 3.         ·1 :'TI0t1auyt:, r·:;'l·
14~<;       '.;rr:nq Gard"'' 119::

Fi\ IJ ',3601
· 4 B4 ' r,p 6 )?. 7 9




                                 IN THE U.S. DISTRICT COURT
                              EASTERN DISTRICT OF PENNSYLVANIA




             v
                                                             NO:


Hatry Sm::h, Suµer1:ttender.t SCI

houtzda:e et. al
---- -------                                - - -----
                                       HABEAS CORPUS PETITION

             ~hP     Petit:oner, Montez Bethea, by and throuqh counsel, Teri

B. Himebaugh, Esq.,                         hereby f:les the instant Habeds Corpus

Pot~:ion             and alleges the foilowing:

PROCEDURAL POSTURE

              Pet::1o:er           Wds      tried wi:h h.:.s co-defe:r:dant, Rdshcir.:-i Carr.es,

1:-i   .J    waiver trial before the Honorclble G:enn Bro:tson of the

Co:. i:c: c: Commor: Pleas for ?hllo.delphia Cocr.t.y. Pet1:.ior.er wc1s

represe;ited by David Seo:.:                        R~denste1:1,    Esquire.

             On ScptPmber 11,                 2013 Petitioner was found guilty ot two

cour.ts of             ~crder        in     the F:rs: Jegree,      crimina~    coDspiracy,
            Case 2:20-cv-01389-MSG Document 1 Filed 03/11/20 Page 19 of 97



first-degree robbery dnd                <;n0    cocn:     of carryi::.g a Lrema:.1 w:thout.

d :iccnse, carrying          cl    f1re-arr:l on violi.__, streets,                  po~ses.s1cn    with

.::.nten~    to deliver a contro"ilt:c.!             SJbS',d~:ce-       ar:d possessing ar:

::.nstrunent of crir.te. He was sc;itP.r:ced to two cc'.1sccut1ve ter;r.s

of :1:e-1mpr1son.:rcr:t.

            ':'!-'e Superior Court affir.xcrl the tri.=i:                  co~irt.    o:J '.)ecer.lber

23, 2014. Commonwealth v. Bethea 2967                         F::-:r~    2013 (PcJ.. Super.C":.

28~4).       A tinely Pc::1tio;i fGr Al lcwdr:ce ot Appeal was f .::.:od and

then denied on June 25,                 781~.


        On Apr:i.l :6, 2016 Petit1cncr f: led a :.1mely pro se ?CRA

petition. Tori R. Hirnebauqh, Esquire entered her appearance and

iiled a '.11'.otion for Leave to Amend wh:ch was gra:Jted by the

Court.

            On Apr:.: 27, 2018 and Jcly 20,                  /0:8 the PCRA             Cour~:   held a

hearing on c:aims I,              ~~    and III. Or. October :9, /.C18 the ?CRA

Court       dis~issed   the petition.

        Petitioner f:.led a             ti~ely       Not.::.ce o: Appeal to the Superior

Court from that decision.                 (3148 EDA 70:8). On Deccreber 20, 2019

the Superior Court aff1rned                    ~~e    PCRA Court.

        The instant habeas pet1:.io:: is Petit:oner's first and is

:.i~ely      filed within    36~        days cf the d<ly that h:s ;udgement of

:wn<::e:Jce heca;ne L.nal,             minus periods of :o:li;ig whilP. exhausting

the claims in state court.
          Case 2:20-cv-01389-MSG Document 1 Filed 03/11/20 Page 20 of 97



FACTUAL SUMMARY

          The C:omm0nwcalth alleged tf:at on December 8, 28::-J,                     a::

approximatc<y :: ,-:.m., Pet.1t:oner called Darry: Rigney                         a~•d     asK.ed

him to      accompa~;y       :-.ix to buy mar:1ucJ:1a.        (N.T.   9/10r3 pg.         llS-

116). ?et1ticner c.rove :o R:qney's house in a Crown V1ctor1d.

( N. T.    9I10 /1 3 pq.      l : 6) .

          According to R1gney's            ~r~~!    testimony, Petitioner asked                 hi~


~o   drive them to Rashann               ~ames'    ~otlse,   because    ~a~es   kr.ew      peop~e


who sold mar:quana.              (N.T.    9/lC/13 pg.        ::6,   120). Whcr. they

arrived at ,James' ilO'Jse, Riqr.ey stayed :n the car wh1:e the

Petitioner and James got O'Jt and went to the front door. When

James ar.swered, Pet:t1oner went :nside.                       (N.T. 9/10/13 pg. 116-

117).

          Petitioner and .James exited ar.d got inside the Crown

Victoria where Rigney was waiting.                     (N.T.    9/2.0/13 pg. 117).

~ames      ca2.2.ed his drug supplier, Jemark Daniel, who d:d not

a:-:swer.    ('."J.T.   9/:0/13 pgs.       117-120). James the:-i        ca~led     'a

friend'      and told h:rn to meet James at :1th Street and Fairmount

Aven:Je.      (N.T. 9118/13 pg. :17-119) . 1


---·---
   In both the ".'rial              and PCRA Op::.r.ions, the Co~rt idPnti:tied
this 'fricr.d'          dS   Rob~rt  Williams despite the fact that no witness
had identif:ed th:s person as being Robert Williams durir.g the
t r i a 1. ( 1 I 2 8 11 9 0 pi n ion, p q . 4 ; 1 2 I 6 I 1 3 Op l ::-i ::. on pg . 2 - 3 ; N . T .
9/lC/1:3 µq.        117--119). At +..he PC:RJI. hearinq the Co::nmonwealth
introduced Wi:liams state~ent to police to ref~te Rigr.ey's
testi:r.ony. However, :.t must be noted that this was not admitted
at the trial and therefore was not 'of record' for purposes o:
          Case 2:20-cv-01389-MSG Document 1 Filed 03/11/20 Page 21 of 97




        Da:1:.c~    cal 1£:d Ja:nes back cJ:1d ::.cld r,:::i tha:-            t~0y co:.:~d         co:r.e

by Dar.1el 's       apart:rer~t    to buy     :nari~uand.        (N.T. 9/:0/l) p:J.               : 19).

        Rigney tb.Pn drove the three men to l"lth S':..rcet and

fa1rm0Gnt Avenue, where Caxcs'                   friend was wait1ng r.ear a white

Cad:llac.         :N.T.    9/10/13 pg.      12C). Peti:.io:1e:::, James and Rigney

qot :nto the wr.1te Cadillac, wh:le his f:cier.d took                             t::'H~    ~row:-:


'J: ct or i a .   (N. T . 9 /1 0 I 1 3 pg . 12 0 J •

        Rigney drove the white Cadillac ta 3CC1 Redner Street,

where Danie: l.:.ved.            (N.T. 9/:0/13 pc;.           1/:Jl.    ?etit10:-:er and James

c;ot out of tl:e car and wer.t ir.to Jar.1cl's apartment.                              (N.T.

9/10/13 pq. 12:-122). Upon enterir.g <:..he apartment, James dnd

Petit:oner shot and killed Daniel and his girlfriend, Patranella

London, and stole his marijuana and passports from the

apartment.

          Petitioner and Jaxes :eft the apdrtment and ran back to

the Caci.:..:.ac with a          large b2..ack garbage bag.                 (;-LT. 9/10/13 pg.

122, 126). As Rigney drove the car away from the apartment

building, Ca:res asked Petitioner                      i[   the wo:nar. was "L:11shcd" and

~he    Pctitio~er         alleged:y responded               "g~aranteed"       IN.T.       9/10/13

pg.    126). James sa:d "I took his shit."                       ('.'J.T.   9/~0/l ~       pq.    160).




t.he 12/6/13 Trial Cour<:.. opinion or the PC:RA Co:1rt find1nqs of
fact.     Cullen v.        P1nholster,       563 U.S.         110,   :80-81     (20:.::.).       T:Je
Trial/PCRA Court cannot rely substantively on the ~':..atexent. 7o
do so violates Petitioner's Sixth A.'T.endment r:gh<:..s under the
Con:ror.tatior: Clat1se. Mclcndez·D1az v. Massaclrnsctts, 1.79 S.Ct.
        Case 2:20-cv-01389-MSG Document 1 Filed 03/11/20 Page 22 of 97




        :JJ..:-:H:l's r:eighbor, Les:-Pr      ,;~hnsor~,        'Jedrc:i   t!;c    q:~::sr.ots    ana

l ool<cd out h ls w i.ndow. John:=;or        ~>aw    ~he    wh I"!:. e (:ad 1 1 :a.c speed away

from Da;ii.e.::.•s apartment. (N.T. 9;:01:1 pg.                  10).      John~>on       wrote

down whc.l:-. he could see of: tl1t' : l cer.se plat.c nurrber, w!":ich was

"HP   7-27."    A    fr:cnd who was wit:-,          Jol:r~son    cc.l:led 911.         ('.\l.T.

9/10/13 pgs. : :-:4).

       At the       sa~c   time tnat µ0:1ce          were     arriving       at     :he    cr1~e


scene, Off:cer Charles Kapusn1ai<. and                 ~-is     µartr.er,         Officer

Kenneth I.ong, were conduct:nq an               ~nrelated          surveillance on the

1800 block of North Judson Street.                   (~.T.      9/9/11 pg. 94; 9/10/13

pg. 12, 40, 89).           At   approxi~ately        2:4C pm., Officer Kapusniak

observed a white Cadi::ac travel southbound on Judson Street

before pu:ling over near l82C North                   J~dson       Street.         (N.T. 9/9/13

pg. 95).

      Officer Kapusniak saw Ri.gney exit :he vehicle's driver

door. James     e~erged         from the front passenger seat and Petitioner

got out of the rear passenqcr secJt.                   (N.T. 9/9/13 pg. 95-96).

All three men then walked             t.o   the rear of the Cadillac, and James

removed a large trash baq from "!:.l'.e Cadillac "!:.run!<.                        (N.'::'. 9/9/13

pg. 96-97, 108, 122; 151-:52).

       The three men then ran into 182C North Judson St.reet where

Shante Smith w<ls babysitt1nq.               (N.'::'. 9/9/:3 pq. 33, 96).

                                                                 ·--·-----
75?7 (2009); Commonwealth v. Ford, 44 A.Jd 1198, 1194 (Pa.
Super. 7012).
         Case 2:20-cv-01389-MSG Document 1 Filed 03/11/20 Page 23 of 97




        Thir:-y        sccon~:.s        ..=i:<::.cr the three men rar. ir.t.o tht: lioJse on

North :Jdson               ~;:.rt'et,       Ctf:cer Kapusniak recei.ved a ca::                   ovt~r


police radio               fr~Yr     L.eu<::.0na:-1t S::r.1::.:-:.   (N.7.     9/9/13 pg.     96,    12:3).

:,1cutenant Smith inforf'":ed Officer KapusnicJk of Uie shoo:ing                                         clt


Redr.er Strc0t.              a~d     :hat a white Cadillac cor.ta1n:r.g two or tt1rec

black males had bee:-: seen fleeing t:-ie scene.                                  (N.':'.   9/9/:3 pg.

9 6,   12 3 -1 / 5 ;       9 I l 0I1 3 pg .       : 6- : 7l .

        Approxi:r.ate.i.y one minut.e luter Officer Kapusniak

observed two               f'.ICL   he later idcr:t it ied as Rcgi.nald Ar.drcws and

~aurico      Morns walk pa:.;t his vehic.:..e.                          (N.T.    9/9/13 pq. 97-98).

Andrews ar.d Morris approached 1828 North Judsor. Street,                                           knocked

on the door and entered the house. Cames then stuck his head oGt

of the door and looi<ed around.                             (N.T.    9/9/13 pg. 98).

        A short time later a silver Kia sped dowr. the b.:..ock and

parked .:.n the middle of the street ir. front of the house.                                           (N.T.

9/9/13 pg. 98-99). James ran out of the house, carry1nq a black

d:.iffel bag a::;.d got into the car.                           (N.T.   9/9/13 pg.          99). The

dr:ver of the Kia, MohammPd Bey,                                drove down the street out of

sight.        <N.   ':'.     91 9 n 3 pg s . g 9- :       oo, i 2 c- 121 ) .
          Officer            ~cCabe         and   Otf1~er       Miles, who were hacKir.g up

Officer Kapusr.1ak,                    then pulled over the Ki.a. (N.T.                     9/9/13 pg.     99-

lOC,    163- 16:iJ.                 JaDcs    and Bey were de'.:.<J.1ned alo:Jg with the black

duffc.:. bag.
           Case 2:20-cv-01389-MSG Document 1 Filed 03/11/20 Page 24 of 97




        A :ew :r.1nutes         ~atcr   A:-irirews ca!'TIP nt::: 0f ,;'.Jdso:-: St :reet

c:arry1:iq d wh:te shopp::.ng bag. Wr.er: officers approached,                                ~1c     ru:1,

t'."'row.:.r:g   the baq over a fence. :::ns.:.de               t~.c   bag was a bLicK.

hackpack wh:.ch          ccntair:ed passports and a phnto album                        1H-~lcngir;g


to one of the           vict1~s      of the Redner Street shoot:ng dlanq with

mar:;t..:ana and a qreen trash baq.                   (N.':'.    j/9/13 pg.      ~92;.


        ~he      dec::.sion was I"'.lade   by pol:ce        ~o    enter the Judson s:.reet.

hcuse. Sr:i.:.th testified that the police did r.ot kr:ock and                                t~1ey


c:d not ask per:r.issio:i to come into :.he r:ouse.                           She d1d:1't      s1q"!"'.

any corise:-it form. '::'hey didn't show a search warra:it.                            (N.T.

9 I 9 I: 3 pg. 6 4 - 6 5, 1 3 9} .

        Officer Kapusniak tcstiiied that, after police entered the

Judson Street house, Petitio:-ier and Rigney were sitting in the

living room.            Pe:it~oner      had a baby in his arms.                ~here    was    a:-i

unzipped duffe: bag containing                   c~ear      Ziplor. bags full of

rnar1Juana nearby. The marijuana recovered from tt1e                              d~f!el       bdg

ma:ched          t~e   specif 1c type o: marijuana found at the scene of the

rnurders.         (N.T. 9/10/13 pg. 56). {N.T. 9/9/13 pq. 103-:04,                            136-

137, 148).

         Shonte Smith           tes~1f:ed   that wh1:e the police awaited the

sParch warrant,              she,   Petitioner and Rigney were all placed in

'.:a~~dcuffs       in :.he    living room.      (.N.T.    9/9/~3        µq.   104}.    The pol:r.e

thereupon imI"'.led1ately            co~ducted    a    comp:e~e         sweep search of the

wr.o:c house.           {N.T.    9/9/13 pg.    104-lOSl.
           Case 2:20-cv-01389-MSG Document 1 Filed 03/11/20 Page 25 of 97




      Officer Kapusn:ak :es::f1ed that police harl reccvcred                               t~0


key to the wr.:tc Cdd::lac .:.rorr. R:c;rey.                  (~LT.        9/9/13 pq.:S2J.

      Stonte Srn:th testified that she saw Pctit1or.er kick a p1r.k

bag underneath the cot.:ch.             t\;,;:'.    9/~0/:3     pg.    11-44).
                                                                       1             Counsel

stipulated that Officer            K0n     t<;c:tr:an wocld have testified if

ca-led :hat this pink hag a:so                     co~ta1nPd     wc<lpons wtich        ~atc"hed


to <:.he ballist:..cs    :o~Jnd    at :!".0 cr:nc scene and r0covercd from

the body of one o: t!:"lc v1ct1ms.                  (;-.;-.".:'. 9/:0/13 pq. 66-1l).

STANDARD OF REVIEW

      ~o     obtain habeas corpus rol1ef, :he Pet.:t:oncr may allege

:hat his conf inemcnt is the result of a v:..olation of the United

S<:.ates    Constit~t1on.    T"he Constitutional error must have had a

s~bstantial       and inJurious         :..n:~uer.ce    or. the determir.ation of

guilt made by the jury. Brecht v. Abraham, 113. S.Ct. 1710

(:.993); Kotteakos v.        U.S.,        328 U.S.       7SC,    756       (1946).

         Petitioner may also allege claims based                           o~   vio:ations of

State :aw if they resulted in fundamental unfairness, which

cor,sequer..tly v.:.o::.a:ed Peti tio:r:er' s Fo;Jr':::eenth A.'"'.lendment right to

Due Process.

         ender the AEDPA, habeas relief will not be granted for any

c:a1rn     adjudicated on the meri<:::s :..!1          S~.ate    court unless the

occ1s:on was cor.trary to          1    or invclved        a~    ur..rcasonable

app:ication of "federa:            ~<lw    c:early cstab::shed by the Supreme

Co;Jrt", or "based upon           dil   ~nreasor..able        determination of the

:acts." 28 U.S.C.        §22~4(d)       (2).
         Case 2:20-cv-01389-MSG Document 1 Filed 03/11/20 Page 26 of 97




        A tederal        ~abeas    cour:    ~ay     issue the wr1t under the

'contrary to' clacse if the s:.ate court app:ios a rule d:ffercnt

~1o:n   tt:e qoverr.:r.q law sc:. :ortl;             ir:   the \J.S.   Si..:prerr.c Cm;r'.:.

cases, or 1f it dcc:ides a case d1fferent:y than the Court has on

a set of mat.cr.:.a::y           incL~>t1ng:...:1s'.1ab:e    facts.

        Relief nay he granted               u~der   the "unreasonable            appl~ca:.1onu


clause "if tte           sta~e    co~r!.    correctly :dentifies the governing

legal    princip~c        from '.:.he Supreme Coi..:rt's decisions but

unreasonably appl:es i: to '.:.he facts of the part1c:...:lar case.a

Bell v.      Cone,    535 '.J.S.     685,    694    (2002).

        Generally, state courts' factual f 1ndings are presumed

correct unless the Petitioner car. show by clear and convincir.g

evidence that the f           ind~ngs       were erroneous. The general

presump'.:.ion o: correctness rela'.:.ed to the State courts'                            fact~al


findings do        no~    however apply to questions of                  ~aw   or mixed

questions of law and fact. Cunningham v. Diesslin, 92 F.3d                                      10~4


(1996); Wcllma:i v. Maine 96? F.2d "IC                      {1992); Levasseur v.               Pepe

7 0 F. 3d 18 7 I     l 9 3.

CLAIMS


        I.     Petitioner was denied his rights under the Sixth
               Amendment of the U.S. Constitution and Article 1,
               sec. 9 of the Pennsylvania Constitution when
               trial counsel ineffectively advised Petitioner
               not to testify on his own behalf.
            Case 2:20-cv-01389-MSG Document 1 Filed 03/11/20 Page 27 of 97




         A dcfendan:'s d0cisior: to waive n1s                     c~nst:~u~innal              r1g~t       to

~rs~:fy       1s a tur.danenta:         dec:s:o~s       that nusr be           ~dde     by the

defenda,1t ar.d not counsel. Commcmvealth v.                          Udc1ra,         ~5C    Pa.    389,

7
    06 A . .?d 331     (1998); Commonwealth v.           Bazabc,          404 Pa.Super.            408,

590 A . .?d    ~.?98,     alloc. denied,        ~)/8   Pa.    63.S,   :)98 A.2d 9'J2          (19gl);


C'ommonwealth v.            Fowler,    362 Pa.Super. 81,              S23 A.7d 784, alloc.

dP.n:ed,      Sl7 Pa.       )98,   535 A.?.d ::.056     (1987}. However,               i';   order to

:r.akc that dccis::.or: in.tell igent, the defendant                        :r.~~st   f i:rst receive

:r.er:1:;.ingful ass::.s:ance of        co~:1sel.      (Gov't of Virgin               Islands v.

Weathcrv.1ax,        Fl   F.3d 14?.5,      143'.) (3rn Cir.      :996).

         A defendant's decision whether or no: to waive his

const1tu:ional right to test:fy on his own behalf requires

knowledqe, not just of the fact of the case, but also an

ur.ders:anding of :he rules of evidence, crimir.al procedure and

cr1mina: law. This is the type of knowledge tha: on:y counsel

has by virtue of his education, trair.1ng ar.d experience.

         The determination of whether a defendant's wa:ver was

l_n_:e.1.ligent is based or. the adcq;..;.acy of coi..:nsel's advu:c to his

c~::.cnt.     Moldonado v          Winans,     128 F.2d 438,          439     (l0''"' Cir.         1984);

Scott v. Wainwright,               698 F'..?d 427,      4/9     (:::.th   C:r.    1983). Cou'lsel

must have a reasonable,               rational ev1dentiary basis for his

adv:cc tL:i.t the Petitioner !!_ot to testify. Roe v Fle>rr.s--Orteqa,

:i28 U.S.      4·10,      120 S.Ct.   1029     (2000); Commonwealth v. James

Jo;1cs,     651 A.2d 110:,          1109    (PA 1994).
               Case 2:20-cv-01389-MSG Document 1 Filed 03/11/20 Page 28 of 97




          ~ounsPl's            advice tl:a:.            tt1P    t~e:'.'e;:dcJ·:t    r.ot test:ty ;;.Gst be

based          O~    "Ob]ect:vely rCdSOnabJe                       (>?~fess1ona:          JUdgment" dild

withir: the "prevail.:ng norme> of practice fer dttorneys in

cr:ninal cases." S':.r1ckland v. Wasn1nqton,                                          466 :.:.s. 66?    (:984);

Commonweolth v BasPmore,                         744 A.?d "'1"7              (l';L    2CCCJ; Commomvedlth

v.    Pierce,            :i1s Pd.    153,       ~>?.7    l\.)d     q,'_~   (1987); McMann v.

R1chardson,                197 U.S.     7'.J9     (:9·10;; TollPtt v. Ht:>nderson,                     411 U.S.

258      (1973); Wiqq1ns v.                 Smith :i39 'J.S.                 ::ilO,   :23 S.Ct. 2527

(2003).             I~   f'.lust also be based on accJra:.c and                          comple~e


ir:forma:ion. Commonwealth v. Nieves, 'lt;6 A.2d 1J.C2 (Pa. 2000);

U.S.      v Narducci, 18 F.Supp. /D 481.

          Petitior:er averred that coJnsel's                                  adv~ce     was not

ob~ectively                reasonable based upor: the fac:s and evidence.

Strickland, supra. The State Court rul1ng find.:ng                                            cou~sel


effective was an                  ~nreasonable                 appl1cctt:on of the law to the

facts of Petit1oner 1 s case.                            W~ile       the state court identified the

correct govcrr:inq legal principle from the Supreme Court's

decisions,               it unreasonably aflplied                      tha~        principle to the facts

of the Petitioner's case. Williams v. Taylor,                                            529 U.S. 362, 412

(2000).

          Had Petitioner not be0n adv:scd by counsel to waive his

right          ~o    test :fy, he       wo,~ld          have test 1 f ied that he had bPen

~.:ving         at h:s mother's house and was there the murn:nq of the

c r :.r:ie •    (N • T •    4 I ?.1 I 18 pg .    12 0 ) .
           Case 2:20-cv-01389-MSG Document 1 Filed 03/11/20 Page 29 of 97




          Bet.ween 1 0 : CC am                     cV l d   : : : :) '.)    d~ . ,    ~<. ~ g n 0   y ca : 1 e d h l m   rl r: d   tt: c y

d1scJssed Pet:..t:oncr's buy1::g                                      ~>o:cte     r:lc.i.r1jJana.         (N.':'.   9/:C/~:l        pq.

11 ~ - 1 1 6;    '.'-J • ':' •   4 I 2 7 I 1 8 pq .         12 1 ,         12 ~ - : ? 6 I    1 7 3 - 1 7 5) .

          BecausP ?e';.                l ';.   lo:wr   had been               t   o:d lUSt the day before by !-:.1s

µu.role off.:.cer net to leave the house L<:ot1l after .?:00 pm.

Pet:t1oner stayed there                                ~nt1:          i~      was just after tha:.                     t1rr0.      (N.~.


4I2"lI18 pg.                12   "~;   .

          His plar: was to go set> t;is cousi.n's baby w!:1le he wai:.ed tc

hook up         w1   ":h Higney.                  (N. T.       4/27 /18 pg.                 123). Both h.:..s r.1other <:lnd

a r:e1ghbor,               ~rs.            P1r.e saw hir.1 :eave. Mrs. Pine was his                                      ~other's


co-worker. She asked hire to put her trash on the street ior her,

which Petit1or.er did.                              (.N.".'.     4/27/18 pg. 128).

          Petitioner was on the phone during the half                                                           ~ile     walk from

h:.s mo:her's house to Ridge and Master S"':reets.                                                           {N.T. 4/27/18

pg. 124). Wher. he spoke with Rigney, R:gney told hire that he was

busy but that he could meet Petitioner at .?Jrd and Mon:gornery.

(N.T.      4/27/18 pg.                         176-177). Petitioner then called Rafiq Jones

to see :f he could pick him up at Ridge and Master Streets.

(f\J.T.    4//1/18 pg.128).

          Pct1-::.io;1er was still 'wa::.kir.g                                     a~ony        the wa::' goiny toward

Ridge and            ~as~er                a: 2:30 pm when the crime was occurring

elser.rmere.              (N.T. 4/27/18 pg.                         :29).

          At 2: 16 Petitioner received a call from h:s ex-q:rlfr1end

...:oyce Laver.dcr.                     (N.T.      4/27/18 pg. 130).
            Case 2:20-cv-01389-MSG Document 1 Filed 03/11/20 Page 30 of 97




Cadi:      ~ar.   stopped and beeped its hor!1. HP CC>uldn'           t    see wt10      WdS



dr1v:ng because the wir.dows were so nark,                   3C    he kept walk1r1q. He

then heard          so~eone   yell out "7ezu which is h:s nicknane.

PP::it:oncr saw that it was Rigney ar.d wulked over tc                         tt;\~    c:ar. He

a:-id Rigney talked dbout '.:.he        rtar1~...;ana.   P0t1tioncr had :io idea

wtiere      .Riq:-:ey had gotten the drugs.        (N.7.    4/?.J/13 pq.       131).

           Riq::.cy asked ?etiti.oner where Le was goinJ ar.d                1rJhE>r;


?et1t.1cncr to:d him his au:1t's hoLse :o v.:s1t his cousin's bc.lby,

Rig:--.cy to:d him to get in the car,              :hat he woc:ld take h.:.1'1.           ('.'LT.

4/27/18 pg.:30-131)            Petitioner got inside the backseat passenger

side of the car.          (N.T. 4/27/18 pg.        131).

           When they got to 24th and Ridge they pulled over and two

males who Petitioner had never me: before (later identified as

Caray and Block) got out of the car ar.d wer.t ins:de the Chinese

F"ood store.         {N.T. 4/27/18 pg.     131).

           Rigney ar.d Petitioner then drove dowr. Ridge, IT.ade a right

on~o       75'h, a r:gh:: onto Berks where they nncour.tered                 ~a~es       who

got inside the car.            (N.'".:'. 4/21/:8 pg.     134).    Petitior.er had r.ever

r:1et James before this.          (N'.T. 4/21/18 pg. :34,          16~).    R1g:1ey asked

?ct1tior.er if tf:ey could use his aunt's                  ho~se    :o weigh the weed

sc   hE'    could give Pe-::i.t.:.oner ar.d ,James       ~heir    cuts at the same

t1mP.        (N.':'. 4/.7.7/:8 pg. 134).
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        When t..r.ey got to         dr~d    parl<:ecl ,-it.. Pet it :or:er' s c:iunt..' s house,

Riqney told Jaxes to take the t.rasn bag oGt of the trunk. Rigney

reached     ~nder      the seat and qrabhP.d the scale~3 and p~t them :r.

h~s   hoodie and tLey walked                 in~:;ide   the house on Judson St.            ('.'!.T.

4 I 2 "JI: 8 pg.   1 3 ,; ) .

        While the others went ups:dirs to the middle bedroom, the

Petitior.er went do1·m t.he ha:l to the bathroom.                          (N.T.   4/2"7/18 pg.

13~).    While he was in the baU:room Pet:t:oner heard what turned

o:Jt to be "Caray" ar:d "Blocl<:" knoc:1<:1ng on ':.he front door and

asking to er.ter.               (N.T. 4/27/:8 pg.        135-136). Petitioner heard

them come up the steps and                   t..he~   footsteps go:ng down the stairs.

(N.T. 4/27/18 pg.               :36). Petitioner yc:led through the bathroom

door <:.o Rigney "Who the Fuck is that?" No one responded.                                (N.T.

4/27/18 pg.136).                Petitioner asked Rigney who had Just :eft and

Rigney said it was Duke (James) and the 'young bull that was

with him" (N.T. 4/27/18 pg.                    :36).

        Pet1t1oner came out of the bathroom JUSt as Rigney came out

of middle      bedroo~          holding a black bag and a             p~nk   baby bag.

R:gney and Petitior.er walked down the stairs. Rigney put the

b:ack bag on the f :oclr behind '::he c:ouch. Rigney put the pir.k bag

o;i the floor next to the                  co~1ch.    (N.'":'. 4/21/18 pg. 137-138).

        Petitioner sat down on the co:Jch next. t.o his cousin.                            She

then got up        a~d     asked him to watch the baby whi:e she went to

the store. R1qr:ey sa:d that the                      'yo~mq   bu::s' wo:Jld be right
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( N. T.      4 I 2 1 / :'.> pg.    : 3 8 · : 3 9) •

          W1thou:: f:rst kr.ock1ng or anno'J:1cing U:eir               pn"'~>ence,   police

kicked        ln   :he c:osed,            lccked ar.d scrcen:ess fror.t door.    (N.T.

t,/21/:H pg.           135,       138-:39). Pct it1oner !-lad tl:.e bavy in h:s aces

at     ~he    time. The µol 1ce told Sr:ti.th to t.ai<e the baby i:rom

Pet1:1oner. She was told to s:t on the                      co~ch   by the pink bag.

Petitioner a:-id R1q::ey were to:d t.o :ay o:-i the Coor where :hey

w0re handcuffed. They were a::owed to sit up next to each other

on tr.e floor.

          Contrary to the Commonwealth witness' testinony, the duffel

baq was neither o:-i top of th0. dog cage or unzipped and open with

drugs ir. p:a:n v:ew. It was, where Rigney had left                             behind

the couch on the floor.

          While the police were otherwise occupied looking for,

unz:pp:nq and searching the duffel bag they had taken from

beh~nd        the couch, Petitioner saw Rigney mouth to Smith to kick

th(~    p1r.k bag under the couch, which she did.

          It was <liter the police found, opened and searched the

d-.:ffel haq th<lt a complete sweep ot the house was then

conducted. The              pir1~     baby bag and three ha:1dguns were also found.
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     A.      Ineffective advice not to testify in support of the
             Motion to Suppress.




::.rial. Petitioner r.ould t:ave test1::1r.J for p;rposPs c:- the

sL:ppress.:.o:; :not1or:. wittoL.:t fear o:= his test.:.rnony he1ng adrr.itted

against h1m at trial.

      When a dcfendar.t test: fies in s:lpport             o~   a    ~ot1or.   to

s:.ippress evidence or. Fourth Amendmer.t grounds, his testimony may

:1ot thereafter be adr.iittcd against !ii:r. at           ~.r::.a~   on tr.e issue o:

gui..:..t. Simmons v. United States,        390 U.S.      377        394   (1968).

Because of the Simmons rule, the Pennsy:vania Supreme Court has

s:a:ed that "(i)t is difficult to see how a motion to suppress

:ncrimir.ating evidence can ever be pre1udic1a.:.. to a:: accused,

regardless of its chances for success." Commonwealth v. Wheeler,

54: A.2d "730,   735   (Pa.   1988).

      Petitioner needed to testify on h.:.s own behalf for purposes

of a motion to suppress in order to refute the Commo::wealth

witnesses and evidence.

      Officer Ratka tes:if1ed that he wa:ked :.ip the steps of the

..;:.Jdsor. St re et house and "opened :he sc:reen door"              ( N. T. 9/9/13,

pg. 225, 229-230). Officer        tv;er~z   s1:r.1larly     test1£:i~d      that "the

fron:-. door was open and we jus<;.. ope;1ed t!;e- screen door" and

wa:K.ed inside the house. (N.T.        9/9/1.~,   pq.     203-704).        Officer

Kap~1sniak   testified that he a:..dn't know Low his officer opened
           Case 2:20-cv-01389-MSG Document 1 Filed 03/11/20 Page 34 of 97




the door :r:c could !;ave k:ci<Pd i:                      i;;.;   bet   ":".h0   fr:)n".:. doo:!:'"   W<JS


'open' .     ( N. 7. 9 /<JI J. 3 pg. l 3 9 - : 4 '.1: .

            Officer Fox test:f 1cd on               cross-examinatio~                   that he cou:d

not see a screen door from that ar.qlc on ":"he s1ngle photo of the

front door ".:he Com.r:1c.mweal:h prescr:ted. ('.\l.T. 9/9/13, pq. 246-

/4 7) .

          Pe".:itioner's test1mor.y th<lt there was no screen on the

c:osed and locked front door and                      tr1,1l      :.t:e poJ.:ce kicked it ir.

was   abso:~te:y        necessary :o         rcf~te         :he police assertior: that

there were ex1ge:-:t c1rccF.Lslc.1nces ar.d tr.<lt they did not need to

use any force to enter the                 ~~dsor.        Street house. They just walked

right in.       (N.T.    9/10/13 pq.         12'1).

          Petitioner     co~ld     have additionally                testif~ed           that the

d~ffel      bag was on the floor behir.d the couch and r.ever on the

dog cage ir. plain view. Given that Rigr.ey and                                  S~ith      were

Co~.:nonwealth      witnesses, Pc:.it1or.er was the                       o~~       person wto could

have provided the :actua: basis for the Court to find that the

drugs inside the duffe: bag were not found by police in p:ain

view.

          Without the      dr~qs     bc1~0     found :n pla:n view,                     the police had

no basis to conduct the sweep of the house which uncovered the

pink baby bag with the               qu~s.


          Had Pe:..i t i oner so testified, h:s counsel                          wo~ld      have had -::he

evide~tiary        basis to then argue that the police only had
           Case 2:20-cv-01389-MSG Document 1 Filed 03/11/20 Page 35 of 97




pending the obtair11ng of                 ct   searer.. warrant.    The sweep of :.he

ho:.ise    wa~;   i...;r.lc.1wful and   sho~1ld   be si...;ppressed. fv".o:::-eovcr, cou:-isel

co:11d     have arqued :.hat :.!".e            av~r:uents   which formed the

ev1dent:ary bas:s for t!;e search warrant were ir.accurat(' and/or

fab~·:catcd.         (PllJ.

          B.      Ineffective advice not to testify for substantive
                  trial purposes.

          Had ?et:t:oner testif:cd for purposes of trial, he would

have told the Court that he was not involved ir. the murder.

           Whil0     ?c~.it1orcer       met cp wi:.r1 Rigney after the          cr1~e,      it

was only to buy some marijuar.a.                    Petitioner had no idea :.hat the

shootinq had been JUSt previously co:n.."T.itted ar.d/or                       t~at   the

marijuana had been stolen from the victims' residence. Nor did

he have any :dea :.hat Rigr.ey had taken guns f ron the crime

ir.s.:.de his Ai...;:it's !::ouse. He never had pl;ysical possession of the

duffe: bag, the trasl; bag or the pink baby bag.

          Petit:oner avers t!;at the evidence that he could give was

so cr:t1cal to            ~is   defense to warrant any limited potent:al risk

or prCJt..:d:ce t_;wre :-r.1qht be fror:t putti:-ig Petitior.er on the

stand. Pr:or to trial, Pet1tione:::- specifically to.:.d h::.s tr:al

counsel that he wanted to testify abou:. the above.

          Pct:t :oner test:ficd that               ~r.   Rudenste1n told hix not to

testify because of h:s aggravated assau:t conviction and because
         Case 2:20-cv-01389-MSG Document 1 Filed 03/11/20 Page 36 of 97




it woc:d t:av(c be0n inconsistent           w1~.h     Ofii::<:>r   Mc:c1'    tcst:no;iy

that t:e had seP.:-i James get.     01lt   o:   the     Kid and      tr.{'n qct hack ir.

<lnd onve away.     (N.T.   4/77/18 pq.         141)    .?



      A-+:. t!1c i?CRA hnarinq Mr.    Rudcns:e1r. ad'U~ttccl that ~e co:..:ld

no:. rec:a:: hav1:1g even d:scussed witr:               t!":e Peti:.:o;iPr     wr:y he

shou~d   no:. testify.    (N.T.   4/21/:8 pg.           30-34,     3~-.39;   7/?0/18 pg.

4). Mr. Server, who had       bP.e:-i del~gatcd          r0sponsib1lity         for   the

:nvestigation of the alibi defense d1dr't speak with Pet:tioner

about his tcstify:.nq.      (N.T.    4/21/18 pg.             l9, 45, 149).

      Petitioner's mother had         bee~      ir.terv!ewed by a pr1va:.c

ir.vestigator. The :nvest1gator reported that Petitioner's mother

told her that her son's parole agent had been at her t:ouse the

day of the crime. Neither Mr. Rudenstein nor Mr. Server spoke

directly to Petitioner's rr.other.              (N.T.    4/27/18 pg.         45). They

relied   cxc:usivc~y     on the   sing~c,       very brief investigative

interview done by an investigator.                (N.T. 4/?7/18 pg. 29).

      When counse: then received Pet:tior.er's parole records,

which showed ':.he parole aqent made a field visit to Petitioner's

house the day before the :m.:.rder and not t!1e day r:;:_f the murder,

cci..:nsel irruned.:.atcly cJ.bandor.ed ar.y attc:Lpt to presen:.



      I: is uncontested that Pc:.i:.io:ier r:ud no prior crimcn fdlsi
conv1ct1ons he could be impeached with it he took the stand. Nor
had he ma~e dny prior incor.s:stent Stdtements with which he
coL:ld be impeached if he took the stand.
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                 WHAT A PUTZ;            WAS-::t.:1~   YO:JR TI f'v:E::: c;E7T I NG THE RECORDS AND
                 :v!Im: WITH TEF, ,\:,:B: '~OTICE m,;o TALK!NG ABOUT I':'. Tell
                 !:1:r. to p:P.dd. I w: '. :c :sp, dicta:.e a letter tcL:ng
                 h1:r. he has no red~ d0~e:1se ir. going over t!:e ev w (sp)
                 him, l think he realized thdt. Need to cover
                 oursc~ves. This c;uy has a red: c~1u:1c::e of goir:g down.


(empt.a.sis in        ~rig1~~)           (!'LT.   ~/27/18      pq.   ~S,   48; R.R.1-2). A: the

recent hedr.:.r:g, Mr. Rude:-is:.ci;. described i.t as "a grotesque

was:e of tiMe."             (empha.s.:.s udded; ('.'.J.T. 4/27118 pg. 35-36).

          Petit1or:er was ::terally fighti.ng for his life and yet,

co:.insel's reoction to his assert1or: of an alibi was tha::

Petitioner was a 'putz', which tr.:s court                             can   take judicial

r.ot1ce is defined as "a stupid or worthless person" who had

wasted cour.sel's t:ne.

                 Yeah, you're askir.g me straight out, was I upset w:th
                 my client? Sure I was, because I felt that he kind of
                 wasted our time either deliberdtely or because he ~ust
                 wasn't thinking straight.

( N. T.    4 I 2 7 I::. 8 pg.   4 6) .

          Before abandon:ng               bot~    Petitioner and his          a:ib~   defense,

~r.   Rudenstein didn't send Petit.:.oner a copy ot the alibi not:ce

or his :mother's statemen:... No::. d.:.d counsel bother' ask Petitioner

about the :ncons1stency between h:s mother's recollection and

tl".e paro:e records. (N.T. 4/27/18 p9. 36-37, 144). Cocr:sel

admitted at the ?CRA heari;.g th<lt he hel:eved :..hat Pet1t1oner

was r.ot accura:.e l y report ir~g what occu:r red. "Whet her he was
          Case 2:20-cv-01389-MSG Document 1 Filed 03/11/20 Page 38 of 97




:y::.:-ig or wt:t't!-:Pr he was          gross~y        rListaK.e::,    tha~       I   ca:1't rt->ally

say."      (E~m~)!1a.s1s      added)    (N.7.     4/21/18 pg.          36).

          Had co'J:-ise1 simply asked his c;.;.Hm"t",                   Petit::.oner could have

clearea the :nisu:-iders:ar.dinq up very q'Jickly.                            1   Pet:ticr:cr    ~.ad


:cld !-:is attorr.ey that :1e had beer: at his                          mo~.her's        lwuse <:tie

mor:11ng of the crime and had not left unt.i.:;. shortly aftt>r 2:0'.J

p.m. He did            :~ot   leave tr.e house :he day of ':.hP crime Parlier

than 2:00        p~     bccdJse        just the day be!ore his paro:e officer, who

was on his first visit to his rno:her's house,                                    had :old h:m that

he was r.ot allowed to leave the house until after ):00 !'·m·

( N. T.    4 I 2 7 /18 pq.      12 0-121,      : 4 4,   179) .

          Counsel clearly misunderstood what his                          clien~         had said.

Counse:      cr~:ically          misinterpreted Petitioner as hav:ng said that

his parole age:-it visited him the day of the crime. Tha:

misinformation was then                  p~t    in the Alibi Notice ar:d was the

basis for the private                  i~vestiqator's            questions to Pet1t1oner's

r.iother.

          Whe~    his mother was asked almost three years after the

crime by         ~he    pr:vate ir:vest:gator if the parole agent had been

there the day of the crime,                     Petitioner's mother reca:!ed                     t~at




        While '.Vlr. Server testified that he spoke to PP.t:tioner
about the parole f ::.eld records, his notes do not. indicat.c what
Pet.:t10:1er' s n~sponse was. (N.'.::'. 4/27/18 pg. 16, 20). Regardless,
Mr. Server did not discuss whe<:.her Petitioner should tes-:-1fy to
the alibi. He left that entirely up to Mr. Rudenstein to do.
( N . T. 4 I 2 1118 pg. : 9) .
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: :rst v1s1t. ar.d assumed they were lPterr:.,:q to               ::1,-:,':.   day.   r~;.y


rcasor.ably expe::::1enced attorney would kr:ow t..'1a: it is not at all

c.::i~1sual   for a witness to not be dbie :o             :rr~Tedidtely        rec<.dl what

t!:'icy were   rlo~ng       o;i a spec:ific date:, cspec:1dlly    a    da':c a:mos:

three    years earlier. 4

        Having s:Jmmarily abandoned the alib::. de:!'.ense and th1nk1nq

that his client was a              'pu:z' who was it.:st wast.:.,iq \-:is time,

cour.sel simply advised Petitio:-:cr not to testify. ;:ounse: didn't

sit down with the Petit1or:er to d:scuss the pros dnd cons of

Petitior:er      ~-e~<:ify1ng,      even if his moU1er co-.ild r.ot. Instead he

sent Petitioner a             le~ter    tel::ng him that his a:ibi was 'net

strong' and that they would                "d1sc~ss    it furtheru.        (N.T. 4/27/18

pg.   30-34) .

        ~r.    Rudens:ei!1 knew that the clie:-:t's decision of whether

to testify or not is a legally nuanced ana very complex

quest:on. I t requires more than simply a 'yes' or 'no' frcre

counsel. A.Tong other things, it reqt.:1res a discussion of what

the client could a.r.d could not say if he took the                       sta~d       dnd what

responses would 'open the door' to prejudicial information

coming i.r..     (t\.':'.    7/20/:8 pg.    8-~8).    '.Vlr. Rudcnste1n's attenpt at

the ?CRA       ~earing       to oxpla:n how Petitioner's aggravated                   assau~t



4       The cr:me       o~curred       on Decembc:::: 8, 2010.   Cc~nsel        did not
interview Pct1t1or:cr's mother 1_.;r.t1l tr.c <:rid of A,;gc.;st,                 2013 - a
~onth     prior to the tr:a:.
.•
              Case 2:20-cv-01389-MSG Document 1 Filed 03/11/20 Page 40 of 97




     conv:ct10:1 rr.ay h;ive been d:SC""U;>scd in -:-".c c:Jr.tex'::". of !'us

     tcst1fy1ng      WdS    diff.:.cclt to fc:low. Fven : f counsel had this

     d1sci..:ss1on with the ?et 1 t ioner, wh1ct. tr.ere 3..s no evidence he

     did,    if explained the sa.:r.e '<Jay        cm~r.scl     did at tt1e PCRA hearing,

     it l;ad to have been very             confc~>:nq   :.o Petitioner.

             Moreover,      ~r.    R~dcnste:n    assertion that he wo11ld have been

     'a:l :or .:.t'       i:'." Petitioner hZ1d wan::-.ed to testify ::.s not credible

     given the tor:t? of          cour:sc~'s   cf'.lai: ar.d letter to the Pet1t1one;-:-

     advising him that he had no defense and that he should just take

     a p.:..ea.   (N.T.    4/21/18 pg .      .19-40).

             Counsels' decision :1ot to at least advocate that Petitioner

     testify to the alibi defense had r.o objectively                      reaso~able   basis

     to advance the interests of the Petitioner.

             Had Petitioner received objectively reasor.able ar.d

     effective advice         fro~     his attorney he avers that he would have

     testified, thus satisfying the prejud:ce requirement.

     Commonwealth v.         Walker,       l lC A. 3d 1000    (Pa. Super   201~);


     Strickland,      sJpru; Commonwedlth v. Mallory, 941 A.2d 686 (Pa.

     20C8); Commonwealth v. Miller,                981 A.2d 638      (Pa. 2009).

              Pet1t:o:1er was r.ot dr.         attor~ey.      He had every right to rely

     or. what his dttorney told r.:m was                i~   his best ir.tcrcsts to do.

     Counse: told hi:r. that the Judq(, ·...rcis going to ask him in multiple

     di:tfere:1t.   ways if he wanted to :.est1fy but that he should say

     'r.o'   each t1:r.e.    (N.':'.   ±/27/:8 pq.
                                       1                152).
,•
                    Case 2:20-cv-01389-MSG Document 1 Filed 03/11/20 Page 41 of 97




                 Ttw fact tl:at Pet lt.1oner was colliql,:ed :..s                                    n~t    d1sposiLve

     ct wh0.U1er counsel g<lvc objectively ur.reasonabie ddv1c(· w}:en lw

     tcld Petit1:.:ir.er r.ot. to testlfy. ':'hat fact goes tc the

     'voluntariness' of the We.liver and r.ot whe'.her the wa.::.ver was

     '1;;teliir;ent'. If <:he idct that the dcienda:it was coll:q:.i:ed was

     by    i   t '' c _ f    .s u f f 1 c : en t   t   o p r o v ~~ a r.   ' i n t c l l 1 gent '   wa i v e :r t. h e 11 t he

     Superior               Co~rt      could have r.ever foJnd as it did in NJcves and

     W~lker          that counsel's erroneous advice made the waiver

     uninte:::gent. Notdbly, the defendar.ts in both                                                Nicvc~      a~d    Walker

     were        colliq~1ed              on the record as Petitioner wa.s.

                 There is a reasonable probab1l1ty that, but for counse:'s

     errors           (part1cular:y when considering the cum:.ilative effect that

     R:gney's testimony and the phone records                                            wou~d      have had), the

     result of the proceeding would have been a:fferent. The

     Corruuo~wealth                wo~ld       not have been able to establish beyond a

     r easoi1ab 1 e tha. t               Petitioner comrni tted t. he robbery or tr.e murder.


                 II.         After discovered evidence that the Commonwealth's
                             key witness, Darryl Rigney, lied when he
                             inculpated the Petitioner in the crime.


                 R:g~ey          testif 1ed again.st Petitioner and his co-defendant                                             <lS


     a    coopera~1nq                co--conspirato:::-. He                p~ed    guilty to third-degree

     :r.urder. (N.T.               9/10/:l..l pq.             126)   He received a sentence o: nineteen

     (19) to th1rt.y-e1ght                             (38)    years.      (~.T.    9/10/13 pg.          l:?,129-

     1   ~l,:6'1,:73-1             ..'4).    Petitior.er was fo:lnd c3u1lty based                            exc~'-lsively
                 Case 2:20-cv-01389-MSG Document 1 Filed 03/11/20 Page 42 of 97




tc~;t.1r:1ony        tha:. Pct1t1oner         ,~·ds   i::-1   any wuy ir:vo:ved            .::.:-i   the

robbery/murder.                The   Com."".lonw0.J:t~1       co~l~i     or~:y   place him as be::.ng

w.::.tt1 R1g;-.ey and the drugs after tfle ftJct..                          Howevc:r,         P."Jen ther.,

:hey r.ad no evider.ce that ?e:.it1oner cve::-i                              x::1P.W   t.!".rit tho drugs

were the            produc~      of the crime. (N.T.              0/CJ;:) pq. 2)-/3; g;:o/l.3

pq.        116, 216-2:8).




:-r.t:roer,        :he on.:.y cvide:-,ce      Pt.=>t:~.:o::-1cr    :1c.d at      tr.c :!m0 of :rial

that            Rigney   h~d   lied was hP.arsay and c1rcumst.drt:J:: Pc:.1:.ioner

presented t.he :es<::.imor:y of Kt.<ze.'..l Bivins ar.d Tyr:k :,ar:'<.:

                Bivins testified that H:9ncy hud bt'en his ce:.:. !"".late:

                     Well, we was one nlgt1~ he ,,:as crying. I T:lean he
                     cried. !le was cryn1q a le: of r;1q.hts, l)Jt c:ic
                     part1cJldr night he was say1r.q how the two guys thdt
                     he said supposed to had so:ncU:1r.g to do wi~h the
                     ho:r.icidc or was loc;.:0c up wa.s!",'l U;c pPoplE=> tr.at was
                     supposed to been with h1w, something !:ke that.
                     we talKed about his <~asP. a lot. We t<ll..Ked iJ.bo'Jt that
                     si'.:.dation a lot. S0 naybe abc;~it f~ve or :.en :.irnes, you
                     Know.         (H)e to!d De :.n~t t.he two peop!e that was
                     supposed to been arrPs'.:.eJ fur i l wasn't thP people.

~~:   . --:·.    0/i~/:3   pq.    99-IC2;.




~               Con:.rary to tl"1e Tr.:.al/?CRA
                                        find:ng, :.twas the   Col1r~'s
?e~1~ioner who presented these witnesses and not Mr. James.
(:/?.8/:9 Op1r:10::-i, pg. 3).
         Case 2:20-cv-01389-MSG Document 1 Filed 03/11/20 Page 43 of 97




                                                                                                              like I don';:
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                                   ;:\i. T .   9 I 1 1 I 1 3 ;.JCJ •    ..   ~
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      :Je;:,p1te th_; c..H.J0\'<..: w2..:.!1c:;s tcst::..::ior.y, t!:e trial                                    court :ound

R::..gney credible:.

      After    !:1~:;   cun';~ct..2..on,       0~1   c1    arour.·:i :JecePlber 2CJ, 2013

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F--'gney c.d.:-ritting for tb:: very t.:.rst. tur.e tr.a: Rig:iey had lied

when he ::..nplicated the Pe! ::..t:oncr                    a~     t~e           tr1a:.

         In order to be ent1t:cd to relief based upon after-

discovered evidence,               the Pet:tioner rnust prove by a

prepor.derance of the evidence that the evidence (1)                                                             could not

have been ob:.ained prior to the                          conc:~sior.                  of tte trial by the

exercise of reasonab:e diligence;                            (2)       :..s not merely

corroborative or           c~m~lative;               (3) will not be used solely to

iT.peach the credJbility of a witness; and (4)                                                       would likely

result    i~   a different          verdic~.         if a new tr1a: were granted. 42

Pa.C.S.    §   9543(a) (2) (v1J; Peopl(' ex rel. OelrJ.cks v. Superior

Co11rt of C.:.ty of New York,                  10 Wer;d.         28S         (1833); Commonwealth v.

Walker,    36 A.Jct 1,        14     (Pa. 2011); Commonwealth v.                                               Washington,

927 A.2d S86,           S9S-596        (Pa.     7807);Commonwealth v.                                          Foreman,~~


A. 3d S32,     537      (Pa.Super. 2012); Commonwealth v. AlJU-Jamal, 553

Pa.   485, 720 A.2d 79, 94 (Pa. 1998).
     Case 2:20-cv-01389-MSG Document 1 Filed 03/11/20 Page 44 of 97




     :n :   '1 >,   + i r ~; +     l et t e 1 R 1 qr~ e y w r c: c- :

                                       tL.~ letter d!"lct I aort rea:
               :r" :;_;1';':1d1:;y yo;;.                                       y i..:ncw ~v.';dt
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               you by putti:ig y~Jur r.ar.10              ~n :l-iat s1tudt~oE. T!1o'.>c'
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              ;r:ys~lf.: was :oo!-:.1:;g f:;r a way ou:. anJ wdsn':.
              tr.u~k:r:g about p 1tt1:;g d f:!:10r.d :nto .s:;:-r:ethir.c_; he had
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              r:;)tl::cq :.o do wlth. I got nysc.:..f so:r.ewl;u.t ,1 deal 0~1':
              LLe s1tua:.10:-i b~1t i:- dor.t r:lake me feel ur:y better
              ~now1~g you are locKed up forever for ~ot.h1nq :m hurt
              b·/ wl-:<lt : d1a c:o yc;1 ;)awg. I wish.::. hud t!;e !":eart to
              ~ell the truth at cccrt, but dgain : was th1:;k:nq
              about ~ysc:f and my family. I know that Li I to:c the
              tn;tl-'., I would not have gotten "!:he deal I got. I was
              scared dawg, as crazy as it sauna I really w~s. I f you
              are not too upset w.:.th me, write me and tell :r.e who
              s~ould I talk to a~d get the truLh ou:. there to he~p
              yo~l. Once again '":'ez :r.-i sorry Da·.-1g. :;:::: you can find i t
              :r. ycur heart to forgive, please do, if not I
              ~1!1de rs t and.


(R.R. 7-BJ.         In a second letter R:gney wrote:

               'ro Tez Dawg Irr. sorry for what I did .)awq. :rt dlsc
               sorry for ly1r,g or. you. T'.'1ose peop:e founci those qlms
               & star:ed throwinq double life at me Cawg und I got
               these kids out there that I was tryna got back to.
               ~hat shit shook ~e up honie. All the shit : done did
               a:: the shit me a~d ny Hoy? par~ed out thcr0 I never
               ·-~1o'Jqh: i:1 a rr:i:.:.:on thc:.ir I wo~1ld beconc tb::.s.'- I:-r: trnr::
                j~st  as well as you. What : did to you r.ur~ me Cawq.
               :m qo:ng do whatever ~t :s :hat I gott.a do :.o Mdke it
               r1gh~ w:th you. Whatever Bro, yo dawg • :1cd to police
               & in co'Jrt beca:1se I was scared dawg, cis cra2y as :_ t
               sound, • rf7a 11 y was. Fowc1er yo:1 :ieed rre : r ~he co:Jrt
               ~m qonric1 he 1 p yo'J da v-Jg.




     According to the Petitioner, "p<lrked" is street slang :or
"kil:ed or murdered".
i           Case 2:20-cv-01389-MSG Document 1 Filed 03/11/20 Page 45 of 97




    :R.R.

                   Yo Tez l:cla help yo~1 get bac:k home Cawq. I i<;:ow I was
                   wrong but yal! was wro~q al~o tor lettinq go down for
                   yall shit knowing a:: the shit and responsibilities I
                   left bet:ind two 7 year olds D<lwg. I know :r.y apology is
                   not exc:cpted hut for w•~at 1 ts worth L.i.wg I:ra do what. I
                   gotta do to get yoJ back in c:ourt. My word D<lwg. Let
                   me know the precedJrcs t~at we must tdKe and Ima help
                   yo~1 o;__;t.



    (R.R.    14). In    c:.l.   fo'..lrth letter, R.:.qn<>y wrote:

                   Tez what's up bro! I know it took ~ea :ittle longer
                   than expicted to get back wit you but ~o keep it short
                   and brief Im rcaay! A:::davit or what ever :t takes to
                   help you and duke. Just let xe know where to start. My
                   people is '..lp here and he knows how to do that law
                   wori<. He knows rr.y s:t1~at1o;i and he's w:lling to help
                   me he:p yall. Write to him and give h:m step by step
                   on how you would like to <lpproach this situation. Send
                   me duke info also Tm lryna get this shit wrapped up
                   for yall. I cant leave yall like that. wr:te to ~e
                   or/and my people we up A:bion. (Brian Young 013506
                   Darryl Rigney LF1056) P.S. I can't take back what
                   happened but : can do what i : takes to help yall get
                   back out.

    (R.R.15).

            Rigney testified           a~   :he PCRA hearir.g that i: was really

    "Block" and "Caray" who had committed it. (N.':'. 4/2"//18 pq. 54,

    59-60).    7   Rigney had p1cKed the           Pc~itioner   ~p   ir. the white

    Cadillac after the crixe had already been cor.unitted. Rig;iey let

    "Block" and "Caray" out so tt:at they co1.dd yet somPt.h::1q from a


         Recan:ation testimo~y such as this car. form the basis of
    after discovered evidence, even thouq!1 the defendant knew
    (because he wds :nnocent) that the w1:~1Pss had been lying at
    tria:. Commonwealth v. Loner, 2003 ?A Super. 393, 836 A.2d
    125(Pa. Super. 2003) (en bane), J.ppeal denied, :i"l8 Pa.699, 852
    A.2d 3ll       (7004).
           Case 2:20-cv-01389-MSG Document 1 Filed 03/11/20 Page 46 of 97




st.Ort'.    ('.'J.T.   4/21118 µq.     106-:88,       ::")-}16:. R:<;ncy then drovP

Pet1t:oner to his aunt's house. ThPy got out Gnd wen:. upstairs.

Riqncy wen:. i:-:to        d   bedroom a:-1d wt:er: "Block" and "Caray" arrived

at they wcr.t upst.iirs to the             bcdroo~       where Rigney ar.d the druqs

were. "Carayff asked "R:ock" d:d                 ~e    'f1r.:sh her' to which "Block"

replied, "guarar.:ee". Pe:. it io:icr was not evPn in the room at the

t1rr.e.

          Prior to the trial, Riqr.ey f:ad to.:d the DA and his attorr.ey

that it was "Block 11           a~d   "Caray" who committed the crime.          (N.T.

4/:/7/J.8 pg. 8:-82). His atto:-ncy however adv.:sed him to :;.lst

:ake the deal otherwise he would get two :ife sentences.

Rigney's self-interest ultimately won out.                       (N.T. 4/27/18 pq. 6C-

61) •

          After the tr:al was over Rigney's conscious however began

to bother h:n. At considerable risk to h:s own penal                        in~erests,


he   ca~e    forward to admit that          ~e    had lied wher. he imp:icated the

Petitior.er in the crime. Petitioner had no reason to believe

before that time that Riqncy wou:d admit his lies, particularly

since he had so much to lose by do:ng so. Not only wou!d he lose

the benef:t cf t1is cooperation              agree~ent,         he could a:so possibly

be charged w1th perjury. Moreover, he was very conscious of the

fact that if other :nmates :earned tl:at he had lied on the

Pet:tio~er         he would be considered by             the~   :..o be a 'rat' and his

li:c could be ir. danger.              (N.T. 412"1!18 pq. Tl).
          Case 2:20-cv-01389-MSG Document 1 Filed 03/11/20 Page 47 of 97ri:tg~                      i Ui 1




Fw: Montez Bethea
DAVID RUDENSTEIN <lasa:lescreamer@msn.com>
Tue 4/24/2018, 3:19 PM
To:mrudenstein@m!.n com <mruden~tein@msn.com>.
 Print this out-for me, only, for Friday




 From: DAVID RUDENSTEIN <lasallescreamer@msn.com>
 Sent: Saturday, August 24, 2013 10:09 AM
 To: philacrimelawyer@aol.com
 Subject: RE: Montez Bethea

 WHAT A PUTZ; WASTED YOUR TIME GETIING THE RECORDS ANDF MINE WITH THE ALIBI NOTICE
 AND TALKING ABOUT IT. Tell him to plead. I willo dictate a letter telling him he has no real defense-
 In going over the ev. whim, I think he realized that. Need to cover ourselves. This guy has a real
 chance of going down.

 > Subject: Montez Bethea
 > From: philacrimelawyer@aol.com
 > Date: Sat, 24 Aug 2013 08;25:30 -0400
 >CC: nmassmsw@aol.com; kh33@dre.xel.edu; dahmir122@verizon.net
 >To: lasallescreamer@msn.com
 >
 >Well the rest of the state parole records came today. They contain the field notes. And they
 disprove alibi. The murder was December 8. Montez was visited the day before on December 7. On
 December 7 he was given a warning not to leave his house under any circumstances. Of course on
 the 8th he was arrested at another location.
 >
 > I guess I'll try to see him tomorrow to give hlm the news and to try to talk him into a bifurcated
 waiver or a plea. But since the co-defendant demanded a jury and Montez wants to go along with his
 buddy we should count on this being a jury trial and going to penalty stage.
 >
 > Nadine, I need your supplemental request now. It can't wait any longer.
 >
 >GS
 >
 >Sent from my iPad




https://outlook.live.comlmail/
                                                                                        PJ~i
                                                                                                4/24/2018
                                                                                                             fI
       Case 2:20-cv-01389-MSG Document 1 Filed 03/11/20 Page 48 of 97




from: DAVID RUDEN5TE:N <lasaliescreamer@rri!>n.com>
Sent: Saturday, August 24, 2013 10:09 AM
To: ph1lacrimelawyer@aol.com
Subject: Rf: Montez Bethea

WHAT A PUTZ; WASTED YOUR TIME GETIING THE RECORDS ANDF MINE WITH THE ALIBI NOTICE
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> Date: Sat, 24 Aug 2013 08:25:30 -0400
> CC: nmassmsw@aol.com; kh33@drexel.edu; dahmirl22@venzon.net
>To: lasallescreamer@msn.com
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waiver or a plea. But since the co-defendant demanded a jury and Montez wants to go along with
his buddy we should count on this being a jury trial and going to penalty stage.
>
>Nadine, I need your supplemental request now. It can't wait any longer.
>
>GS
>
         Case 2:20-cv-01389-MSG Document 1 Filed 03/11/20 Page 49 of 97


                                                                                       07!0311013 02: 1lhW AM
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                                                                                             By A. SCO



DAVID RUDENSTEIN, ESQUIRE                                  Appl · June   2011
Attorney at Law
Attorney I.D. No. 33023
9411 Evans Street
Philadelphia, PA 19115
Email: mrudenstein@msn.com                                    Attorney for Defendant
Tel: (215) 464-7890 Fax: (215) 464-7891
                                         -------~---------
COMMONWEALTH Of PENNSYLVANIA,                              COURT OF COMMON PLEAS
                       Plaintiff                           PHILADELPHIA COUNTY
                                                           CRIMINAL TRIAL DIVISJON
                v.
                                                           CP·Sl-CR-0009460-2011
MONTEZ BETHEA,                                                  PP# 761764
                       Defendant

                                   NOTICE OF ALIBI
         The Defendant1 Montez Bethea, by and through his court appointed attorney, David

Rt.tdenstein, hereby notifies the Commonwealth of Pennsylvania tha~ at time of trial, the

defense may present evidence of alibi and, if so, the following witnesses may be called:

          1.    Denise Page; work address of Girard College, 21$t and COrinthlan Avenues,

Philadelphia, PA. ln sum, the witness Page is the mother of the Defendant Bethea and

has stated that on the   ctav of the incident,   December 8, 2010, she was at home, located

at 21si and Corinthian Avenue, where she works at Girard College as a residential advisor.

She said that the Defendant was with her.            They v1aited for Probation Officer Jose

Rodriquez, who showed up at 12:30 PM and did not leave until 2:00 PM, or even a little

~ater.    A copy of the witness' statementi taken by pnvate investigator, Sharon Williams,

is being forwarded under separate cover,     to the District Attorney's office.
                  Case 2:20-cv-01389-MSG Document 1 Filed 03/11/20 Page 50 of 97
    ..
         •
I




                   2.     Ms. Macedon in Pine; who also gave the address of Girard College, 21st and

             Corinthian Avenue, Philadelphia, PA.     She identified herself as a co-worker of the

             Defendant's mother. While she could not remember the exact date, she did recall seeing

             the Defendant with his mother at the college and remembers it because he offered to help

             take out her trash.
                               /



                                                     Respectfully submitted by:



                                                       s/ David Rudenstein
                                                     DAVID RUDENSTEIN, Esqwre
                                                     Attorney for Defendant Bethea




                                                        2
        Case 2:20-cv-01389-MSG Document 1 Filed 03/11/20 Page 51 of 97




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    DAVID RUDENSTEIN, ESQUIRE                                     Appt. · June 2011

    Attorney at Law
    Attorney I.D. No. 33023
    9411 Evans Street
    Philadelphia, PA 19115
    Email: mrudenstein@msn.com                                Attorney for Defendant
    Tel: (215) 464-7890 Fax: (215) 464-7891
    ~~~~~~~~~~~~~~~~~--~~~~~~~~-


    COMMONWEALTH OF PENNSYLVANIA,                          COURT OF COMMON PLEAS
                  Plaintiff                                PHILADELPHIA COUNTY
                                                           CRIMINAL TRIAL DMSION
                  v.
                                                           CP-51-CR-0009460-2011
    MONTEZ BETHEA,                                              PP#761764
                         Defendant


                               PROOF OF SERVICE
           I hereby certify that I am, this 3rd day of JULY , 2013, serving the
    foregoing document(s} upon the person(s) and in the manner indicated below:

    Service by Electronic Service and/or First Class Mail addressed as foll9ws:

    District Attorney of Philadelphia           (215) 686-8042
    Homicide Unit
    Three South Penn Square
    Comer of Juniper & South Penn Square
    Philadelphia, PA 19107

    Attention:   ADA Richard Sax, Esquire




                                                 s/ David Rudenstein            __
                                              DAVID RUDENSTEIN, Esquire
        Case 2:20-cv-01389-MSG Document 1 Filed 03/11/20 Page 52 of 97

                                                                                    f\l\V /)
                                                                                      ,l'

                            DAVID S. RUDENSTEIN
                               Attorney at Law
                             Phone; ZlS-464-7890  ~· Fax:! 215-464·7891
                                         Member P.& & NJ Bar

INMATE/CERTIFIED MAIL TQJ                                                ALL OTHER MAlL TO:
Blue Grus Plaza                                                          9411 £rans Stre•t
2411 Welsh Ro.ad, Box# 501                                               Pbil.adelpbia., PA J9115
Philadelphia, PA    19114
                                                  July 3. 2013
Mr Montez Bethea
PPN 761764
PICC
8301 State Road
Philadelphia. PA     19136


Dear Mr. Bethe.a:

ln the past week. I have spoken to Mr. Sener, spoken to Ms. Williams and haw again reviewed
Sharon's \'w'1tness statements on the alibi. I do not believe that the alibi is strong~ however, I have filed
a Notice of Alibi on your behalf. We wiU have to make a further decision at time of trial as to whether
you wish to use the alibi. It is my professional opinion that the use of an alibi that the jury might not
believe can be extremely dangerous for a defendant as the jtuy could figure that you are attempting to
lie __to them <?r_ putting up ~~~eone who is lying. Mq~tailti.at.~-~­
t~i~-1brob\tious~UI' However, this is something that we can
further discuss. Gary, in an effort to help me. will get a Court Order from Judge Bronson for the
probation oflicer·s rei:ords.

I am taking a few days off until after July 8 but I am going to mark my calendar and plan to visit with
you at some point between July 12 and July 20. I will set aside an extensive period of time where we
\.Vill review the case from A to Z and begm to make final preparations for the trial that will begin in
September. If you have any questions or concerns. please put tht!m down on paper and. when I call
you out at the prison visit. please bring it with you. Again. I will attempt to answ~r everything on my
next prison visit Thank you.

Very truly yours,


David Rudenstein
DSIVmer

cc:    Gary !:'. Server, Esquire


                                                                                                   EXHIBIT

                                                                                Kr<b l . . .?3
Case 2:20-cv-01389-MSG Document 1 Filed 03/11/20 Page 53 of 97
                                    Case 2:20-cv-01389-MSG Document 1 Filed 03/11/20 Page 54 of 97
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                f Form OC-135A -                                                                                              Commonwealth        of Pennsylvania
                I                 lNMATe•s REQUEST To STAFF MEMBER
                                                                                                                                   Department of Corrections
                I                                                                                                                  INSTRUCTIONS
                                    ~~R!          '$(~(("'                                                     Complete ltel'R$ number 1..S. lf you follow instructions in
                                                                                                               preparing your request. It can be responded to more
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                                                               ·--------··
                            1. To: (Name and Trtle of Officer)                                                 2. Date:

                            3.    By~   (Print Inmate Name and Number)                                             4. Counselor's Name

                                                                                                                    ---------                                          ..,..__
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                16. W:::~~SIJ-.e ·--~~                                                                  -;7.  ; 5. Umt Manager's Name


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    Case 2:20-cv-01389-MSG Document 1 Filed 03/11/20 Page 55 of 97
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                                                                                        JUL 1 2017
    COMMONWEALTH OF PENNSYLVANIA                         )                                PCAA Unit
    COUNTY OF ERIE                                       )                            CP Criminal UdnOS

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      Case 2:20-cv-01389-MSG Document 1 Filed 03/11/20 Page 56 of 97

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! Form DC-135A                                                                Commonwealth of Pennsyfvama
                                                                                Department of CorrectiOns
           INMATE'S REQUEST TO STAFF MEMBER
                                                                                       INSTRUCTIONS
                                                    . Complete items number 1-8. If you follow lns1n.lctions ITT
                                                    ; prepanng your request. rt can be responded to more
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                Case 2:20-cv-01389-MSG Document 1 Filed 03/11/20 Page 60 of 97




 : Form OC-135A
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                                                                                        Commonwealth of Pennsylvania
                                                                                          Department of Corrections
             INMATE'S REQUEST TO STAFF MEMBER
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           12/7/2010 '09'.15.06 1 ,.      !~Coll                                21~1700          Amwe«ld                                   2158881•34 PlliadelnlWll            3   486               3    ~
            12/7'2010 10:12 44 0.02       lncorn1no C1W 18' 21!!52f)1'798       21552e17~        Mtwered             cau FWD • No R.oly    2673-0~3~1 Phlladt!Dhla             3   ~                 3    ~
            1217/2010 10 57'7 0.5S        ~c111u                 2679713604 U79713604            ~                                                    Phlst!altll'lla          3   400               3    ~
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            121712010 11,27:5'4 0.17      n."""""' Call          21 !5888113( 2158881134         Answefed                                             Ph Alie!• nll            1   4Q2               1    492
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            12/7f.2010 1'·30:50 0;05      lncom!rio c.11 76121552617i8 21552tl17QB               An-.d               Gil FWD • No RM!v     2154001381 p                        1   492               1    492
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           12/712010 12. 1125 052         lricorrung C.ll                       115526'™         Answ91'9d                                 215$6.8113( Phbdl!l)tlfa           3    ~                 15   -486
           12/712010 12·4257 0.2(!        tnco~aCall                            2156~'795        Mtwertd                                   2fl7Q713e04 Ph!lade nit             1   492               1    492
           1211no10 12:47:02 540          lncorl'ino cae                        2.1156261708     ~                   None                  26733~317 Pflff•• •        nil     3    41'1fl            3    4ae
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           121712010 13()e 30 0:50        l'lC()(T'lrc C1ll                     215~1798         Answerad                                  2152071~ F'h!lAI• lrlllUI          3    48(1              3    486
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           12/7!2010 f3 1242 005          lncQroinc C111 1&121552B179a 211'52617l!e              An~                 C!!ll FWD ·No ~olv    267Q713004 Phi llWfl nla           1    492               1    492
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           12/1/2010   15 52 50 0:00      OuWllM Cil             26758&4100 2675384100           Not Alilwtred                                          Ph    .., •"I'll•     2    "~                2    493
           12/712010   1M341l 022         OtJtooina CaM          :zer.rom1u 28730793Q1           MIMred                                                   ~

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              12/712010 H:~:.40             1:24                                                                                    .tvww.19d                                                                              6    467
              1217/2010 1Hg:15              o·oe               lntwTI Ina          c.a      re121562e1~a 21M281Ne                   AntWtred           Clift f\W • No Qaftlv   215003312 Pt                                1    .tea               1     4ei
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                                                         Case 2:20-cv-01389-MSG Document 1 Filed 03/11/20 Page 66 of 97

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         12/8/2010 22.44.17 C.06             l'lcomlna c1n 761216526179a 2155215179fl          AnlW'el'9d      Cllll FWD • No Rf!l rv 21~1 Phiidii "'hi.I
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              First Judicial District of Pennsylvania

                            5JCR0009462201 l
                              Darryl Rigney




                          Guilty Plea Volume 1
                              May20. 2013




                   First Judicial District ofPennsylvania
                   100 South Broad Street, Second Floor
                          Philadelphia, PA 19110
                   (215) 683-8000 FAX:(215) 683-8005




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Darryl Rigney                                                                                                                          May 20, 2013
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r11             IN THE COURT OF COMMON PLEAS                              111 APPEARANCES:
121         f-IRST JUDICIAL DISTRICT OF PENNSYLVANIA                      121 RICHARD SAX, ESQUIRE
13J              CRIMINAL TRIAL DIVISION                                       Assistant Distnct Attorney
l•t'                                                                      Pl for the Commonwealth
:t-i COMMONWEAL TH                 . CP-51-CR-0009462-2011                14]
                                                                                 JOSEPH SANTAGUIDA. ESQUIRE
[6]          vs                                                           f5J     Attorney for Defendant
                                                                          [6)
[7;       DARRYL RIGNEY                                                   [7}
[SJ                                                                      . 181
191                                                                        [9]
[10]                   May20, 2013                                        [10]
[•1)                                                                      [111
il?l                                                                      (12]
11 3J              Room 507 Cnminal Justice Center                        {13)
114:                Philadelphia, Pennsylvania                            [14]
p 5;                   Guilty Plea                                        [15l
I' 6~                                                                    ,!161
i· •:                                                                     [17]
11eJ BEFORE: THE HONORABLE M. TERESA SARMINA, J                           [16]
1:9]                                                                      [19l
:201                                                                      fWJ
[21]                                                                     ·[Zl]
122]                                                                      [12]
rn:                                                                      ~fC!l
'.24!                                                                    :(24)
125]                                                                      [25]
                Megan Soule, RMR, CRR (215) 68~29                                       Megan Soule. RMR. CRR (215) 683-8029




                                                             ~.a,
 il J                                                           .: ·:·.:.: 111           THE COURT· So what is the offer'?
                     INDEX
Ill                                                                      : j2J       We'ft: sw:i:tthlns gears now 10 Mr. Rigney.
f31 COMMONWEALTH'S EVIDENCE                      DR CRfioR RCR~··'.     ·, 13J 1i'        Mlf.,&AX: Two counts of third-degree
141 (None presented.)
 {5]                                                                       [4]       murder We would waive the automatic life
       DEFENDANT'S EVIDENCE                                              . (5}       sentence. Two counts of robbery and one count
 '61
       (None presented.)                                                   (6)       of conspiracy.
                                                                           17]            THE COURT· And he has to testtfy
                    EXHIBITS                                               !SJ       against the C(>-defendants?
 19)                                                                       [9)          MR. SAX. And he has to ~st1fy against
.101NO.           DESCRIPTION          !DENT. EVID                                   Montez Bethea
[11]
                                                                          ['OJ
        (None marlted at this time )                                      1111           THE COURT When were you gomg to tell
;12]                                                                                 me that?
                                                                          j12J
 131
l'4J                                                                      (13)            MR. SAX Well, I'm not even teHmg
1'5]                                                                      114)       you that, Your Honor, ooul he tells us lhal.
1•-01
I' 'I                                                                     {15)       1 mean. tba(s always been a poss1b1hty.
1"81                                                                      !16]            THE COURT WeJI, I kmd of feel hke
['9'
,zQ1                                                                      [17]       why is this bemg done on the day we're p1ckmg
12 1 1                                                                    [1BJ       lhe Jury?
!.'.>2)
                                                                          [19)            MR. SAX. h's not my chcnL Okay
1131
[24!                                                                      (20l             MR. SANT AGUIDA Judge, he never
1:?6!                                                                     1211       suggested that he was gomg to cooperate,
               Megan Soule, RMR, CRR (215) 683-8029
                                                                         '1n1        never, tmtJl Saturday or Fnday, whenever I
                                                                          [231       went up there.
                                                                          [24)            THE COURT And what happened then?
                                                                          125]             MR. SANTA.GUIDA The first thmg when I
                                                                                       Megan Soule, RMR, CRR (215) 6&3-8029

Mecan Soule, O.C.R                                           Court Reporting System                                                    1 {page 1 - 4)
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~·rryl~~g_ne~y~~~~~~~~~~~~~~~~~~~~~~~~~·
                                                           Page5                                                                       Page6
        went 10 see tum, he said, they make an offer?                [1J      safe house and the cops ;ust happened w see
f~l     They !l'Ulke an offer'> I !>lltd yeah. I don'1               fll      them and arrested them there
;3;     tlnnk you're gomg to be roo happy with 1t I                  !Ji            MR. SAX. It wasn't so safe.
;4:     said 20-to-40. He said, you know, I'll                       !41            MR. SANT AGUIDA Right
(SJ     coopentte. I said you never said that Oh,                    f5J            MR SAX Your Honor, can I hand the
li:il   yeah. Oh, yeah Ohy So that was the first                     !61      Cow1 his statement'?
fl!     I knew about 1t                                              F1             THE COURT: You can let whoever the
[!l!          THE COURT: All nght Well, we're                        rs1      ot1icers are that are out there Just trying to
(9:     going to do a full colloquy, because 1fhe ends                ['l]    come m know th11t they're free to come m now
[10J     up decidmg not to testify, he's still gomg to               Wl              MR. SAX Thank you. And I don't
(11J     gel the two thirds and whatever else. I don't               I~ ·1]    really disagree with Mr Santagwda's
P2J      know what And maybe he's going to have to                   1121      ree1tauon. The mterpn:tation of what he S&)S
P3l      allocute h~ about what 1t is that he's going                [' 3J     to the detecuves 1s quite d1ffcrent from our
!141     lo be tesllfymg to.                                         {14!      p=pert1ve, should we have &one to trial
115]           MR. SANTAGUSOA: Sure He gave a                        [151      But. yes
fl 6)    statement. The statement he gave he wd they                 (16J            THE COURT So what is 1t that he's
[HJ      went ro buy marijuana, three guy:.. He was I.he             p 7]      gomg to be testtfymg to itgamst the other
1181     dnver They went inside. He si.ud he didn't                  f18J      two?
{191     bear any shots, but when they came out they                ·[HJ]           MR. SAX To everything that he said m
!Wl      came out with a big dufik bag so he knew they               [20)     his statement plus, if this is to go down, then
!:?1)    didn't go buy two ounces because they came out              1111     he would ~ve to admit that he knew It wa.'i
1271     with a big duffle bag. They jumped m the car                t221     gomg to bC 11 robbery ahead of ome. I'm not
[231     and they Hid go, go, go, go, go So he WCOt                  (ZJJ     having him plead guilty or agreeing that he
[24)     to, like, a safe house                                      1,24}    should plead gmlty to a robbery and a
(21)]          They all got out. They went instde lhc                (25}     con~ and the resultant murdm that
           Megan Soule, RMR, CRR (215)-6&3-$.z~·;,:                             Megan Soule. RMR. CRR (215) 683-8029
                                                                                      ..   ~... .of   -:



                                                                                                                                       Pages
 f11    occurred wiless be concedes and admits that ho              'liJ      a 5landard proffer letter and also a Memorandum
 f21    knew it was going to be a robbery.   "                        l2J     of ~reefiieslt detailing some of the things that
 Pl           THE. COURT That what'>                                  [3}     we menti9fled. And so one of the thing:. that
 [4)          MR. SAX: That he knew 1t was going ro                   !4J     sometunes happens 1s pursuant w tho proffer
 [5)    bo a robbery He waned around afterwards. He                   ff>)    letter there would be a statement taken. Now
 [61    drove them afterwards. He waited for his cut.                 [6]     lhis statement again is 98 percent of what we
 171         MR. SANTAGUIOA: 1 don't thmk he'&                        [7]     beheve the truth is.
 f81    gomg to say that.                                           . 181           THE COURT· Which may or may not be the
 (9i          MR. SAX: Well, then he can't plead                      191     actual troth, but whatever.
f101     guilty Why would he plead guilty if he's not                1101            MR. SAX. Most ltkely what I would have
f11 l    adn11ttmg that he was involved m the robbery?               p 1)      sought at this tune, if he entct'll into a gwlty
[12J     But the thing is that he woold have to say                  (12]      plea, or 1f that's his mtention. ls to have
f 13]    that, or else I don't find him to be credible                11 3]    him - 1f true - adopt lhc statement and then
{14]     and I would have a hard time presenting him as              (14]      be asked 11 quesllon or two in addition. ls
{15)     a witness in the two shooters' cases if he's                [1 f>l    !here anytlung you want to change and/or
(16]     not credible. So let me hand this up to the                 {16)      correct? And tf tt's true that he knew at was
1111     Court, to Mr. Brechemm.                                     p 71      going to be a robbery, u all mdicat1ons are,
1181           THE COURT All right. So it sounds                     p Bi      thw that would bc the addition or the
;191     like we rmght be p1clung a JUfY after all                   (19]      amendment
[201           MR. SANTAGUIDA. 1 ofl'Cred to waive                   [201          I think that 1t might not be necessary
f21l     TI1ey said no                                               ;21 J     m tenns of economics of tlillc lf we do
f:??l         MR. SAX. May I address the Court?                      1n1       exactly what the Court had suggested, which
12-'l         THE COURT· You may.                                    f2JJ      pcrliaps ma very complete and full colloquy
124)          MR. SAX· On just the issues we were                     1241     include under oath that aspect of the amendment
[25]     talking about, so I prepared a proffer letter.              [251      to his statement, which can be done by Mr.
           Megan Soule, RMR, CRR (215) 68J-S029                                  Me~           Soule, RMR, CRR (215) 683-8029

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                                                                  Page9                                                                       Pege 10
[1]        Santagu1da, the Court, Your Honor, or myself,                         11]     Monday m September, l beheve
m          probably best after haVlng Mr Santaguida                              [2]         THE COURT. So Mr. Rigney - did you
{3]        discuss this Wlth hun at some pomt. So that                           (3/     want to talk to him m the booth, Mr
[4)        would eliminate the necelSS1ty, perhaps, of any                       f4]     Santaguida?
[SJ        delay this mommg taking him over somewhere or                         [f,]         MR. SANTAGUIDA. I can talk to hlm
161        having him do a second statement, 1f he's going                       !6i     here
[7]        to under oath adopt that                                              [71             MR. SAX· Second Monday, September 9lh.
[8)              THE COURT. If you're having bun                                 [6]          MR. SANT AGUIDA Judge, he's never
[9}        testify agamst the other two guys. why does he                        [9)     gomg I.{) say that he knew they were going to
(101        have to admit that. if they're the one& that                        [•OJ     rob the person, .so let's ptd: 11 Jury
[111        went m anrl chd whatever they did? I assume                         [11)          THE COURT Okay
f'.2]       they took this stuff and killed two people                          l'<'l         MR. SANTAGUIDA. He would be lying to
[13]        there, is that what it was?                                         (13]     say that.
[14]              MR. SAX: Yes. Brutal!;. Why would I                            114]         THE COURT. Well, I still want to do a
'151        want anyone to plead guilty tfthey weren't                          [1!i]    colloquy -
[16J        guilty of a robbery and a conspiracy?                               (16!          MR. SANTAGUIOA: Cerumly
[17]              THE COURT. Okay. Let's haveh1m out                            (11)         THE COURT: - so that later there's no
[18]              (The defendant enters the courtroom at                        (~8]     questions about that
'.19]       thts ume)                                                           {'DI          And what was offered. as I understand
f20]              THE COURT And the offer was for                               {20}     11 --could he be sworn m, please?
[21]        20..to-40 to two counts of third, waiving                            (21]           THE COURT CRIER. Yes, Your Honor
1221        mandatory hfo, and two counts of robbery.                           :('22J          Sir, state ypur full name, spell your
i23J              MR. SAX. And con!plillC)' The trial,_                          (23}    last tllW\C fQr .tbe record.
(24]        Your Honor, 1s hsted m September before .fudse                      !2.4]        "c.;THS:WENDANT. Darryl Rigney,
            Bronson. I think that's Scptembct tbCJ •• ~;·                                R,1-G·N-E-Y.
                                                                      ..
[25]                                                                             [25}
                                                                           "
              Megan Soule, RMR. CRR (215)-~-so1l·.                                -        Megan Soul~1™R. CRR (215) 683-8029
                                                                  .   ····-·-
                                                                  Page 11
                                                                                ."--                ~   ~   '!1"-· .                           Page 12
 [1]                                                                            '. 111   first.degree murder «nd second-degree murder
 !21               DARRYL RIGNEY. after havtng ~duly                            'f21     c:itt'j a ~atory life sentence, and for
 [3)             swo~  was cxammed and testified u                                [31    teeOnd..d~ murder ••
 (41             follows.                                                         14]       MR. SANTAGUIDA:            There's no first
 f5l                THE COURT Good morning. Mr. Rigney.                           [5]    First was quashed.
 {6)           We're here to pick the JU!Y for your case, and                    {6l             THE COURT: It was?
 1'1           before we start jury selecnon I guess I'm                          (7]            MR. SAX. Only for mm, yes
 !BJ           gomg lo conduct a colloquy, a discussion with                      IS]            THE COURT Only for you
 ]9'.          you about the offer that was made. And that                        [9]            MR. SAX: By concession
11 Ol           was an offer of 20-to-40 years mcarceration                      (101            THE COURT Thank you for that
t 11:           and !he D1stnct Attorney':-. Office would waive                  (11J    clllnficatton.
;1?l           the mandatory life senteme                                        f1ZJ           So you're facmg •• nght now, for
[131                If you're found guilty of even two                           1731    trial, you're facmg second-degree murder,
[14!           counts oftlurd-degree murder, then 1t 1s a                        (14]    third-degree murder, l guesi;, and the robbery
[15;           mandatory life sentence, two counts of robbery                    [15]    charges, et cetern. And so the D1stncl
!Hl]           and one count of crurunal conspiracy, and that                    {16J    Attorney's Office is \Hlhng to offor you the
{1   t!        you would ha"e to testify agamst the other two                    r· 7J   20-to-40 for two counts of third-degree murdet
[18)           md1v1duals. Monta lllld Rashon. Am I correct                      11 8)   under the c1rcumsrances I've already descnbed.
{19]           on those names?                                                   (19]    ool I guess then point ts that - or their
1201                MR. SAX: You are. Montez Bethea,                             [20]    perspective is that you knew 1t was going to be
f21J           Rashon James And we would also not be                            ·1211    a robbery And so they're not willing to have
f22l           proceedmg on second-degree murder, which this                     [22)    you go 3nd testify against the other two guys
12~1           CltSe very much 1s from our perspective                           (231    if you didn't know 1t was gomg to be a
i2<1J              THE COURT: And the secood-degree                              [24j    robbery. And iO do you understand what the
[25]           murder that Mr Sax Just mentioned, both                           (25]    offer is?
                Megan Soule, RMR, CRR (215) 683-8029                                        Megan Soule, RMR. CRR (215) 683-8029
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                                                                Page 13                                                                    Page 14
Pl                 THE DEFENDANT Yes, I do                                Pl             MR. SAX So what wc"ll be argumg to
12]                THE COURT And so you're saying --                      [2;       the Jury m trnns of the circumstances of what
:3J           you've said to your attorney iUld you're saying              p;       happcne<l beforehand, they switched cars. they
14]           to the Court that you did not know that 11 was              l"l       he had a · - they pulled up in a purple Mercury.
I'll          gomg to be a robbery?                                       !5!       I thml. and they switched into a white
!&1                 THE DEFENDANT Yes, I said that.                        [61      Cadillac and he stayed around for all the
f71                 THE COURT: And so what you're saying                   (1)      proceeds bcmg divvied up And S-O all these
[SJ           1s that -- and I haven't gotten through the                  181      things would be our argument relative to why he
[9]           entire statement, which Mr Sax handed up a                   (91      knew that it was more than a couple of ounces
[101          couple of minutes 11go - you thought you were               POI       of weed being purchased m a fnendly kind of
11·1          doing what?                                                 (11]      situation
112:                THE DEFENDANT Just t.k.mg my fnends                   [12)            I understand 1fMr Rigney doesn't want
[13]          to go buy some mar11wan1. two ounces of                     P'.ll     to concede that. That's why we have JUry
[ 1-1]        manJuana.                                                   (14]      trials And I'm sure he's thought about all
p5]               THE COURT Yes. go ahead.                                {15j      that But stnce the Coun was having a httle
f161              MR. SAX: Certainly I don't mind                         [161      bit of a colloquy with the defendant, l offered
117]          playmg my hand, so to speak. to Mr.                         i17]      that perspecbve And. of course, the
;1a1          S:mtaKUida. but if the Court wanted to-·                    {18}      switchmg of the cars was before they wrnt to
[•9]                THE COURT· Mr. Santa.guida, arc you                   [19]      the scene
[20]          listening? I lcnaw you can't listen to both                 [20}            THE COURT I did get that far
1211          peISOM. Maybe you're better ttmn me. I Cftil:\              [21J            Anyt}ung else, Mr. Santagutda"'
rn;           (}Sten to two people at one time. l'm sure                  J22l           MR. SANTAGUIDA No The 51gnificancc
123~          you're better than me.                                       j2Jj      ofswitc.hing cars, I mean, what's the
124]                MR. SANTAGUIOA: No, l'm not. ~                        '1241      difference7 If you're usmg a blue car or a
[25]          11he.d.                                                      l2Si     red car, what's the dJfference? It's not hke
                Megan Soule. RMR, CRR (215) 683-8029                                  Meg&!'l S~lc-,:1™R, CRR (215) 683-8029
                                                                Page 15                                                                    Page 18
 [•J          they switched ca.rs after the mc1denc and                   , {1]     Santaguida probably shared this with the
 (2]          somebody made an identtficailon of blue so-·                · [2)     defendant .We just this Saturday TC(.-eivcd
 [31          let's switch to a red car This is before tM                 . (3)     ~i~11Dient. Actually, 1t has an address
 (4]          incident even happened. so what's the                        [41      on there so just for purposes of -
 151          dtffcrcnce if they u.y the person that did this              !5J           THE COURT. This is astatement from
 (6]          ~ that 1s drivmg a red car, m if lhey were                   f6J      whom'?
 [7J          dnvmg a blue car? What difference does it                    171           MR. SAX. From someone who shami
 [8]          make? They're all hung up on the switching of                [a]      accommodations with Mr. Rigney m the last two
 191          the cars 1 see no significance of that at                     19)     years where Ix: lldm1ts to being the lookout.
1101           all. Butan right                                            11 OJ     I'm just going to hand bun the entire statement
11 1 !               MR. SAX. There is a big Stgniftcancc.                1111       except for the lop. and I'll give him the
! 1:?J         I will save that for my closing argumc:nt                   p2:       original, but3ust for now
f13J                MR. SA.NTAGUIDA.. Okay                                 !l~i           THE COURT. Okay Did you want to
[14]                MR. SAX. Especially as it relates to                   [141      revtew that with your client in the booth'
[15]           Mr Rigney.                                                  (1!)j            MR. SANTAGUIDA I can do 1t here
f16J                 THE COURT Do you have cell phone                      [t6]            THE COURT Ok.ay Whatever you want
ft 7!          information that you're g0tng lo be using in                11 r1           Why do we hnve ten police W1tnesses
I' BJ          the 1nal, Mr. Sax?                                          (18]      here on a day that we're merely picking the
!191                 MR. SAX: Yes.                                         [19]      jury'l
1201                 MR. SANTA.GUIDA: l don't know why. We                 [20]           MR. SAX. Well, Your Honoc, a whole
f2t)           agree to everything. We agree that be was                   {21]      bunch of reasons. one of wh1•h t!> when we're
!221           there We agree he drove here. We agree be                   [E2J      actually presenbng the case lo the Jury. I
1?31           drove to the, quote, safe house So let them                 !'.lJJ    don't have the time O'r opportunity to prepare
(241           use it.                                                      (24}     them for their testimony And although it's
125]                 MR. SAX: We also - and I know Mr.                    . [25)     straight f01Ward m its facts, the presentation
                 Megan Soule, RMR, CRR (215) 683-8029                                  Megll.ll Soule. RMR. CRR (215) 683·8029

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                                                                Page 17                                                                 Page 18
p]       can be difficult. And es~1ally when lhC' 1.afo                    {1:      1t. you're going to be stuck with that. You
(21      house that the defendant .drove his two                           121      can't come back later and say, well, he told me
(3]      co -<:onspirators to was anythmg but • safe                       131      to answer that way, because nobody 1s going to
14]      house with an you-k.now-what breaking loose.                      (41      buy 1l I'm the judge. This ts an open
!51      It's 1mponant for me to nuke sure that                            f5l      courtroom and this 1s the one tune that iI
!6)      everyone 1s ready to ksUfy clearly and                            !&l      you're gomg to tell the truth, 1l better be
[7]      acctmltely lo all the facts. So I needed that                     ITJ      it. because 1f there's any understanding. 1f
(8]      opportunity to discuss that with them, give                       [81      there's any pronuses, 1fthere's any threats.
[9J      them the notes of tesumony from the prehm                         f91      this 1s the only llme you get to let someone
(1 OJ     All that kind of stuff                                          [10]       know Do vou undentand that?
!, · 1         THE COURT Let me address 1nQther                           p11             THE DEFENDANT· Yes
(12!     matter briefly.                                                  ['21             THE COURT If I say sometlnng you
(13]          (The court heard another matter at                          j13j       don't understand,JUSl ask and l can exphim 1t
(14]       this llmc.)                                                    {14]       a different way. I'm happy to do that
{15]          THE COURT· Mr Riglley, whatever you                         ['6)             THE DEFENDANT: All right
j16]     uy hen: m open court when you are under oath,                    (16}             THE COURT: And so you were arrested on
[HJ      you are bound by the answers that you gwe me,                    {171       December the 9th of 20 l O?
[18]     which means that you arc stuck with those                        [18]            THE DEFENDANT: December 8th
(19]     answers for the rest of your life.   l}Q   you                   :119J           THE COURT December 8th. And so there
[201      understand that?                                                [20}      1s a !'.tatement taken from you the next day. the
[21)           THE DEFENDANT: Yes                                         [21)      next afternoon:?
(22)           THE COURT. And so I don't want you.,.:-                    I~.            THE DEFENDANT. Yes
1231     answering something m a pa.ttn:ulu way~                          [231          "THE ~®RT· Okay. And what you told
1.241    Mr. Santaguida &old you to say tt or anybody                     124!      the <letectiv.cfi. was that the truth'/
[251     cl:1e told you to say it. because 1fyou <lo faY.~ ::             (45]           TIIE DEFENDANT. Yes.
            Megan SouJe, RMR, CRR (215}68)-&0f~,                                      Megan~     RMR, CRR (21S}683-8029
                                               L~
                                                                                              .. ;;-__t   • •.                          Page 20
 [1J            THE COURT: So if you're not saying                         r1 I     the evidence is there The prosceutor lS aoing
 121     that it was &<>ing to be a robbery. but you're                   '. en     to ngue that this was a murdet"/robbery ••
 J3J     saying that this is what you said to the                         . [3J     felony m~. second-degree murder.
 (4]     detectives. are you willing to testify to that                     f4J     Second-degrCc murder camcs a mandatory life
 151     in front of a jury - which I think. would take                     151     sentenu. I don't know if che jury is gomg to
 [t>J    place m September - where R~hon and Montez                       · 161     find you guilty. I don't know tfthey're goang
 171     would be SJtting when: you're 1ittin& right now                    £71     to find you not auilty. You don't know that
 {Bl     and you would be testifying up here? Arc you                       (BJ     e11her. You've seen the d1JCovety with your
 [9]     prepared to do that?                                              [9]      attorney, all the nmenals that were: turned
1101             THE DEFENDANT: Y~.                                        ( 1OJ     over by the police, and you've discussed it
1111             THE COURT. All ngbt. And so then                          (11 J     with your attorney; is that correct?
112;      you're: willing to plead gwlty? You don't have                  1121           THE DEFENDANT. Yes.
[13}      to, Mr Rtgnc:y. l want you to know it's not an                  !DJ             THE COURT. And so you have to 1ry to
1141      easy decision. I do understand that. I've                        (14)     make the declSlon that you think you can live
115;      never been in your £eat, but l wtderstand thnt                   [15!     with So 1fyou want to go to tnal, wc11 iO
•16]      it's a very difficult decision to make J                         [ 1 bl   to trial. And if the Jury finds you guilty of
f 111     don't care wtuch way you decide If you want a                    [' 7]    second-degree murder, l will have no chom~ but
11 SJ     J\11)' trial, we have 60 people m another room                   (18]     co sentence you to a mandatory life sentence,
[lfil     waiting to be brought over. We have their                       !19J      beGause that's what the lcgislnture has set
1201      paperwork here. We're ready Lo hand It out to                    f20J     forth And if you want to go to trial, that's
!21)      the attorneys so that you guys CM begm                          · f21J    your absolute nght to do and we will proceed
[22~      p1ckmg the Jury that w1U decide the case                         [221     With the tnal h's your deciston
(23)           You know what you're facmg. What                           [nJ             There are three. sometimes four
[24]      you're filclll&, 1f you're found guilty -- and                  [24]      dec1swns that are f()( yoo, the accused. to
[251      I'm not saying you will be. I don't know But                    !?51      make Your attorney does not get to make those
            Megan Soule, RMR. CRR (215) 683-8029                                      Meg21l Soule, RMR, CRR (215) 683-8029

Megan Soule, O.C.R                                              Court R9P(>rtlng System                                             5(page17 -20)
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Darryl Ri~ey                                                                                                                                 May 20, 2013
                                                                   Page 21                                                                       Page 22
[, J          decis1oru The first one ts lhe one we're                           pl        only you do
[2]           tallung about nght now, whether you wish to                        l?l              The second decmon that ts for you
{SJ           plead gutlty or go to trial. When 1 say wish,                      [Jl       alone to mile is whether you wish to have a
!41           n's not hkc l tlunk thafs what you're                              [4;       JUdge only trial or a tnal with a Jury If
!5]           w1Shmg for, but whether you're making the                          (ol       it's a 3udgc only trial, the Judge decides the
!61           chmcc to plead gwlty or go to tnal. And                            f6J       fact~ and the law and that's the end of rt If
rl            that's your absolute nght. You don't have an                       Pl        ifs a JUI)' tnal, the JUdgc stt II decides the
[6]           absolute ngbt to plead guilty, okay, unless                        1s1       law, but the jury decides the facts. They
{91           you're pleadmg to the most senous charges                          (9)       decide who do they belit:Ve, how important the
(101           that there are Obviously, you're not doing                        (10)      testtmony ts, who they don't bclteve. what a.re
1•·1           that                                                              p 11      the facts of what happened m the ca~e And
1121                 So there's been an offer made, and if                       [12)      the jury would have to be unanunous before
[ 1 31         you dc:ode to accept it, then you have -- 1f I                    [13l      there could be a verdict of guilty or a vcrchct
1141           dtd not wish to accept 1t, then we would go                       {141       of not guilty Before there could be any kind
ft SJ          ahead !l1ld go to tnal All right?                                 ft5]       ofa verdict, lhc ;ury, all 12, would have to
!161                THE DEFENDANT. Yes.                                          (H>]       agree.
p 7J                 THE COURT You do have an absolute                           (17J             MR. SANTAGUtDA. Judge, before you iO
PSI            right to have a trial m this cosc, and at that                    {16;       any further, I JUs1 wanted you to know his
1191           tnal you would be presumed innocent of the                        f19J       statement 1s in front of h.tm so he can review
1201           charges that were filed 11gamst you and 1t                        [2QJ       it and make a decision
[21)           would be the pr-osecutor's JOb, 1-.·lr Sax m this             ·1211                THE COURT· Thank you
122}           case, to prove your guilt beyond a reasonable                     122}             The last dcc~ion that 1s for you alone
[23}           doubt. And so that's the first decision that                      1231       to tnake, repdlcr.s of what kmd of tnal you
{24J           ts for you alone to make. Like I satd. yoW'                       {24)       ha~ Ui ~r you wish to testify or you
[251           attorney docs not get to make that deoeision;~' '             1{25}          wish not to testifr m the case. And then the
                                                                             ~

                Megan Soule, RMR. CRR (215).,83-80'.2.~,
                                                                                 "   <o


                                                                                             Meg~~lWR. CRR (215) 683-8029

                                                                                                                                                  Page 24
 (11          last decision i3 if you're found a;uilty,                      '!11          questJCIJS for mi; nght now?
 fZJ          whether you wish to take an appeal or not.                     ·121               Tt-lE Q..EFENDANT. No.
 !3!                So those are the three or sometimes                              [3)     "' TH'E@\JRT: So do you want to read bade
 f4J          fow dec1S1on1 that arc for you 11lone to make,                         (4)   through youi;tatcment of what you said to the
 [5]          and that's plb1ly bec:wse you have to hve with                         (5]   detective'! Do you want me to read 1t to you?
 161          the consequences of them. Nobody wmts to                               [6]           THE DEFENDANT: I basicaUy know what 1
 !7J          say- have your auomey say, no, don't                                   [7]   s~ud.
 !8J          testify, I'm not letting you testify And then                          [8]         THE COURT: Okay. So I'm not i>aymg
 {9)          you say, oh, I should have testified, I should                         (9}   that it's easy to testify against people that
(10]          have testJflcd, 1fthe Jury finds you guilty.                       )10!       you know. I'm not suggestin& that
[111          Okay                                                               [11)             MR. SANT.AGUIDA· I don't thmk. he has a
[12)               Of course. 1f the jury finds you not                          1121       problem with that
[131          guilty, then whatever dcclSlon you make, you're                    f13)             THE COURT· Well, then what's he bavmg
f14)          thmkmg you're all happy with it.                                   (14)       11 problem with"

[15]                But those four dec1s1ons are for you                         1151             MR. SANTAGUIDA: He would like to talk
[IS!          alone to make, obviously with the advice of                        116]       lt over wtth his fatnily.
!17]          your auorney, who 1s extremely experienced and                     1171             THE COURT: You can do that I lhmk
1181          knowlodgeable and whose advice you should take                     (18]       we'll probably need a shon from Miss Corbett
[19J           mto account. But ultunately you have to Imlke                     (19!       next door so that the shenff can 11llow them IO
1201          &he deci~ion. Do you understand all of that"                       [20l       speak to him in the booth. If you would put
f21J               THE DEFEND.ANT. Yes                                           1211       him m the booth. As soon as we sign
1221                THE COURT. Js there anythmg I've said                        [22!       scmcthmg, Mr. Rigney, for the sheriff to be
123]           that you don't understand?                                        [23]       allowed to let your f!Uil1ly m. Usually the
(24)               THE DEFENDANT: No                                             [24]       attorney JS pemuttcd to meet with you, but fOf
12!>!              THE COURT Oby Do you have any                                 [25)       the fanuly to be allowed to dl.SCuss it with
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Darryl Rlgn~y                                                                                                                          May 20, 2013
                                                             Page 25                                                                      Page 26
i 1J     you. I have to sign som<:thmg g1V1ng the                        [11     Rigney'>
12;      shenff authonzatton to do that Olcay'>                          121               THE DEFENDANT Yes
131           THE DEFENDANT. Thank you                                   (Jl               THE COURT You're still under oath
[4J           (A short recess occurred.)                                 f.41              THE DEFENDANT Yes
[5J           THE COURT: Have you reviewed that                          [51           THE COURT Which means that you're
rs;      Memorandum ofUnden;t1ndmg w1th him? You'll                      [6]     sworn to tell the lruth Do you understand
[7]      probably need 10 at some point dunni this                       171     that?
(BJ      colloquy                                                        1a1           THE DEFENDANT Yes
(9]           MR. SANTAGUlDA. l think 1r3                                111;          THE COURT Did you have tnne to meet
11 OJ    different. That memorandum says he knew about                  (:OJ     w1th      your family member.;'>
f 1 11   the robbery                                                    1•11               THE DEFENDANT Yes, I did.
1121            MR. SAX Does 1t? J-;o.                                  1121          THE        COURT. Was that helpful?
113]            THE COURT. Make sure it doesn't. Or                     (13)          THE        DEFENDANT: Yes
(14]     1f rt does.. then cross st out and mltlal 1t                   [14J          THE        COURT What 1s 1t lhal you wish to
I151            MR. SAX. In the interest of gettmg                      (15j     do, su?
['6]     this done, we've lmocked off one year, so it's                 (16]          THE        DEFENDANT. To take the deal
1111      I 9-to-38 as opposed to 20..to-40. I'll change                11 lJ        THE COURT Okay
[181     thAl and initial it                                            [18]         Miss Sclbcr didn't sign this, al least
1191            THE COURT. Oby. Dot have a copy of                      !119)    my copy
f:/Oj    the Memorandwn of Understanding?                               {20}               MR. SAX· The Memorandum of Agreement?
[<'1 I         MR. SAX. lfyou don't. you will now,                      1711               THE COURT Yes. There'sa place for
:22!      Your Honor. Your I-Wnor, 1'11 pass you a copy;                [22}     her to have si~d
[23]      l'm going 10 change 11, reflecting the one to                 {23f          MR. SAX: So I will conform 1t with her
[24)      two   less.                                                   {24}     signature. I'm authonz.cd to do that. I'll
125]             THE COURT. Are you all right, Mr..                     (25j     put a little S with two lines on 11 and her
           Megan Soule, RMR, CRR (215) 683-80~                                     Meg~ Saul~. RMR, CRR (215) 683-8029

                                                             P;ige 27                                                                      Page28
 p1      :ngnanm:.                                                      , {1]              Would you rather Just go to trial, Mr.
 [Z)         MR. SANTAGUIDA: Judge, do you tiavc:                        r2J     Rigney?
 131     more colloquy to do?                                            (3l          ..   THE DEFENDANT: No.
 [4J         THE COURT: Am I going to do ·-                              {4)           THE COURT· Okay. So I've been
 [SJ         MR. SANTAGUIDA: Do you want to do moce                      151     advised, Mr Rigney, that you wish to accept
 [61     of 1 colJoquy?                                                  161     the offer that the Commonwealth bas made. and
 [7J           THE COURT: YM.                                            17]     m this cll!!e that 1s to two COWltll of
 18)           MR. SANTAGUIDA: Okay.                                     1e1     third~degree murder, two counts of robbery. and
 i9J           THE COURT. l lliought you had said it                     [9)     one count of cnminal conspiracy. And although
1101     was two counts ofthrrd-degrec murder, two                      , (10!    it doesn't explicitly say so m Paragraph 7, J
{11 J    counts of robbery and to cnminal conspmacy.                    •(111     think 1t should be added that the Commonwealth
11 21          MR. SANTAGUIOA: Not the robbery                          1121      is waivmg the mandatory life sentence
P3J      because he didn't know there was going to be a                  [13)           MR. SANTAGUIDA. 1have that there
( 14'    robbery.                                                        [t4J          THE COURT Oh, it is on there?
! 151          MR. SAX. If Mr Santagusda was                             [151              MR SANTAGUIOA. Yeah.
[16]     listening. he didn't k.nOYl there was going to be              [161               THE COURT. Where 1s it'}
1111     a murder either. but he's pleadmg &uilty to                    117}               MR. SANTAGUIDA.· Oh, hen:. I'm sorry
11 81    that. And I had been saying all along it's two                  [18}           MR. SAX On there. If the Court wants
r191     counts of thini-dcgrcc murder, two cowits of                    [191    1t also on the Memorandum of Agreement, and I
fZOJ     robbery and one count of conspiracy                             {20)     understand that, so ru arld that
121)            THE COURT But on this fonn you still                     1211           THE COURT. Oka) If you could hand
{221      have VlJFA and PIC, so cross those out Can you                112!      lhat up to me. Mr. Brechemin Thank you
1n1       hand thui down, Mr Brochemm"' Mr Mena, 1f                     In!             MR. SAX What I'll state. Your Honor,
12.c1     you could ask Mr. Sax to cross those off 11nd to              (241      1s mandatory hfe sentences for both second and
[251      initial th03e                                                  (25]     two thirds expressly wa>ved.
            Megan Soule, RMR. CRR (215) 683-8029                                    Megan Soule, RMR, CRR (215) 683-8029

Mq:ao S-Je. O.C.R
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                                                                    Page 29                                                                                              Page 30
Pl             THE COURT CRIER Judge, I.here's no                                  l'l     number four                   is   amended with the cons.ent of
f21       conspiracy on the sheet                                                  [:.>)   defen1>e co'Unsel to reflect that it's 11 'nmmal
i.31           THE COURT· Okay. Mr Sax.. tt sounds                                 (3]     conspiracy mstead of a PWlD, 1s that correct.
t.iJ      like maybe either there was an error m the                               [41     Mr Sanragu1da?
!51       retummg of the Bills of lnfonnation that were                            I~]          MR. SANTAGUIDA Yes
ra1       prepared by the District Attorney's Office, or                           fBl           THE COURT: All nght So onhnanly
fl]       maybe 1t was not held for court by the 1udge, I                          ~7~     fur two charges of third-degree murder there 1s
fSJ       don't know, but on our computer sheets there 1s                          f8i     a mandatory hfe sentencl!', which the DtStnct
[91       oo charge of cnmmal cunspinu:y                                           [9]     Attorney's Office has agreed to waive m this
110;           MR. SAX. I'm sure Mr Santagmda will                             (10]         case And instead for your guilty plea to
· 111     waive that, but l bad it. Let me see I'm                             ! '1)        thusc five charges, two cou11ts of tlurd-degree
fl?l      sure Mr. Santagwda will waive thal                                   112]         murder and two counts of robbery -- and why are
, 131          THE COURT I'll see counsel for a                                fl Jc        there two counts of robbery? Who was robbed?
{141      St..'CQlld.                                                          [14]              MR. SAX. The two v1ctu:ns m this case
Pol               MR SAX. Sure.                                                [161         are Petrella London and Jemark, J-E-M·A-R·K,
{16]              (A discussion at sidebar was held off                        !'61         Glen Miller Dante!
1· 7J     the record. )                                                        (17]              THE COURT Okay. And the two counts
!18}            THE COURT: ls that going replace an                            !'8]         of robbery and one COU!lt of crinnnal
[19)      existing bill,()[ 1s that going to - what arc                        fWl          con!>piracy, in exchange for your plea to those
[20}      we domg?                                                             -troi        as well as to your te$t1mony agam!'>t the two
!21)           MR. SAX. 1 would have that replaw. .~,,....                    ·w11          md1vidua~:W£'ve d1.'!cu.~cd earlier, the
                                                 >-ff;.'·_- -
{22]       count four                           :; ~ ""                       }~             DIStnel'.6~s Office agrees to a maximum
123]           THE COURT: The PWlD?                                           :mt          "'116it~l)ci ~u of not less !.han 19 years, no
!24]           MR. SAX Yes.                                     '         ·~_£'.,;~]       , ~?¥iti~Jf"'j'ears m a state correctional
(25]           THE COURT So M1ss CorbtfjJ~Jlf.;i.{. -                          {25J         -~tut\on. ls tha,t_your understanding of the
             Megan Soule, RMR. CRR (21 S)-$3~~                                              - ,Me~son1~-it~,CRR (215)683·8029
                                    ····--·-__::_-....,...                                             ~""; ··-;:;.:.~     :;.~-;;;-·   ::;..   ~   .
                                                                    Paae 31   \~                !;r~      "              ,.;;\            ~ i;                            Page 32
 !11      agreement that you're entering here today?;                          '. rt1 :it includes 11 hardness of heart, cruelty,
 {2]              THE DEFENDANT· Yes               ~ ":"                          121   ~kJos~ of·~sequences, and a mmd
 (31           THE COURT: And 1f at any -- you'n,,15                           ,. Pl "~ ~_i;i_~cial duty, indicating an
 !41      years old. Mr. Rigney?                                               ' !-41       unjustified diSregard for the probabihty of
 [ti]          THE DEFENDANT: Yes                                                   (5]     death or great bodily harm and an exlretne
 [6!           THE COURT: And you went as fat as the                                [&]     mdifference to the val11c of human life.
 (7)      1 Jth   grade'?                                                           [1]          So if anyone has so acted, they are
 [8)              THE DEFENDANT· Yes                                                [SJ     regarded in the eyes of the law as having acted
 19}              THE COURT What school?                                            [9]     with ma!N:e. Did you understand all of that?
{10]              THE DEFENDANT. Stnwberry Mansion                                 po;           THE DEFENDANT. Yes.
(11]       High.                                                                p 1i              THE COURT. And robbery is that m !he
('?J            THE COURT And if you were going to                              Pll         course of committing a theft, you, or through a
[ 13)      tnal as to these three charges - there's five                       •1131        co-conspirator, or through an accomplice, or
[14~       charges. but there's three separate ones. For                        J14!        that you were an accomplice of the person,
'15J       third-degree murder, the Dis1r1ct Attorney's                            [15J     that -- an accomphce 1s someone who aMh
(1GJ       Otlice would have to prove that an individual                           [16J     another. Okay It can be-· 11 doesn't mean
r1 Tl      was dead. And here there an: two separate                               11 r,    that there was an agrecmcnl It me.ans that
[181       individuals who arc dead That you                                       (18]     there is an aidmg of another to commit a
[19]       participated an bnngmg about their deaths                               j19]     cnme. And so that you were an accomplice to
1201       and/or that they were killed by a                                       :201     someone who conumtled • robbery Someone can
[21)       co-<:onsp1rator or by an accomphcc of }'Ours,                           12 11    be an accomplice to someone for any crime,
[2ZJ       and !hat you had malice at the time And                                 1221     pretty much
{23]       ma.hce IS a shorthand way of referring to a                             {23]            And so that in the counie of commlttmg
[24]       particular mental state that the law regards as                          [24]     a theft, an indiVJdual was placed - first of
[25J       bcmg bad enough to make a kilhng murder. So                         ·f251         all. that there was eitber 11enous bodily
            Megan Soule, R.\1.R, CRR (215) 683-8029                                            Megan Soule, RMR. CRR (2 J5) 683-8029

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                                                                Page 33                                                                                            Page 34
•::      tnJUf)  committed on that md1v1dual vr that                                     f1~          legislature. !l's the legislature here m
tJl      that md1"rdual was placed m danger of or was                                    (:l]         Pennsylvania that sets the maximum penalties,
f3J      threatened with immediate senous bodily                                         [3]          and the legislature for first-degree robbery
141      tnJUl)' And here the IDJUJ) was so senous                                       [4}           and for conspu-acy, each of those t:IITT)' a
is;      I.bat the two md1v1duals are dead Do you                                        [5J           maximum poss.1ble penalty of lO-to-20 yl".aTS
f6l      understand that"                                                                (61           incarceration. The lhird degree murder carnes
1:1          THE DEFENDANT· Yes                                                          (7J           a maximum possible penalty of 20-to-40 years
ff!]         THE COURT And for conspiracy, it                                            [8J           mcarceracion
:91      means that you agreed with another perwn or                                     [9]                So for these five charges, the District
[10]     persons that one or mo1e of you would engage m                                  J lOj         Att.ome}~~ Office has agreed iliat the sentence
il 1)    the conduct that consntutcd that cnme, and                                      r 1J
                                                                                          1            would be not less than 19 years. no more than
:121     then m additmn to an agn;cment, that there                                      [12]          38 years, wilh cn;d1t for tune served Do you
[13}     was an overt acl Jn other words, some!lung                                      (13i          understand that'?
114]     you could point to, such as gomg and driving                                    [14J                 THE DEFENDANT Ye'>
[!SJ     lh¢ car lo get to a c.ertrun location. Do you                                   (15]                 THE COURT. So you understand what the
[16]     undcn;tand that?                                                               · [• 6!         d1str1ct attorney would have lo prove to
!17]          THE DEFENDANT· Yea                                                         (i 7j          convict you of these charge!> to wh1<.h you're
( 113]        THE COURT And so that 1s what the                                          [16]           pleading guilty?
J19}     D1stnct Attorney'! Oftke would have to prove                                    ·(191                THE DEFENDANT. Yes
(20]     at your tnal. and that 1s the chllJgcs to which                         ,,     ''fiol                THE COURT And you understand the
12"1     today you are entenng pleas of gw.lty Do.yw                           :1~1                     max1mumPAA11lues for these'>
(22]      understand that?                         ..
                                                   ···                        >~l                            THitDmNDANT. Yes
[23]          THE DEFENDANT. Yes                   ..
                                                  .-..          -" . _": • ,,   1231                       -~ 1HE'ydiJRT; Arid you understand the
[241          THE COURT: And the robberies cmrly ~..               ·~· " . J..241                      .Qff~b.d &i"1>een made here?
125]      maximum possible penalty asset by tbe . ~'                          . (251                  . ::.  11JE&F      DANT: Yes
           Megan Soule. RMR. CRR (215)~~9.::iJJ                       ··'"'.'.        ::'..":::r ;:,~ Meg~~~!~i. . , CRR (215) 683-8029
              ... ----·-·-···             ~·      .,. .,   ";~·-=-~.Pa~i'S:.-_;:;:.,~ ~-----      .          .. , . . -   ~:~~ ,..~
                                                                                                                                                                   Page36
 Pl           THE COURT: All ri1ht Do youlmve y::{                       '             ·:(fl                .THE DEFl;NDANT. No
 [2)     questlons for rne so far'!                              ·-                       ,12.1            -;:.,TffeGGU,Y~T:          Do you understand that you
 ;3)              THE DEFENDANT: No.                                                   ~.•J3I         . bav~.ari°i\bio1\ite right to have a tna1?
 141              THE COURT: Do you unders1and, Mr.                              ·- ·.·.:'1"1                 THE DEFENDANT. Yes
 ;51     Rigney. that under the law you are presumed                                      (5]                THE COURT. And we have 60 jurors
 [6)     mnocent? Do you understand that concept?                                          [6)         wattmg for you and Mr. Santaguida and for Mr.
 [7]         THE DEF EN DANT: Yes.                                                      · {1]          Sax to begin qu.ei;t1onmg them to :sec who would
 {BJ           THE COURT: In other words, you are                                          [6)         get picked to decide the fact!! of the case
 [91     here. You're presumed innocent, and it's the                                      f9l               THE DEFENDANT· Yes
[101      district auomey'SJOb to prove your guilt                                        r101                THE COURT: So tfyou wanted to have
[1 lj     beyond a reasonable doubt. He Ms lo convince                                  .1111          your trial, this is the moment to say forger
[ 1 2)    the jury of your guih beyond a n:asornsble                                     [121           1l. l want lO go to tnal instead. Do you
[13)     doubt. Do you understand that?                                                 . 11 :SJ        underntand that?
[141            THE DEFENDANT. Yes.                                                       (1-lJ               THE DEFENDANT Yes
[15]            THE COURT. And that presumptmn of                                        {15)                 THE COURT And you have .. do you
P6J       innocence, if you were having a tnal, that                                      (16]          understand that you have an absolute right to
{17]     presumption of Innocence would stay with you                                   :117]           have a trta! in tiu~ case'?
[ Jf~]    throughout rhe entire trial and unless and                                     !18]                 THE DEFENDANT Yes
[19J      until the dt;tnct attorney proved your guilt                                   {19]                 THE COURT And do you understand that
:201     beyond a reasonable doubt Do you understand                                     !201           you h1r.. c an absolute nght to be tned by •
[<"I      that"                                                                         ·1211          Jury of your peen;?
rz21            THE DEFENDANT Ye!>.                                                     ·1221                 THE DEFENDANT Yes.
[7.3]           THE COURT. Are you under the                                              [23J                THE COURT Did you have !he
124]      1mpress1on, sir. that you have to plead ~uilty                                 [24]           oppooumty to review tlns four.page wnttcn
[25)      hcrc"                                                                          ·[25)          iu1lty plea colloquy form that you signed on
            Mcg-.m Soule, RMR. CRR (215) 683-8029                                                          Megan Suule, RMR, CRR {215) 683-8029

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51CR0009-«i2201 t                                                                                                                G111lty Plea Volume 1
                                                                                                                                            May 20, 2013
Darryl Rlpey
                                                                  Page37                                                                      Page 38
l'l          the bottom of Page J?                                          11]         this case. Do you undcrnand all of that')
r21              THE DEFENDANT: Yeah He basically                              121            THE DEFENDANT. Ye:.
[3]          cxplamed 1t                                                       131            THE COURT So 11 discusses also your
[4]               THE COURT: All right. Well, what it                          ~4]      nght lo tnal h explains that you do not
[f>J         lays out here -- and 1fyou want to read                           :s1      have to plead guilty, that you are presumed
161          through 1t, I will be happy to pass 1t down                       !61      innocent llild what the dsstnct attorney would
f71          again 1f you want to review anythmg with Mr.                      17]      have to prove, that you have the nght to
JO]          Santapida. It talks about the fact that -                         [8]      rema1n silent; that you're giving up many
19]          well,  says here no promises or threats, but
                     tt                                                        [91      nghts by pleading gwlty
[10j         there has been a promise, and the pronnse is as                [10]                Then 1l tnlb about your nght to a
[1 ~1        I have stated 1t. And then it says the pica                   {11]          jlll)' tnal It talks about - 11 also talks
[12]         bargrun is that the D A. will dcmand2!tori:ze the              f12]         about trial by judge. but the D1stnct
(13]         hfo sentences for second- and third-degree                     {131         Attorney's Office had not agreed. Both sides
114)         murder and the sentence that you would be                      p4]          have an absolute nght to have a jury trial in
f15)         sentenced to is 19 years And l'm gomg to                       ['5]          Pennsylvania, so both sides would have to agree
P&J          put - it doesn't say it here, but I'm going to                 ['o]         that at be tried JUSt in front ofa Judge, but
117)          put to 38 years                                               [' 7]        you still keep your right to a jury tnal So
!181                 And Just so you know. m Pennsylvania                   ('6]          ll talks ilbout that
[191          you have to have a m1mmum sentence and a                      [19;                 It talks about certam pretnal nghts,
!201          maxunum sentence. The minunum sentence 1s what                !20]          includmg tfyou \\ere trymg to seek to
(21)          let's the prison know that you're eligible fof                {21]         suppress a statement It talks about how
1221          parole. Tile maxunum sentence 1s the ~ that                   [22}          you're gmng up all those prc1r1al rights. It
!231          you could end up possibly serving. And IO - •                 [23i          tallat ~ut yodf appeal ngbts.
124}          and the minimal JCntcm:c cnnoot be more than                     [21,lJ          · Aw :YoQ on probation or paro)e for
1251          half of the maximum. So it's 19-to-li,yellltlh               ·12~1          anythmg right now?
               Megan Soule, RMR. CRR (215)'6,.S.3-802~>-~                                 Megaaj§~ru.m. CRR (215) 683-8029
                                                                                                                                               Page40
                                                                           i
 (1)               THE DEFENDANT. No, l'm not.                             • [f]        pressure you or threakn you in any way so thal
 [21               THE COURT: If you were not t cttl2.tn.,                      121     you wotd(l~ this deal?
 (3)         that you could be deported, the fact that                          1"31         :fHE DEFENDANT         No.
 f4l         you're satisfied with the rcprcsentanon you                        141         THE COURT· Are you pleading guilty of
 151         received from your attorney and what the facts                     !.51    your own fn:e wJlJ?
 [fil        of the case arc and the elcmencs of the crimes                     [6J          THE DEFENDANT Yes.
 f71         I told you what the district attorney would                        ITJ          THE COURT. And who<ie decision is It
 (6)         have to J>fOVC. That l!I what JS the elements Of                   [8]     for you to plead guilt}', Mr R.Jgney?
 JQ]         the crones, •nd you11 hear the facts of the                        [9J          THE DEFENDANT Mine
(101          case m just a few moments                                        [10J          THE COURT: All right And you
r111               So that's pretty much what is on this                       [1 tJ     understand that there's alro this memorandum of
[121          form that you reviewed with Mr Santagu1da; is                    (12]      agreement.
[l 3J         that correct?                                                    [13J            Has he signed that yet? Can you give
(14!                THE DEFENDANT: Yes.                                        (14]      him this? I thmk there's a couple of copies
[15]               THE COURT: Now, have any promisc:rnr                        p5J       to be S.1gn~.
[ 16]         rcpre.sentations been made to you by anyone                      [HlJ            Have you ~n that Memorandum of
[t 7]         about anythmg, other than what you've heard me                   f17l      Agreement? And that's what discusses how
[1 BJ         say hen: in front of everyone in this courtroom                  f18J      you're gomg to have to testify against the
[19]          today?                                                           {19]      other two mdlv1duals m this case
!:?OJ                THE DEFENDANT: No                                         1201            MR. SANTAGUIOA. We signed another one
[?1;                 THE COURT: Did anybody pressure you or                    1211            THE COURT I can Just make a copy of
[22)          dmi11ien you in llll)' way in order to ¥et you to                1n1       tha1 last page if It 1s signed.
rnJ           plead guilty today?                                              [2 J]           Do you have a signed copy. Mr. Sax --
!241               THE DEFENDANT: No                                           f:14 J          MR. SAX. J do not
f25l               THE COURT. Or at any time, did anyone                       12~1           THE COURT: -- that~ defendant
                Megan Soule, RMR, CRR (21 S) 683-8029                                     Megl!D Soule, RMR. CRR {215) 681-8029

Mqan Soule. O.C.R                                                 Court Reporting System                                               10 (page 37 - 40)


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Sl CR0009462201l                                                                                                                            GulJty PJea Volume l
Darryl Rigney                                                                                                                                       May 20, 2013
         ---"'------
                                                                               Page 41                                                                   Page42
l'l      executed?                                                                        [1 l      conunlt any olhet cnmes m I.he future, that you
f2l          MR. SAX· I do not                                                            12)       will cooperate fully and truthfully with the
f31          THE COURT And that Mr Santaguida                                             Pl        d1stnct attorney. the Philadelphia Pohce
{4]      executed.                                                                        ;4J       Department, and any other investigative or
!5]            What this Memonmdum of Agreement                                           151       prusecutonal department.
[6)      dtscusscs. Mr. Rigney. 1s 11 talks about what                                    [6]             I already do understand from you, Mr.
f7l      you were charged with and !hat you were                                          [ 7]      Rigney, that your pos1t1on -- and that you're
t8l      arrested on or about December 8th, 20 I 0 And                                    [8'.      adamant about that position -· 1s that you did
19!      tf I say something that you dunk is tru:-Om:Ct                                   (9}       not know that the robbery and murders were
i10j      or that you've never heard about and you wanl                                  110:        going to take place, is that correct.,
         to uillc with your attorney for any reason.                                      [', l            THE DEFENDANT Correct
'.121    please stop me. I'm not m 11 hurry And so 1f                                     ;1.?j            THE COURT And that you thought that
[13)     you want to clmfy anything, 1fyou want to                                        [13)       you were gomg there in order to iet weed.
[14]     make sure you understand exactly what you're                                     [141             THE DEFENDANT. Yes
(1">1    doing. those an: nnpOJtant thmgs for you to                                      [15}             THE COURT· Okay And 1t says here
!16]     do. All nghl? Are you m agreement w1th                                           ['Bl       !hat you will provide law enforcement agents
[17]     that?                                                                            [171       and attorneys of the Dislnct Attorney's Office
[18)            THE DEFENDANT. Yes.                                                       [18]       with all mfonnation m your possession or that
(19]            THE COURT: Oby And tt ralks ebout                                         fl9]       might come mlo your posscss10n about your
[20)     the fact that you have personal knowledge of                                     [ZU.j      activities or the actlviucs of the other
[21}     the involvement of olhcrs m this case ~it                                        (21}       pe~ons that. arc relevant to v1olat1ons of the
rnJ      talks about the fact that you have dccid~~                                      ,(22)       criminal laws in the Commonwc11lth of
[231     it is in your best interest to enter into this · ·                               [2'3)      Pennsylvan~ including. but not !united to the
{:.?41   agreement and to follow the terms of 11. A~                                     ".{24]     -crioie charged m this case; that you will not
l2f>]    1t indicates that you agree that you wjil oot                                    [2!'!]    _prote«or ~mpl to protect any person by
           Megan Sou.le. RMR, CRR (215) ~-~ :,                                                     ; ·Megan SOl\le,.1™Jt. CRR (215) 683-8029
              M   "   ·-~~------   .... - - -   - - · -   ·-   ">°t-·   -·"·
                                                                                                          .:i·     ... ~ _____ , . --
                                                                                                                                                         P119" 44
 (1!     provxling any false: information or by                                            r'IJ    "io his ~stody" - or control pcrtmcnl to any
 [21     w1thholding infonnation, and that you will~                                     ' I2f     crini:lillll investigation when you're requested to
 f31     falsely accuse anyOody else All right?                                            [3f     do .so hl'the district attorney.
 1-c1          THE DEFENDANT: Yes.                                                         {41           And ob~ously you're not necessarily
 1s1           THE COURT: If J say anything that you                                       [?;J    gomg to be making yo'llllelfthat available.
 f6J     don't understand, please ask me to explain it                                     161     The district attorney, if they need you, will
 [71           That you will testify truthfully and                                        [7J     bring you in for .llll mterv1ew or for testimony.
 !Bl     completely before any grand jury or at any                                        {81            It then sets forth here thnc you're
 (91     bearing or trial in any case m which the:                                         191     pleading guilty lo two counts of third-degree
[101     district attorney asks you io testify.                                           [101      murder, two counts of robbery, and it says two
p 11            And that's only as to this case·, is                                      11·1      counts of cnmmal conspiracy.
~121      that correct. Mr. Sax?                                                          11z1             MR. SAX One count.
[13]            MR. SAX: That's cOII'CCt                                                  [13]             THE COURT. J'm gomg to cross out two
[14J          THE COURT. Okay And that you                                                !141      and put one.
[i~J     understand !hat you can and will be prosecuted                                   (11'>]           The other charges have already been
[161     fot peIJury if you knowmgly make any false                                       {16]      withdrawn, which was the gun char&e and two --
117J     matenal statemenu while you're under oath.                                       [11}      two weapons related charges TI1ose were
f18J     Do you und¢rstand that?                                                          [18]      already crossed out.
P~I           THE DEFENDANT: Yes                                                          119}             It talb .about the fact that you
1201          THE COURT: It say3 hc:re that you'll                                        [20!      understand that the guilty plea that you enter
1211     make yourselfrNSOnably available for all                                         p11       1s negotiated and thal the sentence of 19+to-38
£221     tntetvJews, grand 3ury testimony, related                                        r221      years will be recommended by the Commonwealth
rn]       hearings IUld trial appearances and that you                                    [23]      and that the mandatory life senten~e for
(24J      will furnish documents·- 1t says "m her                                         [24J      second-degree murder and for two thirds -- it
P5J       custody.• I'm going to cross that out and put                                   ri:>1     doesn't say what it is It Just say mand.
           Megan Soule, RMR. CRR (215) 683-8029                                                       Megan Soule, RMR, CRR (21 S) 683-8029

Megmn Soule, O.C.R                                                             Court Reporting System                                             11 (page <11 - .U)
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SI CR000946220 II                                                                                                            Gullt) Plea Vohrnae J
Darryl Rigney                                                                                                                        May 20, 2013
                                                               Page 45                                                                   Page-46
J1l         M A-N-D. hfo sent for second and two thirds.                   !"'!    quality and nature of your cooperation, which,
(21         It doesn't ~ay what you're doing wilh that                     l2l     obvmusly. I already know what you're supposed
!3]               MR. SAX In one of the other copies I                     131     to be domg, and then I'll be advised 1f you
[4l         wrote "winved" I think it's clear But I                        (4)     du!, m fact, follow !hat
{5]         appreciate that. Your Honor                                    [51           And 1t says here thaE you agree that 1f
!6]               THE COURT: Well, since this is                           !6J     you p!Ut1c1pate m any crmunal act1v1ty after
[7]         probably the one that's gomg to get copied                     llJ     the date of this agreement, which IS today'~
!8)         since it's already signed, Mr. Mena, could you                 [8)     date, or tfyou he ta the distnct attorney or
191         hand that to Mr SllX so he can put "waived?"                   (9)     the Ph1ladelph1a police or any other law
f10J               MR. SAX Absolutely, Your Honor It's                    {10J      enforcement agency, or rfyou hem your
rn1          in the ume pen as the rest of 1t                             11 ~I     testimony about any matenal matter, or 1fyou
(12)               THE COURT Okay The r~d will                            p:>)      stop cooperating, or 1f you VJolate any of the
[13]         reflect what you did.                                        (13)      other lenns that are described m this.
[14]               Thac you're watvmg any nghl to a                       {14]      agreement, then the agreement will be null and
[15)         prompt senteocmg hearing As I told you                       [15)      void and you will be prosecuted to the fullest
(16)         before, the tnal of lhese other two                          [16j      extent and any and all statements and testimony
j17J         uuhviduals 1s not scheduled untJI September,                 (1!)      made under !his agreement and MY c:v1dcnce
(Hl]         so you'll be testifying al that tlJne. And so                (18)      that's derived from this, either directly or
[19}         usually we try to make 1urc that people are                  119]      indirectly, can be used ag11mst you
(20]         scnienc¢d withm 90 days, but that's obviously                ·(20)           It says here that you agree that you
{21)         not gomg to take place unul after you've                     12'1      will not b1;permjtted to withdraw your guilt)•
{22]         testified m this case.                                       t{2i)     plea, eVC'll if the district attorney detc:rmmes
{2JJ               It says 1f you comply here with the                    ·1231     ~you have not complied with llll of the
(24J         terms of the agreement, the district attorney                'I.241   tentta ofltllJagreement
[25J         will advise the Court of the full e:ittenf.                  (25)          ~nly, after someone pleads
               Megan Soule. RMR, CRR (21S}68!1~8029                                  Megm.~Qlll('.. RMR, CRR (215) 683·&029

                                                               f>aGe-+7                                                                  Page48
£1)         guilty, cspeclally 1f it's 1n advance of trial.               . [11    ~mcnt.      I don't know that there's b¢en tbe
 [~}        J will allow them the opportumty to withdiaw                   t2J     oppOl'tunity for-there to be compliance for
{3J         their guilty plea 1f they can state any fair                   {3]     that. And I'm just staling lhat for the record
(41         and just reason. But you're not going to be                    1-'l    at th ia tune.
151         pcnmtted to do that unless !he D1stnct                          [5)           And that this agreement IS complete and
 16]        Attorney's Office Mb thal that happem and                       [6J    represents the entire undcrstandmg between you
171         they can say that they're not prejudiced in                     [7]    and the distnct attomey and that it cannot ~
181         bringing the tnal agawt you. Because if you                     [BJ    changed unless signed by both you and your
 191        wanted your tnal, today is the date lo have                     (9]    attorney and by the assistant drstnct
[10]         your tnal. The Jwy is waitmg and we're able                   (10)     attorney.
f PJ         to move forward with that. Do you understand                  (11]           Is there anything that J've sWed from
[12)         that?                                                         112)     there th.at is a surpnsc to you or that you
f13]               THE DEFENDANT· Yes.                                     lt3)     cannot follow?
!14]               THE COURT Oby. The district                             f14J           THE DEFENDANT No
(15]         attorney 1s relying on what you're saymg that                 (15)           THE COURT Okay. Do you understand
f16J         you want to do here today                                     {16}     that by pleading guilty today you give up yol1J
p7]                I don't know if there's been time for                   [17J     nghts to have a trial and almost all of your
f16]         Mr Rigney to end up havmg complied with                       (18]     rights to lllppeal'r
f19)         Paragraph I ~. for example, Mr Su, that                      .(19]           THE DEFENDANT· Yes
1201         mdic:ates he agrees he has dtseloscd all of bis               f20J           THE COURT: And the reason that you
1211         crnwnal acttVlty as reqwred m Paragraph 3                     (21)     have very lmmed rights of appeal. people arc
[22]         supra., et cetera So mat at tlus time I'm not                 [22]     usually appc:almg mlSlakcs that arc made dunng
[23j         necessanly g0tng to find that that's ·- smce                  [23}     the course of the trial If the judge makes
{241         you haven't had the opportunity to speak lo hnn               [241     mistakes. if the prosecutor makes mistakes,
{25]         other than today m tcnm of his sagnm" this                    [25]     those tlunp would then go up for the Supenor
               Megan Soule, RMR, CRR (2 l S) 683·8029                                 Megan Soule, RMR. CRR (21S) 68:J..8029

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Darryl Ripey                                                                                                                           May 20, 2013
                                                                 Page 49
[1 j       Court to say do we trunk th.at Mr. Rigney - or                   pJ      d1scuss1on, be(:ause I want you to understand
[21        whoever the person is -- do we think that this                  12·      exactly what you're doing here and that this 1s
111        persoo should have a new tnal because the                        [3;     your own free choice and dcc1s1on. ls that the
\41        nustale was so big?                                              141     case? ls this yOUJ own free choice and
[f>J             And iO those are usually the k111ds of                     f!>l    dccmon?
[€]        thmgs that get appealed, but there's not gomg                    f6J           THE DEFENDANT: Yes
f71        to be a tnal here so the cmly things that you                    [7]           THE COURT I recogmze that you'd
[BJ        can appeal ts whether I bad the jurisdiction to                  [6]     rather not be making this choice, bu! that's
 r;,~      accept your gmlty plea, which I have been a                      )91     not what we're talking abouL What we're
POI         duly elected Judge for the Court of Common                     [101      talkmg about IS whether you've made a knowing
: 1• J      Pleas This crime happened m Philadelphia,                      (11l      choice, knowmg that you're between a rock and
112~        and so I do have Junsdictioo or power to make                  1121      a hard pince ls that the c33e?
11 31       a ruling m tlus case.                                          (13l            THE DEFENDANT Yes
( 14 r            The next th mg that you could appeal 1s                  (141            THE COURT Do you have any questtons
f •''       1f you got an illegal sentence, but I've                       [15]      for me1
[lo)        already told you what the maximum penalties are                [16J            THE DEFENDANT No
1111        for these And 1f you got sentenced to more                     Pl              THE COURT Anything else anybody needs
£181        than 1s legal, as the legislature has set                      re1       10 add or suwlement to the colloquy?
1191        forth, then you could always appeal that.                      ['9J            MR. SANTAGUIDA· I don't think so.
r201              Then lbe last tlung that you could                       [20]            MR. SAX: No, Your Honor Just the
r211        appeal. Mr. Rigney, is ifyoo wanted lo up                      f{21J     rec1tahon ~the facts.
1221        that your sentence was - not your s~tencif.,                   '{22]           THE ¢ClURT. Oby. Then if you would
(231        but your guilty plea was not entered into                      [23)      pl~ go ahead and read in a brief summary of
12•1        knowmgly, mtelhgcntJy and voluntarily. fiUt                    [2-t J    the tilcts.
[25)        that's the reMOn we've been having qris                        1251            MR.·. SAX: f'm gomg to try to be as
                Megan Soule, RMR, CRR (215)~-8¢!9 ~~                                  Megao Soole, RMR, CRR (215) 683 -1:1029
                                                                 Pege!51                                                                    Page52
 11 I          bncf as possible, and it will be brief.                     •l!J     ofevidence, including the fact that
 !2l                If the Commonwealth proceeded to lrial                  I2l     immediately after this happened. the vehicle
 Pl            today, we would prove the following: On                      [3]     that was used to take those two 1ndtv1duaJs to
 [4J           December the 8th of the ye.r 2010, at the                     [-4]   the location and wait for them to do this job
 f51           locat1on 3001 Redner Street, R-E-0-N-E-R. in a                f5l    and leave from lhat locttlon, a white Cadillac
 161           robbery/murder, two individuals, I trunk both                (6)     that was tnded for just before tlllS happened
 [7J           of JMWCan descent, Petrella -- I actually                     Fl     for purposes of going to this location, W1lS
 f8J           spelled 1t wrong the first time -                           , {8]    seen leaving the scene, seen by its make. model
 l9J           P-E-T-R-E-L-L-A, Petrella London and Jemark                  19!     and its license plate.
(101            Glen Miller Daniel, both in their 2-0s, were                1101           Witbtn mornentt, litcrall:y m the time
f111            shot arul lolled 1n a robbery of approximately              1111     it takes to go from 300 l Redner Street to 1820
[' ?J           I 1 pounds of manjuana and other itmns of                   1121     North Judson Street, a couple blocks away,
 [13]           value, mcluding their passports.                            [1JJ     w1thm moments - and this is broad daylight
(14J                  They each were shot a dozen time$                     (14]     This 1s, I thmk, 2 30, 2 35 in the afternoon
115]            Actually, one victim was shot 13, the other 12              (15]     11le defendant, who is the dnvcr, and the two
 ( 16}          They were essentia!ly executed m their bed, as              p6)      individuals, Rashon James and Montez Bethea,
r111            they Jay there. Jemm Daniel had brought the                 1171     pull into the I 800 block of North Judson
[181            martJlllUla from New York City. And his                     (181     Stnxt, a block under survedlance in an
 [191           girlfriend, Pctn:lla London, had come to VISlt              JHlJ     unrelated sUJYeillance based on complaints of
[2t)J           and she was executed by vntue of the fact that              120}     c1t1zcns of high ~ activity onto thlS block.
 (21]           she was a witness to what had happened 10                   r21;           After they had heard the radw call of
1221            Jeniark Damcl.                                              [22J     a report of s.hots fired at 3001 Redner Street
f2JJ                  The two shao<ers in this case lllI'C                  (l~]     and the occupants fleeing in 11 white Caddlac,
1241            Ra.man James and Montez Bethea. and we would                f24!     they see tins very ~rune white Cadiliac with
 !21">]         prove that. We would prove that by all kinds                (251     ttus license plate being dnven by lhe
                  Megan Soule, RMR, CRR (215) 683-&029                                 MeK21J1 Soule, RMR, CRR (21 S) 6&3-8029

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Ouryl Rigney                                                        ~~~~~~~~~~~~~~~~~~~~~
                                                                                                                                                  May 20, 21H3
                                                              Page 49                                                                                Page 50
I~ I     Court to say oo we thmk that Mr Rigney - or                     [ ~.    d1scuss1on, because I want you to undcnitand
121      whoever the peTSOfl is -- do we thmk that tlui.                 (21     exactly what you're domg here and that this ts
[3]      pcnion should have a new tnal because the                       (Jj     your 01>.'tl free choice and dcc1s101t Is that the
!4]      mistake was s~1 big?                                            14)     case') Is thi& your own free choice and
[5]            And so those ~ usually the kmds of                        f5]     dec::is1on't
[SJ      things th.at get appealed, but there's not going                {6]          THE DEFENDANT Yes
P1       to be 11 tnal here so the only thmgs that you                   [7]          THE COURT I recogmze that you'd
[8]      can appeal is whether i had the JUnsdictmn to                   [BJ     rather not be making th.is choice, but that's
19]      accept your guilty plea. which J have been a                    [9J     not what we're talking about. What we're
{10]      duly elected Judge for the Court of Common                    (11}]    talk mg about 1s whether you've made a lrnowmg
          Pleas. 11us crime happened m Phtladclphia.                    1111     choice, knowing that you're between a rock and
[12]      and so l do have jurisdictJon or power to make                !'2)     a hard place Is that the case''
{13]      a rulmg in this case                                          113}           THE DEFENDANT Yes.
f14J           The next thmg thlst you could appeal 1s                  l14J           THE COURT. Do you have any questions
f15j      1fyou got an illegal sentence, but I've                        (15]    for me'>
f16)      already told you what the ma...unum penalties are              f1!i]         THE DEFENDANT No
[17]     for these And if you got sentenced to mun:                      p iJ          THE COURT Anything else anybody needs
(16}     than 1s legal, as the legtslatu.re has set                      (181    to add or supplement to lhe colloquy?
[Ht]     forth, then you could always appeal that                       ,f19J          MR. SANTAGUIDA: I don't thmk w
[20]          Then the 18St thing that you could                         {201          MR. SAX: No, Your Honor Just the
[2'1     .appeal, Mr. R.tgney, 1s if you wanted to argue                ,c~tl    rec1tat.10n of !he facts.
p:.>1    that yom sentence was -- not your sent~ :                      :1221          THE cOuRT: Okay Then 1fyou would
123]     but your guilty plea was not entered mto - . · ,                (23J    pl~ go abeatf and read in a bnef summary of
:24)     knowingly, mtelligcntly and voluntanly. flat                   ·!241    the f«ct:S.
[25]     that's the reason we've been !laving tW$                        [25]          MR. SAX: J:m going to try to be as
           Megan Soule, RMR, CRR (215) 683-'8<>29                                  Megan.Soule,.~. CRR                    (215) 683-8029
                                                                                          ~·f.;,_   <'   -:..i.-_.    ... •       M   . _ ..




                                                              Page51                                                                                 Page 52
 {11     bncf as possible. and it will be brief                           [1]    of evidence, includmg the fact that
 [::?!        If the Commonwealth proceedodtr;; :trial                    [2]    immediately after this happened, the vehicle
131      tOday, we would prove the followmg On                            [3T    that wai usiid to take those two ind1VJduals to
f4l      December the 8th of the year 2010, at the                        (4)    the location and wait for them to do this Job
!51      location 3001 Redner Street, R-E-D-N·E-R, in a                   ISi    and leave from that location. a white Cadillac
(6)      robbery/murder, two 11xhv1duals. I think both                    (61    that was traded for ju.st before this happened
 [7]     of Jamaican descent, Petrella -- I actualty                      [7j    for purposes of gomg to this location, was
 !81     spelled it wrong the first nnie -                                (SJ    seen leaving the scene, seen by its make, model
 !fll    P-E-T-R-E--L-L~A, Petrella London and Jemark                     191    and its license plate.
(101     Glen Miller Daniel, both in their 20s, were                     1101           Within mom¢nts, hterally in the ltmc
{' 1:    shot and killed in a robbery of approximately                   (11)     it takes to go from 3001 Redner Street to 1820
1121      l 1 pounds of manjuana and other ttems of                      [12]     North Judson Street, a couple blocks away,
[13)      value. including their passport&                               113]     wllhm momenis - and this is broad daylight
1141            They each were shot a dozen times                        (14]     This is, I think, 2:30, 2 JS in the a:fternoon.
(15]      ActuaJly, one victim was shot 13, the other 12.                [15]     The defendant, who is the driver, and the tw1>
[16}      They were essentta11y executed m therr bed, as                 (16J     ind1v1duals, Rashon James and Montez Bethea,
f171      they lay there. Jemark Daniel had brought the                  11 T)    pull mto the 1800 block of North Jud!> on
•1Bl      manJuana from New York City And hts                            (18]     Street, a block under surveillance man
f191      girlfriend, Petrella London, had c1>me to visit                [19]     unrelated surveillance based on complaint~ of
120,      and she was executed by vmue of the fact that                  f20J     citizens ofhtgb drug activity onto this block
p 1J      she was 1 witness to what had happened to                      [21 J          After they had heard the radio call of
f'.?21    Jcmark Daniel                                                  [2.2J    a report of shou fired at 300 l Redner Street
1n1             The two 11hooters m this case ate                        {23)     and the cx;.cupant& flecmg         in   a white Cadillac,
[24]      Rashon James and Montez Bethea, Md we would                    f24J     they see this very same white Cad1ll.ac wnh
!25]      prove that. We ·would prove that by all kinds                  12111    this 11ccm1e plate bemg dnvcn by the
            Megan Soule, RMR, CRR (215) 68 3-8029                                   !\.icgan Soule, R..\.iR. CRR (215) 683-8029

Megan     Soul~   0.C.R                                       Court Reporting Systom                                                            13 (page 49 • 52)
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's1CR00094622011                                                                                                                                           Guilty Pin Volum~ J
 Darryl IU&ney                                                                                                                                                    May 20, 2913
.....                ··~-----                ------ ---------
                                                      Page 49
                                                              ----- --------
                                                                                                                                                                       Page 50
   111        Court to sa}' do we thmk that Mr Rigney - or                                             [1!     d1scuss10n, because I want you tu und<:"rstand
   [2]        whoever the person 1s -- do we thmk that th1~                                            !2l     exactly what you're domg here 1111d that thrs 1s
   [3)        person should have a new tnal because the                                                [3)     your own free c.bmc~ and decision Is thaJ the
   (41        mistake wll!. so b1g?                                                                    [4l     case.-, ls this your own free cl101ce and
   [51             And so tboSt: are usually the kmds of                                               J5J     dec1s1011?
   16l        dungs tluit get appealed, but there's not going                                            THE DEFENDANT· Yes
                                                                                                       l&J
   ;7]        to be a trial here so the only things thnt you                                           [/]
                                                                                                         THE COURT I recogmz.e that you'd
  !BJ         can appeal 1s whether I bad the Jurisdicnon to                                           {8]
                                                                                                  rather not be making this choice. but that's
  r9J         accept your gwlty plea. which 1 have bttn a                                         not what we're talkmg about What we're
                                                                                                       191
 POl          duly elecied judge for the Court of Common                                           talk mg about is whether you've made a kno~ ing
                                                                                                      (·01
 f11J         Pleas Ilus cnme happened m Phlladelplua,                                                p 1J
                                                                                                   choice, knowing that you're between a rock and
;121          and so I do have .JUrl!>dtction or power to m¥ke                             (12J    a hard place. Is that the case?
 i1JJ         a ruling m this case                                                         11 :i1        THE DEFENDANT Y cs
 f14j               The next thmg that you could appeal is                                ·[14]          THE COURT. Do you have any questJons
 1'S!         1f you got an 1llega1 sentence, but I've                                    '[1 SJ   for me?
 1161         already told you what I.he ma.X1mum prnalt1es are                             1~6l          THE DEFENDANT No
 !17]         for these And 1f you got sentenced lo more                                   (1 7J          THE COURT Anything else anybody needs
 i18J         than 1,s legal, as the legislature has sct                                   [ill]   to add or supplement to the colloquy?
 {19j         forth, then you could always appeal that                                  . ;.iWl           MR. SANTAGUJOA; I don't thmJc ~o
 1201               Then the last thing that you could                              '~ -~                 MR. SAX: No, Yout Honor Just the
 r211         appeal, Mr Rigney. 1s 1f you wanted to ~c:_                                 :{21}    n..-c1ration ojthe facts
 1771         that your sentence was - not your sen~._.}'                            , ·-;Wi,             T~9QAJRT: Oby Then 1fyou would
 [23]         but your guilty plea w11s not entered mto ·:·: ' :"':'. ~~-~r·,.,~ z; ~- '[J.3f- • ~ gi:f.~-and read in a brief summary of
 [24)         knowmgly, mtelhgenlly and voluntarily Bl!t . ··                                   :~l             the'fiic~ ~·t· .
 [251         that's the reason we've been bavmg ~ .:-' :::.f: ,-·         ,, ~;              ·. (2$           ,'-l: · ~..~AX: J'.m gomg to try to be as
                Megan 8-0ule, RMR, CRR       (215!~g~'8~~t~;.7'~             ''\_ -'.'~ ., ..: .·.t:oMe~~ir~~ CRR (215) 683-8029
                                             ,   --   J~ ... ,                        r"' _,_ .
                                                                                   ,,..,",        .. __ ....
                                                                                              .....          .          ~ ;~   ""'.'.~:_,.   3:\~;

                                                                        ·. PeiQe51                                                                                     Page 52
    (1)       brief as possible, and it will be brief     ~
                                                                 ~~,.

                                                                                             ..         r1 t   -efevi~ce. including the fact that
    12)            If the Commonweallh proceeded to tritl                                             .:'iZJ   i~w~ afk;rthis happened, the vehicle
    fJJ       today, we would prove Che following· Ol\.                                               . [3]    that was used to take those two mdmduals to
    (41       December the 8th of the year 2010, at the                                                f4)     the locat10n and wait for them to do Uu:1 JOb
        [51   locanon 3001 Redner Street, R-R-D-N-E-R, in a                                             [~)    and leave from that loca&ion, a white Cadillac
        f6l   robbery/murder, two ind1V1duals, I think. both                                            [6]    that was traded for JUSt before this happened
    {l]       of Jamaican descent, Petrella -- I actually                                               (7}    for purposes of gomg to this loc1.uon, was
    :e1       spelled 11 wrong the first time --                                                        [BJ    seen leaving the scene, seen by its make, model
        [9)   P-F.- T-R-h-L-L-A, Petrella L-Ondon and Jemark.                                           (91    and its Ju:ense plate,
  f10J         Glen Miller Daniel, both in their 20s, were                                            :f10J           Withm moments, htcrally In the time
  {11!         shot aoo lolled ill a robbery of approxllll.ately                                       [11j     it takes lO go from 3001 Redner Street to 1820
  j1?l         I l pounds of mari1uana and otller i~ of                                                (121     North Judson Street, a couple blocks away.
  [13]         v»tuc, mcludlng their passports.                                                       .(13l     w1lhm moments·· and this 1s broad daylight.
  : 14]              They each were shot a dozen tunes.                                                [14]     This is, I think, 2.·JO, 2.35 m the afternoon.
  !'~,)        Actually, one v1cttm was shot 13, the other 12.                                         [15}     The defendant, who is the dnver, and the two
  f16!         They were essentafly executed m lhcu bed, as                                           '{16]     mdtvtduals, Rashon James and Montez Bethea,
  fl 'l!       !hey lay there. Jemark Damel had brought Ibo                                            f17]     pull mto the 1800 block of North Judson
   f18i        man1uana from Ncm York City And his                                                     ps1      Street, a block under surveillance m an
  [19]         g1rlfnend, Petrella London, had come to visit                                           f19]     unrelated surveillance based on complaints of
  1201         and she was executed by virtue of the fact that                                        .120;     dtizens of high drug aclmty onto this block
               she was a witness to what had happened to                                               121)          After they had ht'ill'd the radio call of
  [2'?}        Je:mark Dante!.                                                                         1221     a report of shots fired al '3001 Redner Street
  {:?3)             The two shooters in tb1s case are                                                  !2.3J    and the occupants fiecmg ma wJute C11ddlac,
  1241         R.asOOn James and Montez Bethea, and we would                                           f:24l    they see this very same white Cadillac with
  [2~]        prove that We w<>uld prove that by all :kindii                                           f.25)    thts license plate bcmg driven by !he
                Megan ~oule, R.\.fR, CRR (215) 683-8029                                                           Megan Soule, RMR, CRR (215) 683-8029
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  Megan Soule, O.C.R                                                     Court ~•porting System                                                                   13 {page 4.9 - 52}
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51CR0009462201 I                                                                                                                  Guilty Pica Volume I
Darryl   Ri~ey                                                                                                                            May 20, 2013
                                                             Page 53
                                                                                              -    --          ------------'--.;....__-
                                                                                                                                            Page 54
         defendant with James and Bethea in the car                       (']     statement. What he says is this We would
12]           One of those two, James or Bethea.                          121     pre~ent   the test11nony of dete(;tive M1kah
(Jj      actually take a bag out of a giant -- a large                    Pl      Spotwood, in coun now -
(4)      trash bag out of the car. although someone                       14J            THE COURT So he gave the statement.
(SJ      inside of 1820 North Jud.son Street. according                   (&j     I'm going to e-0ver that m a few moments. What
[61      to the discovery md from the testimony, would                    [&]     else"
f7J      indicate that Mr Rigney actually took a bag                      !71            MR. SAX And alw the testimony of an
!81      into the house, a question of fact                               !111    individual who was a ccllmate of the defendant
               And bMCd on all the mformatton, the                        191     who, m essence, admitted to everything that
j10]      c1rcumstance, the hot pursuit, everythmg else,                 f10)      the defendant admmed to m addition to
(11]      to mak.e a long story short. at that pomt all                  (11]      knowmg abo11t what was gomg to happen ahead of
[12)      proceeds from the robbery, all of the weed,                    (12]      time Not with respect to the murder, but with
[13]     passports for the victim, pusport.s ind other                   [13]      respect to the robbery
(1-4J    ident1fymg mformation of the victim, US.                        [14]             We undcr!tand the defendant's poinhon
11 ~l    currency 11.lld three weapons - not two, three --                [151     on that, bul I thmk for purposes of this
[16J     the two murder weapons, which w~ both                           (16}      gmlty pica and my rcc1tatton of lhe facts,
[17]     semi-automatic pistols, and a third weapon, 11                   [17)     it's important to note that we would call that
[HI]     .357 revolver, were recovered either nmde                       (18)      person to the witness stand and he would
[19')    1820 North Jud5Qn or from mdiv1duals who had                    [19!      testify, if he testified consistent with his
[20}     unmcd:latcly gone to the property 1820 North                    1201      statement recently taken. that the defendant
[?1]     Judson and left with some of the proceeds, but                  f71)      made these adrruss1on.s relative to what the plan
[22)     stopped within a block, based on all the                        f~~)      was relative to robbery when thu happened.
!Lll     ob:1ervatioru;.                                                 [23f"         .. Tkat, in essence, would be the
124]         And from - so the last two most                             I2:ft    Co.llnilOOw~h's Clise.
[25]     unportanl parts would be the defendan:t's,~                      ~             THE CQURT: And 1s that the statement
           Megan Soule, RMR. CRR (21 S~~3-8o2'9                                     Mcgau ~ RMR. CRR (215) 683-8029
                                                             Page55
                                                                                                  ~tf      . . -~
                                                                                                        ::.~

 f1]     that you turned over today?                                     d1l      tht fil'1t two pagt:s. It nugh.t be the tlurd
 121            MR. SAX: It is and it was taken                        - fizj     pagci Jt's f!ll a l:>ox at the top and 11 has
 13)     Saturday. I'm sorry It was taken Friday.                         131     t~nam~it.
 [4)     And as soon as Detective Spotwood told me of                     l4J           THE DEFENDANT: Yes
 151     it11 existence -- I think Thursday night - l                     !SJ           THE COURT: At the top nght-hand
 [6]     had him fax it on Fnday mommg lo Mr.                             (6]     comer 1t says Spotwood, sluh, Hesser Do you
 [7J     Santaguida.                                                      r1      see where I am?
 [SJ            MR. SANTAGUIDA: 1 didn't get 1t.                          161            THE DEFENDANT. Yes
 !91            THE COURT· Yoo didn't get it?                             f9l            THE COURT. All righl ltaru -·you
poJ            MR. SANTAGUIDA: I wasn't in Friday. I                      [10]     s.a1d you went as fur as the l l th grade
f11f      went lO the prison.                                             [11 J          THE DEFENDANT· Yes.
(1:?]          THE COURT Okay. So the statement                           11 lJ          THE COURT. You were asked 1fyou were
(13)     that J have that you said earlier that you had                   ff:>]   under the mflucnce of drugs or alcohol at that
(14]     given to the detective; is (bat correct?                         (14'    time, and you said no. You were asked 1f you
115]          THE DEFENDANT: Yes                                          [1$)    understood your constitutional ngh~ as they
{16}          THE COURT I'm going read it If                              [16]    had been explained to you by the two
f17J     there's anything !hat's mcorrect -                               11 TJ   detectives, and you said you did understand
f18l           MR. SANTAGUIOA: That's in front of                         (18]    them
[19J     hun, Judge.                                                      (19)          THE DEFENDANT. Yes
120]           THE COURT: All right. If you want to                       {20]          THE COURT You were nked 1f you had
[21]     pick 1t up and read along with me                                1211    any quc:>tions about your rights, and you satd
{Li]           THE DEFENDANT Yes..                                        (72)    no You were asked if you were known by any
l23l           THE COURT: You were asked 1fyou could                      123}    other names or nicknames and you Sii.id Y odet 1s
!24l     read. wntc: and understand the Enghsb                            [24!    that correct?
(251     language. and you said yes. It might not be                      [25!          THE DEFENDANT Yodel
           Megan Soule, R.Mll, CRR (215) 683-8029                                   Megan Soule. RMR, CRR (215) 683-8029

\.tcgan So•le, O.C.R                                         Court Reporting System                                                    14 (page 53 - 56)
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5} CR00094622011                                                                                                             Guilty Plea Volume I
Darryt llipey                                                                                                                    May 20, 2013
                                                            Page 57
                                                                                                                               ----    ---
                                                                                                                                   Page 58
11 I           THE COURT. You said you did understand                  [1 J    was ttymg lo score two ounces of manJuana
[2!      that you we~ under arrest at that hme They                    [2]     He wanted me to dnvc becau~ he knows I have            ~
!31      told you, ·•we are investigatmg the shooting                  131     dnver's license \Vben he arnved, I was 1u -
[.(j     death of two md1viduals, Petrella London and                  141     the door of my mother's house. 1 iOI in the
!5!      Jemark Daruel, wluch occurred on Wednesday,                   f5J     champagne colored Marqws he pulled up in
[6]      December 8th, 2010, immle 3001 West Redner                    [&J     a"rove ihe car straight to RashOn's fiouse.     --
r1       Street." Do you under.It.and this?                            [7'.    Rashon supposedly knew the guy that Montez was
[8J           THE DEFENDANT Ycs                                        rs;     gomg to score off of. WhJS.it R¥hfm's -
[9]           THE COURT And you said yes They                          [9:     house, tum and Montez went in Rashon's house
[10]     asked 1fyou were present when they were                      (10)      while: I waited m the car.
11]      killed. and you said, No. I was outside a bloclc             111;           "About five minutes later they came out
12]      away, siuin& m white Cadtllac waitmg for                     [12)      and got bad• m the car. Rashon sat m the
 13]     Montez for Rashon. Is that what you lifilrl'>                (13)      back." It says "iat in he back." I guess lhe
 1-4}         THE DEFENDANT· Yes.                                     (14)      detective has a typo there "Rl!Shon sat m the
 15)          THE COURT: And was that true?                           (15]     back and Montez.al IP.the front pas~engcr
 16)          THE DEFENDANT Yes                                       [i6]     seat. Rashon called the guy alld the iUY ~
             THE COURT You were asked, "Please go                                                                               ·~        i-

\
 1~~
                                                                      (17]      answered In the meantunc, the first iUY
                                                                                                                              '  .~                 .I
         on m your own wonls and tell us who Montex 1I1d              (16]      called back I heard Rashon telling the guy    • \,                   I

    9]   !Ushon arc and what you know about the death of              {19J      that his cousin wanted to buy two ounces.         \                  .r
    O]   ~ two v1ct1fus.,..    - - - --- ·----                        [201      Rashon called the guy and told bun that he
    1)        And  yoo can read alon& with me. If                     1211     needed his car, so Ra!hon told me ro dnve to                \
1221     there's anythmg that's mcorrcct, please let                  '(22]    16th and Fairmount Street
(:!J)    me know.                                                     [23J          "V(c: got, to 16th and Flllnllounl and
(:?4(         "Montez called me m the mom mg. about                    (24!    swttpped car&', a white Caddy for the Marquis A
[25(     11 somcthmg in lhe morning. Montez told me be                (25..J   darlc-sktnned short guy was with the Caddy.
           Megan Soule. RMR. CRR (215}'683""802~ ·                              M~ ~ R:MR, CRR (215) 683·8029

                                                            Page 59                                                                       Page60
I1J      Montez and R.uhon talked to the 5hort guy and                'J11        "I drove to 30th and Jefferson and sat
121      we switched cars                                             -{21     n~t there, ~ed on the comer Rashon and
pj            ftThe short guy took the Marquis and I                  : [JJ    Montez goWut and walked up the block and I
(-4]     drove the Caddy Ruhon moved to the front                     . (4)    ~w a bliEX gta)' open a gate iU\4 ICt tj:\eiii in. -
£51      passenger scat and Montez moved to the back.                  [5)     Tfi'Cy was in there from anywhere from ilirce to
f61      R.ashon called the first guy again, tlllk.ed to               [5]     seven minuies When they came out oft.he
 [7)     him again, and then R:ashon told me to dnve to                17J     place, Rash-On had a large, dark green trash _
 181     30th and Oxford Street"                                       18]     bag. Theygot in the.,;:y:. Montez got m the
 !91          So far, have I read everything                           !91     back. Rashon got in the front passe~er seat
I101     COITCClly?                                                    {10]    with I.he bag and tossed it mto the rear of the
(!1)          THE DEFENDANT. Yes.                                      {11]
                                                                               car.
                                                                                    ":llashon m
                                                                                                   ~    tez            ·
(12)          THE COURT: So far, 1s that exactly                       {121
(13)     what happened?                                                {'31    go, go, go Rash                llli it more
f~4J          THE DEFENDANT· Yes                                       ('4;    realized that something wasn't right I
:Ml           THE COURT: Is there anyth!Jli                            (1&]    thought the)• robbed him because they went m
{ 16}    drlfcrent?                                                    poi     for two ounces and came out with 1 trash bai.
1111          THE DEFENDANT. 1'-io.                                    [17!    I sped off to 1820 Judson Street and went into
pa]           THE COURT. How did you know 1t was the                   (18]    Montei'J"aunt's house. •
[191     same first guy?                                               [19]          So tli; aiaI cont.Jnuc reading
[20}         THE DEFENDANT· Huh?                                       [20(    correctly?
12~1          THE COURT: How did you know it was the                   f21j           THE DEFENDANT. Yes.
{22}     fint guy that he called bMck?                                 1221           THE COURT. How did you know dual            Willi
!231          THE DEFENDANT Because he start                           (23]     Monte:r's aunt's house'.'
(241     talkmg about mari1uana                                        124]           THE DEFENDANT Because he said we
1251          THE COURT. Oliy                                          (26]     gomg to my cousin's house.
           MegM Soule, RMR. CRR (215) 683-8029                                   Megan Soule, RMR. CRR (215) 68J·8029
- - - ------ - - - - - -----------------------------------
Mei!an Seu. O.C.R            Court Reporting Syst.m 15 {page 57 - 60)
                             Case 2:20-cv-01389-MSG Document 1 Filed 03/11/20 Page 85 of 97

5 i'CRtl00946220 II                                                                                                             Guilty P1ca Volume I
Darryl Rigney                                                                                                                              May 20, 2013
                                                                 Paga 61                                                                      Page 62
f11             THE COURT. Okay Had you been there                           [1)          Is that what you told the delecllves?
[2]       before">                                                           (2)          THE DEFENDANT Yes
{31             THE DEFENDANT No, I never been to                            13]          THE COURT Is that what happened?
141       that house before.        .,....         ...                       (4]          THE DEFENDANT Yes
!51         ~ ..Rashon was canymg the                                        [5J          THE COURT: ls there anythmg you want
J6l       trash bag m the house After entering the                           161     to change or add?
[7]       bol!jC, all throe of us went upstairs They                         [71          THE DEFENDANT. No
[8]       started durnpmg everythmg out of lhe bag                           [8]          THE COURT Then the statement goes on
191       saw three guns, two black and one silver. J                        !9]     "Do you know Montez's full 1111mc" -
(101      SJ_W   a)argc Q •anD')· efwced
                         1                                                   {10]         -No
(11:           "l went back downstairs. l went                               [11]         "Do you know Rashon's full name'>
(l2:      downsuurs and sat on the chalf with the girl                       [121         "No.n
['31      and the baby. Then two othi;c: .guys.~· on                         [13]         And I don't know 1f those are crossed
[14]      the door The girl let thelii m. One went                           {14]    out on your form or not, but there's one lmc
[1'5]     upstarrs and the other~ Rashon comes                               (1:1]   through thme two names m my fonn ·- m my
[16]      back down stairs and !Caves out of the house                       [16J    statement.
111]      with a duflle bag. The other two guys leave                        (1i'l        "Did Montez call you from his cell
[iS]      out and the bigger guy, my height and size, the                    (18]    phone?
[19]      one who went upstam, left out the house with                       {19)        "Yes
(201      a large white:: bag. 1ben Montez came downstairs                  f?O}           "\\'hat ts his cell phone nmnbcr?
(21J      with mother duftle bag and sits il in the '.-,,,.; ·              1211           ") don't know it by heart
(22]      ~groom and then he took a seat__...,;~-                           1(22J          "What is your cell phone nwnber?" And
[231           "Five or ten IIllnutes Iaa::t me cops ,                      :1i3J    tben.}',O\!. &.a,v9 that to them "21S-28441429.''
(24]      came m the house and put the cuffs on                             l{Z4l        "Was ~ your cell phone at the brae?
1251      everybody and rostrained us."                                      [.25J        TffEDEFENDANT: Yes
            Megan Soule, RMR, CRR (215) ~83-802~.                                      Meg~ SoOJe, ~ CRR  (21S)683-8029
                                                                 Pave63
 (11             THE COURT: And lhcn after that, "Weie                        [11    Street, .did yOll hear anything that rounded hke
 [i')     any of the calls to the guys with weed made                         [2]    gunfir&.
 {JJ      from your phone?                                                    (3]          "ANSWER: No.
 {4!             "ANSWER No                                                -.!'l           "QUESTION· When Rashoo and Montez got
 {51            "Do you know the name of the short                            l~l    m lhe ~ ll.nd yelled for you to go, did they
 !6!      dark-slcll1DCd guy with the Cadillac?                               [61    tell you what happened 1ns1de?
 171            "No. But I know that he ts friends                            £11          "ANSWER Yeah. I asked Rashon,
 !81      with Monte-L and Rashon                                             1a1    'What's this shit riibt here?' Rashon said It #
 1g1            ~QUESTION. Did the short guy with the                         f9)    was trn: and guns, as he threw it in the back
(10]      Cachllac, who changed into the Marquis, go to                      [10]     I said, 'Wow.' Then Rashon said to me. 'Hit
r111       30th and Jefferson with you. Montez and Rashon?                   [11]     him up and took their shit.' Then I took the
1121             "No He went his own way                                     [12]     red h.ght. Rashon told me, 'Just go We got
[1.3]         ~QUBSllON: Was there anybody with the                          [13)     ya.' Montez told me where to go. I asked
[\4J      boy who swrtchcd cars with you?                                    [14l     Montez where he wanted me to go Slttce I was
(15]             "ANSWER No.                                                 [15]     takmg the hght He said go to hts cousm's
{16]            "QUESTION: Did you see Rashon md                             (161     house on 1800 Judson S~t
f17]      Montez with any guns before they went in the                       1111           "QUESTION· Did !hey tell you that they
{18)      house at 30th and Jeffenion Street?                                (18!     robbed the guy?
!191            "ANSWER· No.                                                 119]           "ANSWER Yeah. That's what hit bun up
[201            "QUESTION Have you ever been to that                         r201     and take theu sh1t means. That means robbing
121)      location near 30th Street. either alone or with                    (21!     somebody.
122;      R.ashon or Monte27                                                 122·           "QUESTION What does tree mean?
J:.:>31         "ANSWER. No That's the first tune                            [23:           .. MariJuana
[24]      I've been there.                                                   [24i           "QUESTlON. \llhat room insuie the house
f2S]            "QUESTION: Whtie they were at 30th                           [25]     on Judson Street were 1111 three of you in?
            Megan Soule, RMR. CRR (215) 683-8029                                        Megan Soule, RMR. CRR (215) 68 3-8029

MegH Soule. 0.C.R                                                Court Reporting System                                                  16 (page 61 • 64)

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   ..                                                                                                                                   Guilty Plea Volum~ I
                                                                                                                                                May 20, 2013
                                                                     Paye 65                                                                      Page 66
r,            nANSWER. The second floor, nuddle                                 [1]           MR. SAX I'll get an extra copy for
!.<'I     bedroom                                                               [2)      Mr Rigney
[3]           "QUESTION What conversation was                                   131           THE COURT Okay Hold on om: second.
1-11      t.a.lung place mside the second floor bedroom?                        (4]      We'll get you a copy
rs1              ~ANSWER· Rashon asked Montez did be                            f5J           So far, is everything that I said wlat
[SJ       finu1b her, and Montez said guar.tnlee. Then                          [6J      you told to the dct.eetive'>
Pl        Ibey talked about the different types of weed                         [7J          THE DEFENDANT· Yes
[BJ       that was m the bag. I left the room and went                          (lll         THE COURT Why did you go downstarrs
!91       downstairs.                                                           [9)      when they were -- it says that you left the
[lOJ          "QUESTION: Descnbe the guns you saw                              ;101      room and went dowruta1rs. Why did you leave?
f1'l          "ANSWER: Twoblacksandonestlver                                   p1;           THE DEFENDANT They started talking
112]      The silver gWl was lhc revolver and the black.                       1121      crazy
113]      was an automatic                                                     (HJ             THE COURT: Talkini crazy'>
[14]           "QUESTION: Were both the automancs                              (14]           THE DEFENDANT Yeah.
11 :JJ    the same SJzc?                                                       !151           THE COURT: What kmd of crazy?
f16J           "ANSWER: One was bigger and the other                           !161           THE DEFENDANT Meanmg hkc they said
p 7]      was smaller.                                                         11 11     did he finish her He said guaranteed. I
(18]           "QUESTION: Had you ever saw those guns                          ( 1Bl     didn't want parts of~ of that. I went
f191      before?                                                              Pill      downstairs
tWI            "ANSWER: No"                                                    f:?Ol           THE COURT· Okay. It's the one that
[:? 1 ~        So you're looking up ls there a                                 [Z1!      says Page 4 at the top
[22]
[23]
{24]
          reason?
               THE DEFENDANT I don't have Pl!F·9.
               THE COURT: You don't have 1t.
                                                                               1221
                                                                               {23}
                                                                               .~
                                                                                         that's a ~11
                                                                                         it. ~'
                                                                                                          •and
                                                                                               MR. SAX: Just to keep a full one,
                                                                                                               it has four and five on

(25j           THE DEFENDANT: The lut.one I dodt..•
                                              <-% ..,,_;;   •   ;~
                                                                               {2~}            TNE COURT: Oka.y. If you could tum to
            Megan Soule, RMR. CRR (215)~~ -~!                                               Me gall: ~out~ iiiut, CRR (215) 683-8029
                                                                                             • w.- w::..~--~~,--~ •
                                                                     Page67                                                                       Pllge68
 pI       Page 4 of the a<:tual statement, Mr Brechemm.                         11]            "ANSWER: No
 121      It says four at the top.                                             ' t2J           "QUESTION: Dtd you know the two &uys
 131            THE COURT CRIER: Yes, Your Honor.                                [31     that came fu the house after you, Rash on and
 14!            THE COURT: Conunuc, dot. dot, dot,                              [41      Montez?
 (51      Page4.                                                                 [5J           "ANSWER· No.
 (6J           Sec where I am? "Were both the                                    [61           "QUESTION·        De.~ribe   Montez.
 [7!      automatics the same sw:,? One  w• bigger and                           [7]          "ANSWER: Dark-skinned, about five feet
 [BJ      the other was smaller.
                               H                                                [SJ      eight ~hes, beard, low cut.
 [91           THE DEFENDANT· Yes.                                              [91           "Ql:ESTTON· Describe Rashon.
[10)           THE COURT: "QUESTION. Had you ever                              [10]              "Tall.   About stx-fect three-mches,
! 111     saw those guns before?                                               [ 11 I     bgbt -skinned, facial hair and beard
{121           HANSWER. No.                                                     P2l             "QUESTION: How long have you known
r131             HQUESTION Did either Montez or Rasbon                          f13J      Rashon'l
[ l4J      call anybody while inside the house?                                 (14]            "ANSWER· Ab<>ut ten yean
{ 1 C,J          "ANSWER: No, not whale J was with them                         (15)            ..QUESTION How long have you known
!Hil       upstatrs, but I don't know"-· well, s001ebody                        {1ul      Montez?
1111       wrote know - "about when I went downstairs"                          (171            "ANSWER All my hfe
11 s1           Did you wnte that in lhcrc or who                               116]            "QUESTION Do you know Rashon's cell
119}       wrote that m there? Can you see where it says                        [19]      phone number?
r201       in pen "know?''                                                      [20]            ANSWER. No, but n should be m my
t21:            THE DEFENDANT Yeah.                                             [21J      cclJ phone book.
!72i            THE COURT· You wrot.c that?                                     [l::>l        "QUESTION· Did you rake or receive
l23J           THE DEFENDANT Yeah                                               [23J      mything from the trash bag?
!241           THE COURT. "QUESTION: Did they call                              [24)          "ANSWER: Ne.
!.2'lJ     anybody on the way back to the house?                                [2.5!         "QUESTION. When you went downstam;
            Megan Soule, RMR, CRR (21 S) 683-8029                                          Megan Soule, RMR, CRR (215) 68 3-8029

Mega11 Soule, 0-C.R                                                  Court Reporting System                                                  17 (page 65 - 68)
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SKP..00094622011
                    .                                                                                                        Guilt)· Pit-a Volume I
                                                                                                                                      May 20. 2013
Duryl Rigney
                                                                Page 69                                                                    Page 70
             from the second floor bedroom, \\hy d1drfl you               •·            THE. OEFENOANT Yei.
             JU!ll leave aller heanng the convcrsauon in                  it            THE COURT And did ~ou sign each page•
             the bedroom.,                                                J'«           THE DEFENOANT Yes
                    "ANSWER I wll!i wa111ng because they                  14             THE COURT And at 1hc end you wrote
             iold me that they was gomg to look out for me                1;,,      5 30 p.m. on December the 9th'>
             when they told me they got me                                ;r,            THE DEFENDANT Yes
                   "QUESTION What did !he} mean by                        i,             THE COURT· ls there anything else that
1-i·         telling you they got you"                                     !8       needs to be added, Mr. Sax» Anything else you
                   "ANSWER That t11ey was gomg to give                     is1      \~ant to ask at this omc?
             me some mcrchandts<: That's why I siayed I                   ! "~'           MR. SAX· Your Honor, thank you very
              was wa1tmg for my part of whal they said they               l ~ •.    kindly for that upportumty Not a smgle
              \\~   g1vmgmc                                               j•L-:     thing
                    "QlJESTIO:N· ls then: anything else that              11 3           THE COURT. Okay lhen could we please
              have we not (stc) asked you that ;ou know about                       arraign Mr Rigney'>
              or may assist uio m this" -- l1 should say m                               THE COURT CRIER Yes, Your Honor
              this mvemgauon                                              flh,           Darryl Rigney. on Common Pleas Cou.rl
                   "ANSWER. No                                            11 r      dockel number CP-51-CR--0009462-201 l, t{l the
                   .. QUESTION Please rend~ -· 1t should                  i, 8;     charge or murder m the thud degree. how do
              say this five-page statement •• ··over                      [1~       you plead'>
              completely Make any correctmns or additions                 tWi            THE DEFENDANT. Guill)·
..
 ....... 4
              as necessary Then m1tlal an)' corroct1ons or                (21;           THE COURT CRIER· To the charge of
              add1twns that was needed. Atlerward...., aign               1221      murder tn the tlurd degree. how do you plead'>
              each page Do you understand dus'>                           1:Hi           THE OijFENOANT. Gutlty
                   "ANSWER Yes"                                           !24J           THE COURT CRIER To the charge of
                   And did you understand 1hat'>                          [2!::l    robbery, bow do you plead'>
                Megan Soule, RMR. CRR (215} 633-8()2~                                 Megan Soule-~ R"MR. CRR (215) 683-8029
                                                                Page 71                                                                    Page 72
 [   .,
     •1
                 THE DEFENDANT Guilty                                      f1l
                 THE COURT CRIER. To the charge of                         121
             robbery, how do you ple~d"                                     f1J
                    THE DEFENDANT: Guilty                                  [.CJ                                   cs.
                    THE COURT CRIER. To the charge of                      151           THE COURT· Do you have an)' questions
              cnmmal l:!-Onspmu:y. how do you plead''                      ltl      for me at this time?
                 THE DEFENDANT Guilty                                                    THE DEFENDANT No
                   THE COURT CRIER Your Honor, the                                       THE COURT I'm nor gomg 10 give you a
              dcfondant at the bar of the court plead$ gutlty                       copy of th.ts Memorandum of Agreement I am
              to all charges: Bills of lnfumiation have been                         sure thal you would rather not have 11 with you
                                                                                     in lhe prison Am I correct or mtorrect?
                                                                                         THE DEFENDANT. Comet.
                                                                           P Ji          THE COURT· Arc you presently m the
                                                                          1• .t ·    pnson \Hlh either of these two ind1v1duals
                                                                           i'~.      agamsl \\horn you \l.iOUld be testifying·}
                                                                           l '&:         THE DEFENDANT No
                                                                           l' r:         THE COURT. If there should be any
                                                                           PB:       issue wnh any threats to your ~fety. you
                                                                           ! ! 9l    should either call your attorney and Jct him
                                                                           !20l      know that immediately or call and let Mr Sa.11.
                                                                           ;::1:     know And I don't lcoow that you have h1s phone
                                                                           !.!:>.    n11mt>er
./ j '                                                                     1;-_,-         MR. SAX He wtll ngh1 now
                                                                           l~-11          THE COURT Or that you would want           h1~
                                                                           f.?5!     card. but I would say to call Mr Santagmdn
                                                                                       Megan Soule. RMR. CRR (215) U83~K029

'\1egan SoaJe, O.C.R                                            Court Reporting System
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51CROOl94'2201 I                                                                                                                    Guilty Plea Volumc I
Darryf Ripey                                                                                                                               May 21,2013
                                                                    Page 73                                                                   PageH
rJ          niht away and he wt.II contact Mr Sax And                           [1]           MR SANT AGUIOA What happened, I guess
121         you could also call my chambers if you v•anted                      '21      when Belhea and the other guy £Ot thetr
131         to and let us know if there are any threats or                      Pl       discovery, they got the statement They passed
(4]         any other such things that occur based on your                      141      that statement around the pnson. which is how
!~J         agree~t here. [)Q you understand that?                               (5l     that clown probably knows some of the facts of
[ol                 THE DEFENDANT· Yes                                           161     the case. But, you know, he'll deal w11h 1t
f7J               MR. SAX. Your Honor -                                          (7]     He's a big guy.
t6J               THE COURT. Do you have any questtons                           {8!           THE COURT: Well, tfthere's anybody at
[91         at all?                                                              (9)     all that 1s saying anything to you that you
;1C!                  THE DEFENDANT No, l don't                                 (10]      feel that your safety is possibly at 1~sue,
p 11                  MR. SAX: In the regard of Mr. R1gney's                    (11]      call and let Mr Santagu1da know and
['21            safety, w l have as big ofa man11la envelope                    {12)      appropnate measures will be taken to the
[~ JJ           as I could find and with thick Magic Marker                     [13]     extent possible.
{14]            mdicatcd Mr Rigney'£ photo number, or PID                       {14]          THE DEFENDANT· Okay
f 16]           number I guess they c11l1 lhem now, to be                       11s1          THE COURT. Okay
[H>J            separated from both Mr Bethea, and his PID                      (16]           MR. SANTAGUIDA. Thank you, Judge.
(17]            number, and Mr. James, and his PID number, that                 [1 Tl         THE COURT· Thank you.
[1   l\J        they should remam separate at all tunes                         (18)           MR. SAX: CFN?
(t9J                 THE COURT. Oby And if there's any                         ·(19)           THE COURT: I guess that you -- are you
[20]            other individuals that those two people know.                   [20}      going to have Miss Seiber sign this?
1211            And what about the person who - is thcrc-;:,,.. ~               {21}            MR. S~: 1 will and I'll bnng it back
!?71            anybody else that you have any co~ about?                       [221      here. Al~. ~zI have a copy of the most
1231                THE DEFENDANT. No.                                         ·1n1       fully ¢tfcd ~amended that l lh1nk you're
!24J                 THE COURT: If you do, you should let                      11.2.41   lloldin&f ·;
1251            Mr. Santaguida know.                                          . ·125)           THE COURT: Yes. I'm going to give
                 Megan Soule. RMR, CRR (215t6f3-·~;:::                                     . Megan SoUlc. R~., CRR (21S)683-8029
                                                                    Page 75                                                                    Page 76
 fl I           this to you.                                                     ttl             CERTIFICATE
 121                 MR. SANTAGU1DA. Thank you..                                  121
 13]                 THE. COURT: Do yo\I have a second. Mr.                       131
                                                                                --l"l          I he~by certify that the proceedings
 [4]            Santaguida'>                                                     151     and evidence are contained fully and accurately
 {5]                  MR. SANT AGUIOA I do.                                      !61     in the notes taken by me on the trial of the
 16]                  THE COURT: Mr Brechemin. can you give                      [7]     above cause. and that this copy is a correct
 fl!            this to Mr Sax, pleue'l That's the one lhat's                     (SJ    transcript of the same.
                                                                                 [9]
 [8]            the most up to date, and 1f you would make
                                                                                 )10]
 [9)            copies of that after Miss Seiber signs il. And                   (11]
(10}            I'd like that today, Mr. Sax.                                                   Megan M. Soule, RMR, CRR
(11)                  MR. SAX: It will be here today                             [12]
112)                  (Heanng concluded at this tune.)                           ri 3i The foregoing certification of this transcript
[13~
                                                                                 (141 does not apply to any reproduction of the same by
                                                                                 (15] any means unless under the direct contrci and/or
                                                                                 11s1 direction of the certifying court reporter
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i151                                                                             [16J
[17]                                                                             [19)
:1s1                                                                            '(20]
[19]
                                                                                .1211
                                                                                ·1221
120)                                                                             [23]
(21)                                                                             (24]
1n1                                                                              [2&J
[2'.ll                                                                                       Megan Soule, RMR. CRR (215)           68~8029
{24)
1251
                  Mei8n Soule. RMR, CRR (215) 683-8029

Megan Soule, O.C.R                                                  Court Reporting System
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a:W..) ~! ~ 1,,.,._,,_ a:Jcc'lfi<,,l {r;n"""' :t...._ J'u:•"-'d ./;; ,[,{,~f'/'~
1~4, .~L.. r-c/                            .t,l,/!,
                            ,,~j tkf .{ ,;.¥,,/ 4 J., ,_I{,. i P""-c .a..~
1cf ;;    ~J Li,/:,,~ f,1.,, rrn4t,. Ji-~• .,t•..1 ~I Ak ~ ~,t,".- ,,~
    ,,..de_, ~:?"'f 4, ;l,i_,. f-'~"' 'i lb fr' t- > J 'IYt-'/ (~ t ,...,.,,,....,,,,
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                        Case 2:20-cv-01389-MSG Document 1 Filed 03/11/20 Page 91 of 97

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                                                                                                          PHILADELPHIA
                                                                                                POLICE DEPARTMENT
                                                                                                                                    -
                                                                                                                                    CAS! NO; MI0-285
                                                                                                                                    INTERVIEWER
INVESTIGATION INTERVIEW RECORD
                                                                                                   l-IOMICIDE DIVISION              Det He~ser          .   --
NAME                                                                                          AGE        ~RACE                      DOB
                                                                                              24                    B/M             4 24-86
 Robert W1ll1arns
 ADO RESS
                                                  -                                                 ---
                                                                                              APARTMENT MO.
                                                                                                                    ---              PllONE NO

 43 \5 Pennsgrove St Phila 19104                                                     .
                                                                                                                                     2 l 5-84 7-1603
                                                                                                                                     SOC.SEC NO.
 NAMEOFEMPLOYM!NTISCHOOl
 Partnership f~r Success                                                                                                                XXX-XX-XXXX
 AO~SS         or EMPLOYMEHT/SCkOOL                                                           OEPARTME:NT                               PHOt.IE· l'iO

 901 E. Pleasant Ave                                                                          Custodian                         - . 267-584-2852
DATES OF PLAHNED VACATIONS

 DATU Of' PLANNED BU$1N£S$ TRIPS
                                                                                                                            -                                    -- -   .


 NAME OF CLOSE.RELATIVE
  Patricia
,____          Wilhams (Mother)
 ...~                                                                                                                                   PHONE NO.
 1515 Jessup Way                                                                                                                        2 l 5-426-8100
 PLACE OF INTE"'11EW
                                         --   .                                          - --                                   -       OATE                     TIME
 Police Headquarters, Homicide Unit                                                                 .         104                       12-8-10
                                                                                                                                        DATE _ _ _                l0:50PM
 DROUGHT 1t<1 gv                                                                                                                                                 TIME
 Plllice                                                                        ..        -
                                                                                                                                    I 12-8-tO
 WE AltE QUESTIONING YOU CONCERNING
 The shooting death of a black male and a black female tn'>1de 300 J Redner Street on l 2·8-10
 WAl'ININGS GIVEN BY                                                                                                                    DATE                     TIME

 ANSWERS
                                                  --        .
                          (1)                     (2)                     131                       (4)               (5)                   til                  {71




                                                                                         MI0-285n86

 Q. Mr. Williams, my name is Detective Hesser, arc you known by any other names?
 A. My friends call me Block.

 Q. Are you under the influence of any drugs or alcohol at this time?
 A.No.

 Q. Do you read, write and understand the English language?
 A. Yes.

 Q. How far did you go in school?
         111
 A. 11         Grade

 Q. Mr. W11Jiams, are you the owner of a white 2002 Cadillac PA tag# HPG2737
 VIN#IG6KD54Y42Ul8678 l?
 A. Yes. but not legally. I bought the car around the beginning of November ofthls year from Leonard York.
 a friend of mme. I paid him $4500. Dollars for the car but it's still in his name. I never transferred it over to
 my name yet.

 Q. When was the last time that you saw the car?
 A. When the cops had It at Montgomery and Judson.

 Q. Why did the Police have the car?
 A. I didn·t really know, but the cops told me that it might have somethmg to do with a Homicide.

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    V-ESTIGATION INTERVIEW
·c:--                                   RECORD--r-------;C::::IT:::;-\:--;O:;:;F~PH;;;l:;-LA:-;D~E-;--;Lffi;;rn-:lA;--------,
               CONTINUA TION SJIEET                                        POLICE DEPARTMENT
       ----=-=~---'----'------          ----- . --
                                              M 10-285/286                                                   Page #2
 Robert Williams

 Q. Did you park the car where the Police had 1t stopped?
 A.No.

 Q. How did the car get to that location?                       .     ..        .      .       .           .
 A. Earlier today around 11 :30 maybe 12:00PM l traded car!> with a tnend of m~ne, his name 1s T~Z. let hlID     !
 hold my car and he let me hold his car. That was the last time I saw my car unttl I saw the cops with it.

 Q. What kind of car did TEZ give you to use today?
 A. It was a 2002 Gran Marquis. it's gold. I think he said that the car was in his aunt's name. I don't know her
 name but he told me that paperwork was in the glove compartment.

 Q. When was the last time that you spoke to. TEZ?
 A. I called him around 12:30PM and told him where my paperwork was in the car. That was the last time I
 talked to him. When we traded cars was the last time I saw him W1til I got here. I saw him down here tonight.

 Q. How did you know where to find the car?
 A. My girlfriend, Timia Tribble. called me becau~e ::>he said she got a call and someone told her that I was
 pulled over at Judson and Montgomery. I told her that I wasn't pulled over in my car. I told her that I didn't
 have my car. that I traded my car for the day with TEZ. After I talked with her I called Leonard and told him
 what happened and that the car Wa!> pulled over and I was gonna meet him at his mom's house that I needed
 him to come with me to try to get the car back. I went to my girlfriend's house at 2517 N 251h Street and got
 the title and then I got Leonard at his mom's house and we went to Judson and Montgomery and I saw that
 the cops had the car.

 Q. Where were you at when you got the call from your girlfriend?
 A. On my way back from South Street. I got a parking ticket down there today on TEZ's car at like 4th or 5th
 and South Street. The time on the ticket was 1:36PM.

 Q. What happened when you and Leonard got to Judson and Montgomery?
 A. I went to one of the Police officers and asked to talk to him. l told him that the white Cadillac was my car
 and that it was in Leonard's name. He told me to wait and he talked to another cop. The other cop asked us
 who's car it was and we told him the same thing then he told us that we had to go to Homicide because the
 car is under investigation. I told the cops that I traded cars today and showed him the car we pulled up in but
 he said we still had to go to Homicide. They put us m the back seat and brought us here.

 Q. Was anyone else with TEZ when you gave him the car?
 A. No.

 Q Was anyone else with TEZ when you called h11n?
 A. Nut that I know.

 Q. How long have you known TEZ?
 A. Like 6 months, I see him almost every day.

 () ( am showing you a single color photograph of a black male, Do you know this person?
 A. That's TEZ
           _, (Identifying a photograph of Montez Bethea PPN 761764)
          /.J-/ ./     t-'      I   I
                    Case 2:20-cv-01389-MSG Document 1 Filed 03/11/20 Page 93 of 97




                                                               M 10-285/286                     Page#3
Robert Williams

Q. ls this the person that you have been refemng tom this statement as the person that had possession of
your Cadillac?
A. Yes.

Q. Has anyone told you anything about a murder that occurred today?
A. No.

Q. Did you try to cali TEZ after you found out that the car had been stopped by the Police?
A Yea, I got no answer.

Q. Did you call him from your cell phone?
A. Yea.

Q What number did you call him at?
A I called him at his cell phone, I don't know the number from the top of my head, but it's in my phone.
(Witness checks his phone) I called him at 3:26PM at 2 I 5-526-1798.

Q. Did you try any of rEZ's friends?
A. No. I don't know his friends.

Q. Whose idea was it lo trade cars loday?
A. TEZ's, he asked me if he could hold my car and I told him OK, but I would need his because I had to do
things today. He's asked me before but we never did it before. I have traded my car with other people before
though.

Q. Did TEZ say why he wanted to use your car today'1
A.No.

Q. Is there anything that you can add to what you have told me?
A.No.

Q. As the person who is claiming ownership of the CadiJlac would you be willing to sign a consent to a
search of the vehicle?
A. Yes.

Q. Please read this3 page statement. Make any corrections or additions that are necessary and then sign the
bottom of each page when this statement is complete and correct. Do you understand this?
A. Yes.
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                           Philadelphia Police Department
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EVENT#:              270197031

PIO#:                761764
NAME:                MONTEZ

                     BETHEA

ARREST DATE:         Jul 9 2010 8:54AM

AGE AT ARREST:       31
HEIGHT:              508

WEIGHT:              160
HAIR COLOR:          BLACK

EYE COLOR:           BROWN


Phil
Arrestee DATABASE




                              FOR INVESTIGATION ONLY
                              NOT FOR IDENTIFICATION
                               DESTROY AFTER 90 DAYS
                                      Case 2:20-cv-01389-MSG Document 1 Filed 03/11/20 Page 95 of 97
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    Q ottil'i:r. wh.H is your lour of duty and assignment !or tud,ly''
    A Working 9am to 5PM .:1'> 22school beat 7 usmg RPC 22 TL

    t) Did your tour take you to the area of 300 l Redn(.'r Street?
    t\ Yes, l \v.1s re~pundmg to a R/C Gunshots in the arc'a of 3ori. and Oxford Ave. Upon my arrival there
    wer<> other um ts on location. I observed several officers coming out of another ap.arttnent after they
    cleared 1L r'\t that time. l nmic~d a female walk up to P /0 Forrest. She told P /0 Forrest that police were
    not .it the right loc<ition She then pointed at 3001 Re<lnor and st~Hetl to us, "Th.it's where the gun shot
    came from'' I ~1long with other officers went lo this location and obsetved the door open. 'OH~ door to
    the upstairs was also opened. We went in anti upon rhetking the location, located the bothes of an
    unknown male and unknown fomale. I helped seo1red th!:' -;rene and I left the bmlding attempting to
    loc.1ted the female who spokt• to P /0 Forre~t. ! saw her go tnto the corner hcm<>c on the 3000 Redner
    I knocked on tht: duor and ~he did atl:>wer. I .a~ked her it it was okay that I wm-e 111 :md she said yes. I
    ,hked her what exdctly did sht- see. Sht> thrn ~tati:·d. l d1dn'r <>dy .--mythtng, 1t was my .1unt. Then she
    pointed tll ,in older lady '.>lttl!lg m the l1vmg mum. I ,]::,ked tfw_, lady whut she- SJW, arid ~he then becam<.•
    r i:>lw Lint tfJ t.J!k to u<; a1h1.ve1 mg qm.•$tt0n'> with que...,t1lH1 .... Sht: evemually said .;;he heard the gunshots
     i!id ...,,,w ,, c t>Uple guy<, lc'.JVtng ,md dtt.in't '>ee i.lnythmg vhr• Wt.~ .J.skcih.f;r tL~he >;;·!.~~ ~:~!Jl£}SJ... Hurn1c~e
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          INVE.STIGA.TION INTERVIEW RECORD
                        CONTINUATION SHEET                               POLICE   DEPARTMENT




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